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                                       Other authorities
     "Material element of an offense" means an element that does not relate exclusively to the statute of
limitations, jurisdiction or to any other matter similarly unconnected with: (a) the harm or evil, incident to
conduct, sought to be prevented by the law defining the offense, or (b) the existence of a justification or
excuse for such conduct.

    For a substantial portion of this nation’s history, the doctrine of sovereign immunity barred citizens injured
by the torts of a federal officer or employee from initiating or prosecuting a lawsuit against the United States.
36 Until 1946, “the only practical recourse for citizens injured by the torts of federal employees was to ask
Congress to enact private legislation affording them relief”37 through “private bills.” Figley, Ethical Intersections,
supra note 5, at 348–49 (explaining that, “for a century and a half, . . . the United States’ sovereign immunity . . .
protected it from suit” against “citizens injured by the torts of federal employees”). Id. at 348. See also Axelrad,
supra note 2, at 1332 (“Until the [FTCA] was enacted in 1946, no general remedy existed for torts committed by
federal agency employees.”) See, e.g., Gray v. Bell, 712 F.2d 490, 506 (D.C. Cir. 1983).

    the FTCA authorizes plaintiffs to bring civil lawsuits
    1. against the United States;
    2. for money damages;
    3. for injury to or loss of property, or personal injury or death;
    4. caused by a federal employee’s negligent or wrongful act or omission; See infra “Employees and
Independent Contractors.”
    5. while acting within the scope of his office or employment;
    6. under circumstances where the United States, if a private person, would be liable to the plaintiff in
accordance with the law of the place where the act or omission occurred. Meyer, 510 U.S. at 477 (quoting 28
U.S.C. § 1346(b)).

     See Gregory C. Sisk, Official Wrongdoing and the Civil Liability of the Federal Government and Officers, 8 U.
St. Thomas L.J. 295, 322 (2011) ("The claim for individual justice in court to an aggrieved person or entity must
be balanced against the common good advanced by effective collective measures of government and the
preservation of democratic rule."); David W. Fuller, Intentional Torts and Other Exceptions to the Federal Tort
Claims Act, 8 U. St. Thomas L.J. 375, 377 (2011) ("While a concern for fairness and equity in favor of aggrieved
plaintiffs certainly motivated legislators, that concern had to be balanced against others and was not the only
impetus behind the FTCA."); Niles, supra note 16, at 1296 ("The critical objective in providing for governmental
exposure to tort liability is arriving at the proper balance between positive disincentives for negligent and
unreasonable activity on the one hand and negative liability threats which distort the proper decision making
process on the other."). That said, the FTCA shields federal employees from liability only for tort claims; it does
not shield federal employees from personal liability for constitutional or statutory violations. See 28 U.S.C. §
2679(b)(2) ("Paragraph (1) does not extend or apply to a civil action against an employee of the Government . . .
which is brought for a violation of the Constitution of the United States, or . . . a violation of a statute of the
United States . . ."). See also Sisk, supra note 17, at 307 ("[F]ederal employees remain potentially liable for
constitutional torts." (quoting Kenneth C. Davis & Richard J. Pierce, Jr., Administrative Law Treatise § 19.3, at
227 (3d ed. 1994))).

     Levin v. United States, 568 U.S. 503, 509 (2013). See also 28 U.S.C. § 2679(b)(1) ("The remedy against the
United States provided by sections 1346(b) and 2672 of this title for injury or loss of property, or personal
injury or death arising or resulting from the negligent or wrongful act or omission of any employee of the
Government while acting within the scope of his office or employment is exclusive of any other civil action or
proceeding for money damages by reason of the same subject matter against the employee whose act or
omission gave rise to the claim . . . .").

     See, e.g., Doe, 929 F.3d at 166 ("[E]ven intentional torts and illegal conduct may fall within employees'
scope of employment. In considering whether an intentional tort or an illegal act falls within the scope of
employment, the inquiry is whether the tort or crime was a foreseeable aspect of the employee's employment.")
(internal citations omitted).
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      See 28 U.S.C. § 2680(a) (stating that the FTCA's waiver of sovereign immunity "shall not apply to . . . [a]ny
 claim based upon an act or omission of an employee of the Government, exercising due care, in the execution
 of a statute or regulation, whether or not such statute or regulation be valid, or based upon the exercise or
 performance or the failure to exercise or perform a discretionary function or duty on the part of a federal
 agency or an employee of the Government, whether or not the discretion involved be abused").

     Niles, supra note 16, at 1300. See also Sisk, supra note 17, at 301 ("The most important [exception] (in
 terms of frequency of assertion by the government, successfully more often than not) is the discretionary
 function exception."); Seamon, supra note 33, at 700–01 (describing the discretionary function exception as
 "broad," and as "the most important exception" to the FTCA's waiver of sovereign immunity).
     See, e.g., Loumiet v. United States, 828 F.3d 935, 939 (D.C. Cir. 2016) ("We conclude, in line with the
 majority of our sister circuits to have considered the question, that the discretionary-function exception does
 not categorically bar FTCA tort claims where the challenged exercise of discretion allegedly exceeded the
 government's constitutional authority to act.") (emphasis added).

     See Kiiskila, 466 F.2d at 628 ("28 U.S.C. § 2680(a) precludes action for abuse of discretionary authority
 whether through negligence or wrongfulness."). See also 28 U.S.C. § 2680(a) (stating that the discretionary
 function exception applies "whether or not the discretion involved be abused").

     See Morales v. United States, 895 F.3d 708, 716 (9th Cir. 2018) ("We reject the suggestion that the
 government cannot invoke the discretionary function exception whenever a decision involves considerations of
 public safety . . . . In case after case, we have considered the government's balancing of public safety with a
 multitude of other factors.").




                                             Introduction
    The context of this statements are collected edited based on the original documents
had filed to courts. Which means their decisions judgments and all the other acts were
out of their best "fairness and justice" with knowing/understanding documents filed at
least in summary. While I also had proposed emphasized them in person on hearings for
many times to city attorneys and judges.
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Statement summary
A. Miguel Rivera’s pervious life – The reason why abusive litigation (detail in attachment)

      Miguel Rivera (aka) is a criminal scam artist, abuser. The Primary birthday is 3/6/1967. From

1990s to 2005 he’s been in a relationship with Alexander G. Tellez (DOB: 2/22/1968) with the name

of “Michael Colon”. Before 2000, they lived in Orange County, CA. On 2001 they moved to Miguel

Rivera’s parents’ place 1416 Grandale St Lehigh Acres FL 33936. The records/frauds of montages

started, by the time their relationship was getting worse. In 2003, there was a record of fight, finally

in 2005 Alex issued a protection against to Miguel Rivera (aka), while it ended.

      On 1/15/2005, 1/31/2005 Miguel Rivera (aka) was arrested for criminal traffic under the

name of “Miguel Colon”, “DOB: 3/6/1964” in Lee County FL. A mugshot was taken on file, which

looked the same with “The Miguel Rivera” I know.

      On 7/7/2006, he was arrested in Lee County Fl again with the name of “Miguel Rivera”, DOB:

3/6/1967 on court records, DOB: 6/8/1967 on the original complaint paper.

      During 2006-2011, Miguel Rivera (aka) had serval relationships, he moved to New York City.

He became more experienced with his fraudulent skill, he succeeded on defrauding his priors, theft

their identities, benefited the funds of montages.

      After 2011 he succeeded again, came off with the name of “Miguel Rosen”, he broke up with

Evan D. Rosen, he started a relationship with Jino Kobayashi in New York City. Miguel Rivera

registered companies as real estate agent with Jino in NY, FL, PA.

      Around May 2011, Miguel Rivera met Abigail Prieto. On 10/4/2012, Miguel Rivera committed


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to a fraudulent marriage with Abigail Prieto to help her gain the green card in Lee County FL. He

was paid, she is homosexual, they barely contacted each other. Around August 2016, she met

some issue related to him and came to him for help. Maybe they have not divorced yet. She is now

married to a girl.

      In 2014, Miguel Rivera’s three-year circle cleared away his relationship with Jino. There was a

lawsuit against him by his “good friend” (target) called KAMA LINDEN in New York City. He failed

and lost money in that case. Though he got “supplement” from bank by using Jino’s identity in the

same way, which caused legal issue to Jino. Then he absconded away from NY back to Nepal CA.

The years in New York he gained connections, and another identity (SSN) might be obtained at

that time. Due to their unlawful (Airbnb and other kinds) business, there was another lawsuit

against him in 2015.

      In Nepal, he opened a center called “The Center SWFL LGBTQA Communities Center Inc.”

with Joshua Boyle and Julian Laredo, Heather Lunsford, Heather Nicol. Which was more like a bar

or a dance club. Miguel Rivera had a “luxury” time, they enjoyed, partied, played and smoked all

along. One of whom is now in jail for drugs. I guess that’s when and how Miguel Rivera affected

HIV and syphilis. The people in the office observed lies such as pretended to have cancer, heart

problems, brother’s and father’s death. His reputation went broken as well as his “boys” in 2015.

During this time, Miguel Rivera was having insurance business with Bryan Ildiko, Ildiko Baldwin’s

husband. Which was legal or illegal, I guess no.

      After that he left Nepal CA back to his hometown Philadelphia PA, when and where he met

his husband, Minh Nguyen, he brought disasters to his families and Minh. They married to each
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other on 7/8/2015 certificated in Honolulu County HI. Which was a bigamy for sure. It was not too

peaceful in their relationship. Miguel Rivera cheated, smoked, defrauded as how he is, Minh was

abused, always kicked out to the streets, be set up, libeled, framed as well by reading the

conversations from one of Miguel Rivera’s flash drives. There, Minh noticed his mental issues as

well. They separated (not divorced) in 2017 when it reached out to the circle of “three-year”.

      During that time, Miguel Rivera succeeded on pushing his youngest brother to kill himself

and set up plans to put his other younger brother into jail. He defrauded social benefits from his

nieces and nephews. While it appeared, he started/had some “business” in Las Vegas. His “business”

extended to shell companies as well.

      In 2017, he hunted Qien Gan. Miguel Rivera arbitrarily registered Qien’s apartment on Airbnb,

illegally. Their relationship ended up because Miguel Rivera hid his HIV status. Qien tried to break

up with him. Which caused Miguel Rivera changed the lock of Qien’s apartment, he detained his

suitcases, made him nowhere to go. Qien told me he was lucky that he had a sister who supported

him otherwise homeless like me when we talked. Qien didn’t go back to him, he issued protection

order against to Miguel Rivera on 2/15/2018 so that he’s able to flight back home safely. Though

Miguel Rivera couldn’t control himself and he went to Hangzhou China to harass Qien’s life. He

showed himself up to Qien’s parents with photos of them having sex when Qien hadn’t even

come out to his parents, it’s not hard to get how much trouble Miguel Rivera caused, that’s exactly

what he wanted and who he is. As results, he got beaten away, they called the police as well. After

that it was when I met him, where and how my disaster started.



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B. My disaster

   I. Timelines (deatil in Attachment)

   A. 07.2020 – 10.2020




   B. 11.2020 – 12.2020




    II. Miguel Rivera’s background




   Miguel Rivera made excellent eye contact; he is good at convincing/acting/lying.

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      As one party in a relationship, Miguel Rivera is a liar, a cheater, a betrayer. He hid his
STD status, even intended to transfer it to me so that I became the cheater.
      As the facts Miguel Rivera has many identities, different birthdays, multiple SNN and
countless names. There are lots of court records everywhere he stayed. If you review his
declarations and statements in different cases, you will find lots of perjuries and self-
contradictory statements. He is a con artist, experts in relationship frauds. He has moved
among cities and states a lot, mostly for relationship issues. According to court records,
they always ended up on courts, usually for domestic abuse and lawsuits by different
guarantees for the monotonies he applied under their residents. Before his priors noticed
he had run away to different states. He has criminal/felony records, famous for lying in his
family. He had lied to his families too much, even defrauded benefits from his niece. He
pushed one brother to kill himself and the other one into jail. Eventually his niece called
him liar, his husband called him a fraud, finally his own parents gave up and abandoned
him. Based on and regarding to my experience, I summarized the patterns:
   1. Miguel Rivera always exaggerates praises people and matters depend on the
      degrees of value to him or his desire, vice versa.
   2. When Miguel Rivera claims there are witness to certain events, which I never once
      experienced as (totally) truthful.
   3. It is the same as further continuation when Miguel Rivera states certain matters were
      introduced by certain individuals, or certain individuals support his statements.
   4. To the accusations can be considered as facts with lots of proofs, Miguel Rivera’s
      strategy is not to deny or acknowledge, only to stay silent. To the other accusations
      no matter truthful or not, he denies.
   5. When it comes to Miguel Rivera’s proofs, those are usually not relevant or forced to
      become connected or related.
   6. ……There are more in the cases.
The key is his powerful performance ability to mix and manipulate the genuine and fake.

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       Miguel Rivera experts in convincing acts, making big lies out of small non-related
facts. He is a master of humanity manipulation. Most importantly, he has spent his life on
that. He has collected extensive rich experience. Generally, I never found any of his
statements involved with third parties was (totally) real. In conclusion, he is a total egoism.
       Though just like the snowball rolling in one direction, he always failed to exam
through from the tests of time and the stands of facts. So that gradually he is utterly
isolated from everyone. That’s why there is some period in relationships forms out a
triennial cycle.
       On the “DV Manual for Judges Appendix H-8” from Washington State Administrative
Office of the Courts, it comes out exactly how and why. Miguel Rivera’s perjuries and false
claims followed the same pattern summarized 8 months ago. But no one had reviewed.
According to case records, it is more than shameless that the prosecutor knew Miguel
Rivera was abusing me, but she chose to cover him up, neglected Miguel Rivera’s crimes. It
was absurd illegal performance how she had been. She isolated my documents but never
explained why she illegally held up my evidence away from the court and how authorized
Miguel Rivera’s immunity from crimes. Regarding to RCW 9A.08.010 (1) (a), (3) “Intent” is
the general requirement of culpability to a crime. No matter how illogical, unreasonable,
malicious, blind, abusive, evil, without supportive or reasonable intents and proofs, without
authenticity verifications, she just chose to abuse her power and increased crimes.
       The case 658510 was dismissed for lack of evidence. There, officer falsely reported
claimed that Miguel Rivera met me in person, and I was trying to assault him in the
apartment lobby. Since it turned out false, where is the outcome of false reporting?
Regarding to the Police Report 20-324971 I was kicked out into the shelter(Exhibition Hall),
I never reached out to him, what was the reason/intent for me to do that especially when
his abuse had gone into an unbelievable level?
       Miguel Rivera was not divorced with his husband, his parents gave up on him, his
family did not know where he was, some of them thought he died for HIV. He’s famous as
a liar. I collected court records showed his crimes. He abused me, defrauded me, damaged
me and my family. Miguel Rivera did not act needs for protection as King County Superior
Court dismissed his petition, the judge yelled at Miguel Rivera “Civil standbys are not
violations.” The dismissal meant there was not enough evidence, or he did’t experience
domestic violence. Violations are built on that, however it seemed to be non-relevant to
municipal court. Miguel Rivera was that blatant rip-off adjective and criminal, but there
was no need for him to concern about any penalties. After cracking her fingers, the
prosecutor maliciously sanctimoniously charged me for contacts to his parents/family and
Ex-husband. Not only nothing was verified, but also, such a blasphemy to justice for
something absolute malicious false fake and retaliatory. It is unlawful that the prosecutor

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abused her power. It is illegal for the court groundlessly prisoning me, shutting me up,
framing and abusing me while authorizing immunity to crimes.

     I pursue all of those people mustn’t be parents or have grandparents,
otherwise inhuman, otherwise they must find it fair acceptable happy and
justice for their children to go through their judgements when they are in
the hospital about to have surgeries, and to be locked up in a seperated
cage for asking “allow me to attend my grandfather’s funel”. Miguel
Rivera had framed me to all my families and everyone he knows from me.
But he didn’t let go, he isolated me from my new friends here so that
more helpless. He had done everything you might think of to be hopeful.
He had violated too many rules to count. He never responded to all the
criminal alleges against to him. His just pretended and acted, made up
more perjuries and built up more fake stories and false alleges. That’s
exactly what the court needs, there’s excuse, there’s “good reason” to act.
There’s no penalty to real crimes, they participated in the same silence
and extended more abuse like it matters. Procedures were insignificant,
they’ve designed the destination in the first place. It’s not “shame on
them”, they are too shameless. May kids in kindergarden know better at
judgements, only may those paitents in St. Elizabeths Hospital proceed
the same madness. Confucius proposed: "Don't make others do things
you don't want to do". They must find the best justice one day the same
judgements and treats on them.
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       C. Misconducts
      (a). Instruction
      As the facts every letter had been filed, described in detail, written in red dried out
from salted liqueur. Everything was well-founded, reasonable, logical, factual. Not to
mention about other torts, only in the name of abusive litigation there’s no reason for SMC
to continue on chargers. Plus, the fact of frauds bigamies perjuries violations harassments,
etc. why so discriminational, abusive to me? Even if there; s no humanity or conscience,
was it already over excessive for SMC to be lawful and legal at least?

        (b). Events (extracted from attachment)
        I declare every description/statement in the related events as facts, unchangeable
histories. Proofs and evidence are filed to the original cases. Which can be provided and
verified again at any time. I also declare the related inferences are logical and reasonable.
As for the personal experiences, I ensure my best objectivity in the statements. I believe the
actual feelings and mentalities at the moment must be worse after healing through time.
        1. Pursuant to RCW 26.60.901, RCW 26.50.055, 10.99.030 and The Fourth
Amendment. It was unlawful for peace officers to trespass on my room. <AKIYAMA EMILY
J,GORGE COREY L>, TRESPASS, MISCONDUCTS. As exhibited, there was no way for me to
let them in. Especially I was crying in the bathroom.




       2.     King County Superior Court dismissed Miguel Rivera’s petition for protection.
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      On 6/30 hearing, around the same time section of the hearing on 6/28. both judges
denied my motions, claimed those as non-relevant with the same sentence. Both of them
asked me the same questions at similar time section on two different hearings:
       1. Is it necessary for me to have an interpreter?
       2. If so, how come the documents I filed were in English?
      Forget about that the queries were hostile, ran counter to Chapter 2.43 RCW, it
appeared they were following the same instruction, otherwise too incidental. How about
decisions?
      I then asked for reasons why dismissed and not relevant, emphasized pointed out
crimes verified on my brief and what action will be taken facing, what if the prosecutor is
abusing her power.
      Then the judge warned me of potential penalties to as a pro-se, stated what I filed
were “facts”, which should be exhibited to the jury instead of the court, and that’s what the
court could provide me. She stated the public defender makes right decisions, and if it was
her, she would not file them to the court and asked him “Right?”. He laughed and agreed.
Who never voiced any facts, ignored what he received, violated my right of privileged
communications, stated that’s how much he could do since free. It must be non-relevant
that the protection order was not valid by unlawful service. It must be non-relevant that
the fact I don’t possess my passport, all my properties were detained or sold by the other
party. So that I had been homeless stayed 45 days in the street. Eventually I couldn’t
provide anything on file to pay the bail to the agencies. It must be non-relevant about the
perjuries. It must be non-relevant that I had proofed Miguel Rivera is a bigamist, scam
artist……a total criminal with countless crimes. Nothing would be enough important to be
non-relevant.
      The judge stated the city will be in charge of crimes, she didn’t know/response what
to do with the other situation. Then I asked again for their reasons to dismiss. I stated the
court had gone into the opposite direction, I never abused Miguel Rivera, but he did. I
asked why the prosecutor had been holding on my documents/evidence away from
records. Why there is no penalty or cost for Miguel Rivera’s countless crimes. Even the
order itself was not valid with unlawful service……
      The judge only focused on warning me outcomes and possible sentences as pro-se
and passed my questions. She only had a short pause about the unlawful service but soon
ignored. She told me only after the final decision, I have the chance to appeal, like the
decision she made. Later she asked for the prosecutor’s charges. While she asked me to
stay quiet because my attorney will “represent” me. The prosecutor cracked her fingers
turned out to be more abusive/malicious proposed absolute malicious and false charges
for violations, stated I hacked MR’s social media accounts, then I got his friends’ address,

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where I sent him divorce paper to when he’s attending a “funnel” in Florida. Which I
believe it’s a lie. On the other hearing, her violation charges were for some phone calls to
his building and photo of me which Miguel Rivera claimed next to where he lives. So that
he had to move. I responded on my statements as “Miguel Rivera stole my iPad full of
evidence, there were locations from apple.com. How was I able to locate his room number
only with that uncertain information. If he’s afraid of me, why moved to somewhere only
two blocks away. It’s his abusive controlling and the best excuse to abscond.” There was no
reply from the prosecutor, no cost for Miguel Rivera’s theft and destroy of evidence. Now
what I predicted becomes facts, judges authorized her, she offered him immunities.
      Ironically, I had filed proofs to both courts previously before hearing. While it is for
sure the court didn’t review contexts on my motions. Since obviously they followed some
same agenda with instructions, what’s the point of hearings? Where is the independence?
Since the judge stated the two attorneys are always right and make right prosecutions,
what is her function to the court as a judge?
      Further, Miguel Rivera’s friend Ildiko Baldwin, wasn’t even honest about her address
on her declaration. It was the FedEx operator, he found errors to match the address with
the postcode. Why did not she provide her right address? While it was the notice of appeal
being sent/served. The certificate/proof of service was filed to both Seattle Municipal Court
and King County Superior Court. The divorce notice was sent to his attorney Mr. Timothy A.
Lechner through E-mail. It was the best sample of Miguel Rivera’s perjury, and how good
at making big lies out of small non-relevant facts. It was also malicious charges that she
never verified authenticities but kept abusing. Kept abusing and abusing her discretionary
power. So, I filed motions, tried to seek just. I never thought the judges were on the same
boat. Pursuant to RCW 34.05.437. The judges failed to procedure lawful response and
proper reasons for the dismissals. The city attorney does everything possible to encourage
crimes. There is no penalty of crimes, the judges screen criminals. The court does its best
on framing and convicting me of false malicious crimes. The Municipal Court had
thoroughly lost its function.
      Shamelessly the judges decided to put me in custody. When I finally bailed myself
out, they stated as “I did’t know he’s out.” Is it such a nature for them to put innocent
people in jail? Where is your shame? Your humanity? Your dignity? It was really such a
blasphemy to justice. The rest procedure was so quick like they have “rehearsed”. It was
the only moment the public defender volunteered doing something. He participated in the
order for evaluation. The public defender explained to me that the court may dismiss the
case depends on the result of evaluation. After experiencing another week of torture in
custody, finally I got out and searched the meaning of that order.
      On the surface the court ordered evaluation for competency skillfully. Their real

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purpose was to stealthily visualize me with incompetency. So that even if what I filed were
truthful, they have excuses and can claim it’s my fault for incompetency. They officially
delayed the day of “final decision” from August to November so that I couldn’t’t appeal to
higher courts. As the smartest strategy, they whitewashed themselves and slandered me.
The most sneaky and nasty part is no matter what competency, the result will either be I’m
“crazy” or guilty, so that either I’m in custody guilty or I’m out custody “crazy”. Since the
evaluation requires me to appear in person, and from the last experience, there are too
many excuses and different ways to shut me up. With their best excuses and speeches to
the higher courts as “There’s no final decision” and “He’s crazy.”. Such a design. Such a
good countermeasure. What a pity on illegally abusing and bullying.
      Here I clarify myself again, I am graduated with biology engineering master’s degree.
Language barrier is not incompetency, neither as excuses to frame, slander, and abuse me.
        I was released on 7/6/2021 around 9-9:30 am, in custody since 6/30/2021 for
appearing in person to quash warrant in Seattle Municipal Court Room 902 around 11:30
am. Which caused the failure of appearance for the hearing on 7/6/2021. Though no
matter how many times I tried to seek responses, call, and leave messages to King County
Superior Court around 10 am. and 12:30 pm. I left message to the Municipal Court and
City Attorney’s office as well. There was no response from neither the Superior Court or
Municipal Court and City Attorney. I don’t understand only just to be informed I don’t have
a right and until now nothing in return.
        Later I thought it was a hope there was a county attorney responded and asked for
details. Which turned out to be another hurt when she played the game of kicking balls
stated they can only take actions when receive reports from the law enforcement, which
they do not have. I guess 2021-082422 and 2021-183800 were fake.
        After surviving from Miguel Rivera, I thought it was a hope, so I finally felt relieved
from everything, did not have to fight alone; it should be easy for them to identify the
nature especially with that many proofs and evidence I submitted. But Immediately I even
had to be put through with waves of further polyploid extended abuse. If it’s heartless or
whatever but how injustice how nasty a court needs to be, how blind how abusive it needs
to be again, how inhumane how sick again and again. I can’t know, I don’t know, I don’t
want to know.
        Against my family, I came out to be with him. Left home, I didn’t care any elements,
otherwise I could have gone back home previously being abused. He’s my first relationship,
he taught me love, I put all myself in. Though there were arguments then he used to kick
me out, sometimes took away my belongs like suitcases money passport. I cherished,
protected, stayed, believed. But there were too many times I had experienced
hopelessness, so there he promised, then with audios, then videos, and into contracts,

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eventually into nothing but empty. Nothing changed, nothing stopped, like nothing to him.
Until it turned into abusive litigations, I learned what was the real desperate.
         His abuse is killing. Framed me from new made friends here to people on the other
side of the earth, he could even hurt my mom two days before her surgery. It is too easy
for him to destroy. He has no shame humanity and moral to me. I don’t see a sign of
bottom line to place a limit. You can never image how whole and deep. You can never
know how it is to wake up in the streets. You can never know how to become used to
nightmares. You can never know how to stop tearing sadness. You can never know how to
live without yourself. Touches are still touches, voice is still voice, lights are still lights, the
world is still the world, but everything has changed.
         I filed statement “Pattern of Secondary Damage” last year. I had declared/predicted
that courts were his new subjects he plays the victim to, as well as his weapon. I predicted
his reactions; I exhibited a future picture from the history. But I mistakenly thought the
courts were where to seek justice. Finally turned out to be another version of Miguel Rivera
in judicial way. The same double standard shameless abusive, evade their unlawfulness,
exaggerate, and forge. The worst are the certifications authorizations. The court itself is the
rule maker. There are too many ways to sculpt things into the shape they want you to be.
To find out a dead end in a quarter justice from the pint court is my worst self-
expostulation.
         When he broke into the room with his witness, threatened and ordered saying “I
have a warrant, I’m nicely asking……” It was the first time of felling dangerous from him, I
was still in love with him, but I couldn’t even ask or force myself I didn’t know to believe
again. Torturous huts miseries are too blank to describe. I put away locked the sense of
feeling, pulled my soul away otherwise unable to survive. I struggled; I remember there
were times I woke up in the midnight crying quietly. After knowing I lost conscious into
emergency room, Miguel Rivera played the victim stated he had to live in his vehicle to
save money to hire attorneys. Before his petition was about to be dismissed, he stated “All
of them (police) said sorry to me……officer made sure this time it says violation on the
report.” Though those were verified perjuries, still scratched opened leaks, every leak
explored. Finally, it was the first time I started to stop loving. After the hearing on 5/15,
everything started to be teared open. After another time being put in custody, I started to
realize what I had to defend myself from.
         I had struggled, so I will. I had survived, so I will. I had been seeking for just, so I will.
I appeared alive; it didn’t mean I was fine. I didn’t lose a part of body; it didn’t mean I was
intact. I had been being abused; it didn’t mean I would. Nothing had appeared to be fair
lawful, or as just; it didn’t mean I would accept the same from Court. On 7/7 I replied SCA’s
motion to dismiss, I stated Police officer trespassed, officer Abshir falsely reported. There’s

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collusion between them, even my room key was expropriated unlawfully. On 5/15 hearing,
there was an ex-parte communication the prosecutor submitted something untruthful to
the judge, falsely maliciously charged me again unlawfully. The court granted warrants. On
6/30 hearing. The court put in custody again maliciously illegally. The judges didn’t review
the contexts of my motions. They followed some unknow agenda, claimed the same as
“non-relevant”, made same decision to dismiss in the same time section. Incidentally?
      There are records I had been requesting but never provided, my motions never got
lawful treatments…… The courts have control over releasing records; however, I have them
in my memory. If it was guilty conscious for Miguel Rivera, why courts? Even I am nobody,
the human rights should be the same as anyone else. Finally, under official cover Miguel
Rivera absconded run away from this state as he always had done. He had abused because
they had abused, they have framed, but they are still abusing. Their only wisdom was to
extend time on tortures, their only response was to dismiss the appeal. Though, their
achievements are countless. Miguel Rivera must be so happy and lucky, The court must be
so satisfied and delighted.

      (c). Rules
   1. ARTICLE II. 4 (a)
      (1) (C) engaging in improper ex-parted communications with parties or counsel for
one side in a case.
     (2) (B) treating litigants, attorneys, judicial employees, or others in a demonstrably
egregious and hostile manner; or
     (4) Retaliation. Cognizable misconduct includes retaliating against complainants,
witnesses, judicial employees, or others for participating in this complaint process, or for
reporting or disclosing judicial misconduct or disability.
      (5) Interference or Failure to Comply with the Complaint Process.
   2. ARTICLE II. 4 (b)
     (1) Allegations Related to the Merits of a Decision or Procedural Ruling.
     (2) Allegations About Delay.
   3. Rules 4 (a) (2), (3), and (4) reflect the judiciary’s commitment to maintaining a work
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      environment in which all judicial employees are treated with dignity, fairness, and
      respect, and are free from harassment, discrimination, and retaliation.
   4. Rule 4 (a) (5) provides that a judge’s refusal,
   5. Rule 4 (b) (1) tracks the Act, 28 U.S.C. § 352(b)(1)(A)(ii), in excluding from the
      definition of misconduct allegations
   6. With regard to Rule 4 (b) (2), a complaint of delay in a single case is excluded as
      merits related.
      (d). Local Law
   1. RCW 26.60.901, RCW 26.50.055, 10.99.030 and The Fourth Amendment.
   2. RCW 42.20.050 Public officer making false certificate.
   3. RCW 9A.80.010 The Prosecutor Zavidow Grace E. knowingly misconducted.

King County Superior Court: 20-2-18129-3, 20-2-16996-0, 21-2-00897-2
                      SMC: 658510, 658597, 658179
           Criminal reports: 2021-082422 and 2021-183800; 2020-348546, 2020-348008,
2020-324971, 2020-323263, 2021-023990, 2021-016844, 2021-013432
                                Reasons to           Status/Responses and          Crimes/unlawfulness with
           Events
                              Charges/Actions               reasons                    unknow immunity
     Temperory DVPO                                                                  MR broke in-trespass,Police
                                 Invalid order             No response
         Service                                                                   officer trespass-unlawful service
                              Assults, third party   Dismissed for insufficient
     Civil standby(Jan.)                                                            False report, collusions, theft
                                    contact                  evidence
                                                                                   False report, theft, misuse (sold)
                              Appearances/photos     Active. But insufficient
   Civil standby(Jan.-Feb.)                                                           shared properties, injuries
                               to the apartment  evidence of who where when
                                                                                       caused(lost consious into
     Countiurances of
   temperory protection                                                                Abusive litigations, injuries,
                           Homeless, properties
      order(Jan.-Mar.)                                                              Intentional transmission of STD,
                                and cash                       N/A
  Superior Court dismissed                                                        perjuries, bigamies, identity thefts,
                            detained/robbed
        petition for                                                               frauds, marriage frauds, (misuse)
     protection(Mar.)                                                                  multiple identities, criminal
    2021-082422 Police                                                                   mistreatments/abuse
                                  N/A                Dismissed without reasons
     Report(Jan.-May)
                                                        Active, Warrants
   Miguel Rivera claimed         Phone call,
                                                 granted/Making big lies out
  had to move (abscond) Appearances/photos
                                                     of small non-relevant
           (May)           to the new apartment                                       Ex-parte communication,
                                                      facts(detais above)
                                                                                              abscond
  Miguel Rivera claimed in Social media account
                                                 Decision of in custody/Proofs
       FL attending           stole, third party
                                                     filed before charges.
       funeral(6.30)               contact
                                                  Dismissed motions without        violations ARTICLE II. 4 (a)(1) (c),
                                Appeared in
                                                 reasons;prejudice/no review        (2) (B), (4),(5); ARTICLE II. 4 (b)
  Motions filed(May-Jul.)     person/be put in
                                                     of contexts/unlawful          (1),(2);Rules 4(a)(2), (3), and (4)
                                   custody
                                                       procedure/unjust                  ;Rule 4(a)(5), (b)(1),(2)
    2021-183800 Police
                                                                    N/A
       Report(July)
                                                             14
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      Thank you Seattle Courts, I really have learned Domestic Violence, Violations, Perjuries,

Frauds, Discriminations, Bigamies, Tortures, Collusions, Frames are crimes. Anywho violates the law

may be charged. Judges and prosecutors are equal fair and justicial, representations of just. Now

that I’ve thanked you, will you start opening your eyes? Will you please stop abusing me? Will you

please be lawful? Will you please let just talk? Will you please show as crimes? Will you please stop

letting go crimes? Will you stop your abusive prosecutions and judiciaries? Will you please not be

so inhuman? Will you please stop abusing and abusing and abusing me?

      Is it because I didn’t forge that’s why you don’t believe me? Is it because I don’t carry the

right colour that’s why you are discriminational? Is it because you are just a few buildings that’s

why you are not equiped with humanity? Is it because I didn’t die that’s why you don’t see a body?

      On May 20, 2018, I didn’t know Miguel Rivera is a bigamist. On March 2019, I didn’t know

he’s an abusive criminal. On May 7th, 2020, I didn’t know he’s a famous scam artist. On September

16th, 2020, I didn’t know he’s been faking up. On February 17th, 2021, I finally got to know more

about the real who. On March 16th, 2021, I didn’t know prosecutors are not how the law says. On

April 2021, I didn’t know prosecutors can be abusive and illegal. On May 20th, 2021, I didn’t know

judges are another form of abusive litigations. On June 2021, I didn’t know municipal court from

inside out is a lawless discriminational hegemonic sided smiling hole. Where leads to their infinite.

Therefore, my sights are gradually widened. There’s no choice for me to breath but to be soaked in

that hell. I was forced to learn, pushed to be crushed, shattered to stay together, disunited on

everything. How to gain equality and humanity? I guess only if to be reincarnated in a different

being. Oh, I guess it’s my fault didn’t to realize this until now, of which instead wiping and
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destroying my soul, were helps. Everyone knows who discriminates is discriminational. To seek just

from the prejudiced ice is never possible.

      I thank you, Seattle Municipal Court, judges, attorneys, cleaners. Thank you for destroying my

life. Thank you for showing me what is discrimination, thank you for teaching me know what is

called abuse, Thank you for redefining laws and rules, thank you for your engagement. Thanks to

you, your decisions and judgements, an artist had the chance to keep working on his arts and the

ability to infect more and more people. Thank you for your insistences on yourselves. Because you

are such the representation and guidance of Judiciary, Justice, Democracy freedom, and society.

      You must be so kind; the crimes must be unintentionally done. You must be very generous; a

criminal can be covered with your supports. You must be very confident; you are never wrong. You

are such the power to take over lives. You are so familiar to the criminals, you are so silent to your

disabilities, you are so loud to abuse your authorities. To the innocent, you redefined human rights.

To the guilty, you muted criminative voices. You are so right on everything, to everyone, not left.

      You are so great to me. You expert in discriminations. Regardless of unlawfully you imparted

experiences when I only had a superficial understanding. You are so friendly, regardless of costs

you didn’t hesitate to pardon. You are so creative, equipped with professional skills and tricks, you

are able to generate charges from empty. You are so powerful, the written forbidden is archived.

You are so equal; you fixed the screws on the scale. You are so affirmative, illegal rights righted.

      You shall be blame free. You must be blind, that’s why you cannot see the crimes. You must

be deaf, that’s why you cannot listen to the laws. You must be incompetent, that’s why you cannot

read the filed papers. You must be disable, that’s why evidence isn’t related. You must be very
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unabashed, only mosquitoes know the thickness. You must be well-informed, that’s why you don’t

distinguish fiction from fact, right from wrong, criminal from the suffered. You must be so egoistic,

that’s why no conscience and morality can approach. You must be inhuman, that’s why you cannot

be unscrambled with human minds. You must have sold out your shame, that’s why you have been

standing firm in the face of cynicism. Oh, my fault again, you are too blind to see that face.

      There is one more day “attorney” exists, there is one more day away from just. I was able to

predict your processes and acts, though there’s nothing too uncomfortable for them to follow. Oh,

all is scheduled, you are just repeating. It was you created a monster like Miguel Rivera, your daily

has stayed closed to right, your formalizations had been squashing the free in pieces. The purpose

of attorneys had been malformed too far away from the original reasons. Which accelerates court’s

malformation taking shapes, then deteriorating externalizing becoming and reaching the polarity.

It’s been my stupidity and delusion to ask tears from crocodiles. It’s been my ignorance to welcome.

It’s been my fault to challenge, fight, seek, and to be abused.

      Since you don’t consider them as crimes and offenses. You should update the law, delete the

parts of fraud, marriage fraud, theft, identity theft, robbery, bigamy, abuse, torture, collusion,

forgery, perjury, harass, trespass, detain, domestic violence, false report, violation, threat, drug

abuse, isolation, slander, defamation, abscond, mistreat, misconduct, discrimination.

      Since your judgements are never based on evidence or fact, you should add a note says

more declarations more credibility. Since you don’t follow court rules, you should delete the parts

of rules on motion, evidence, valuation, litigation, prosecution, judiciary. You should redefine

“voluntary” “victim” “criminal”, add a note as “The purpose is to fulfil obligations and procedures.
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Definition is the court can force and order anyone to do anything or to be any certain way. The

court is not under any jurisdiction, the court can delay trial when they need time to wear down

one’s willpower. The court can violate any law and rule. If you are treated with misconducts, don’t

panic, don’t worry, don’t be afraid, don’t fight, you are not the first, you are not the last. The court

will find you as incompetent when they need to.”

      Since you cannot distinguish victim from criminal. You should add a note to victim and

criminal says “Any case only if two parties are both white, the judgement shall pursuant to the

richness, otherwise the white is the victim, and the other party is the criminal. If between two non-

whites, pursuant to the richness or whatever.”

      Most importantly, all provisions above are internal. As for the external version, the superficial

need is reserved, the strategy is to stay silent, trash talks are more important, acts are the mercy,

the necessary is to add a note says, “We protect your rights, your rights value, your lives matter.

Welcome to America, to democracy and freedom.”




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                                             RELIEF

      State briefly and precisely what damages or other relief the plaintiff asks the court to order.

Do not make legal arguments. Include any basis for claiming that the wrongs alleged are

continuing at the present time. Include the amounts of any actual damages claimed for the acts

alleged and the basis for these amounts. Include any punitive or exemplary damages claimed, the

amounts, and the reasons you claim you are entitled to actual or punitive money damages.

      I. What damages (Attachmen page 1-103 & Appendixes)

      1. <MIGUEL RIVERA AKA> Bigamies, frauds, perjuries, thefts, identity thefts, detains, tortures,

abuse, domestic violence, relationship scam, defamations, libels, frames, forgeries, briberies, false

malicious reporting, collusions, criminal mistreatments, harassments, assaults, insanities, tampering,

malicious mischiefs, robberies, burglaries, trespasses, anticipatory offenses, abusive litigations.

      2. <Defendant 2-6> Perjuries, malicious defamations, collusions, criminal concealing,

discriminations.

      3. <Police officers> Trespass, collusions/concealing, false reporting, perjury, discrimination.

      4.<Seattle City Attorney> Abusive litigations/powder of discretionary, tortures, misleading,

false advertisement, malicious prosecutions, collusions/concealing, violations, discriminations.

      5. <Seattle Municipal Court> Violations of cannon, abusive litigation, discriminations, tortures,

collusions, illegal enforcements, false advertisements, threats.

      6. Destruction of my life, damages to my families and friends.


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      II. other relief

      1. [Official Announcement/Certification/Clarification] which at least contains statements of

the events, brief of all the related facts in the time from September 16th, 2020, to the present.

      2. [Additional Announcement/Clarification] of the defendants/detractors/detractresses which

at least contains the facts and contexts of their false statements.

      3. For the purpose of above 1, 2 is to comfort the damaged families and friends, thus any

other forms may be acceptable.

      4. [Medical support] or any other supportive manner such as therapist, as so far not one

relief has been proposed or supplied except the shelter. I know I really do need emotional relief.

      5. [Certification] of Invalid Marriage/Domestic Relationship Order (Annulment Decree).

      6. Any othe relief may be willing to be provided.


      III. Basis of claim are continuing at the present time

      1. Seattle City Attorney (aka:SCA) Miguel Rivera (aka) and Seattle Municipal Court (aka:SMC)

cooperated each other fabricated stories of violation at the recent hearings. For example:

      The hearings on 06/28/2021 and 06/30/2021.

A. SCA falsely claimed I hacked Miguel Rivera’s (aka) social media account(s) so that I was able

to sent “divorce papers” to his friend’s (Ildiko Baldwin) address when he’s in FL for a funeral.

B. The marked parts of A were aboslute malicious perjuries/prosecution because I had previously

filed the proof of mailing to SMC 19 days before the hearings.

C. Two different SMC judges had the same query around the similar section of the hearings in the

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same sentences about my English language, which were discriminational and unconstitutional.

D. SMC dismissed my filed motions without A reason, claimed the filed documents as non-relevant

without reviewing, decided to put me in custody based on A.

E. SMC didn’t know/answer my question of what to do about crimes and when the prosecutors are

unlawful on the hearing but SMC know how to delay the trail without A reason by issuing the order

of competency valuation without A reason

      The hearings on 07/15/2021 and 08/26/2021

A. SMC dismissed my motions again and again without A reason, again and again didn’t answer

my requests and queries, they totally neglected.

B. SMC forcly ordered the valuation when I repeatedly emphasized I was not willing to, the process

was not necessay, I was not incompetent, the law stipulated the valuation needed to be voluntary.

C. SMC threatened me as “Otherwise, Warrant(s) will be issued” against to the law.

D. See more details on “Statement” part above.

      2. Based on 1 it’s obvious they had never stoped abusing. No matter how many times after

times I emphysized on the facts, violations are the only answer. While under covers Miguel Rivera

(aka) “admitted” his crimes, absconded out of the state, created fake materials for SCA and SMC.

      3. Until this moment, all my statements are too factual for them to providd A reason, neither

for one explanation of the “immunity”. Nobody had done anything lawful but everyone had been

abusive and unlawful. The main color is hell.

      4. See more details on “Statement” part above



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      IV. the amounts of any actual damages and reasons
                                                          ---Statements and details in Attachment 1
      1. Frauds - Fincial loss and costs – $29,800

(1) 11/20/2020 $3700 (2) Rents $1400 (3) 01/16/2021 $800 (4) 01/25/2021 $2500 (5) Flight tickets

¥ 52600 (6) Vocational costs ¥ 37500 (7) suitcases *2 ¥ 800 (8) iPad *2 ¥ 6000 (9) iPhone ¥ 4000 (11)

Medical cost $1500 (11) others ¥ 2000-5000 (12) Rental Promotion “10 weeks for free” $3600

      2. Loss of revenue caused by all the defendants. $246,000

Monthly average salary: $6000. Time span: April 2018 to present (September 2021)≈41 months

      3. Parts on Premaritial agreement and behavior magage contract.




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      4. Violations on Behavior contract. – Every Provision




      5. Compensation for violations of items 3, 4 and damages caused. $ 1,000,000

Miguel Rivera (aka) had commited to abusive and malicious litigations himself verified with his own

posts on social medias to the public. He was abusing me and enjoying his life which proofed his

statements as perjuries. (Attachment 1)




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6. Identity theft.

Unknown how many thefts other than what I reported.




7. Unlawful dealings in shared properties, inculding my personal properties. $5000




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      8. The crimes of Bigamy and relationship scam.




      9. Other crimes and violations such as tortures, assults, perjuries, defamation, ect.

      10. Other pain and suffering damages for his Intents to transfer me with STDs, which also

exposed his shameless, dangerous, unloyal cheating identity

      12. Take 8, 9 for examples, pain and suffering damages caused by Miguel Rivera. $1,000,000

      13. Misconducts of Seattle Police Department officers such as trespass, false reporting, false

arrest, misrepresentation, collusions etc. and pain and suffering damages caused. $534,000
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      14. Pain and suffering damages caused by SCA and King County Attorneys such as malicious

prosecutions, misrepresentation, abuse of process, discriminations, collusions, etc. $1,068,000

      15. Pain and suffering damages caused by SMC and King County Superior Court such as

malicious prosecution, misrepresentation, discriminations, false imprisonment, abuse of process,

slander, violations, abused power, unlawful procedures, threates, etc. $1,084,000

      16. The distance from humanity. Discriminations, double standard, humiliation, shame.

When it’s dismissed by County Attorneys again with jokes. ↓↓No reply as how it has been.




      Sarcasms From the fact and themselves.




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Why didn’t they dismiss charges since protection order had been dismissed by their logic?




      Sadness to justice.




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      17. It appeared they regarded crimes as important and serious as insignificant and scrap. It

seemed like justice matters and doesn’t matter. It felt like they’ve been saving but harming for real.

Their “victim” had been abusing deceiting and offencing, he is, he will. It’s been reversed role-

exchanged that I’ve been working on their jobs and requesting them to follow the law, stick to the

facts and rules to whom entitled such. It has been too much more than misconducts.

      18. A repeat reminder proposal and idea: Efficiency does not equal to lazy and irresponsiblity,

attorney dose not proceed engaged function anymore. The justice is dying, and before banning

“attorney”, the poison won’t stop persecuting until toxic. Which was based on the facts and the

experience, though I’ve done much more than my responsibility. The water can carry a boat, either

can overturn it. When it’s necessary, it’s too late.

      As abovemetioned, I request the total amount to be: $5,561,800




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V. The violation of the civil rights laws Include as much information as possible

Regarding to the U.S. Constitution, Washington Law Against Discrimination and primary civil rights

law, SMC Title 14 - HUMAN RIGHTS there are violations of the civil rights laws as:

    The Fourth Amendment: The right of the people to be secure in their persons, houses, papers,

and effects

    The Fifth Amendment: the right to a jury trial, the right to a fair trial, protection against the

taking of property

    The Sixth Amendment: Rights of the Accused

    The Eighth Amendment: Excessive bail and fines, cruel and unusual punishments

    The Thirteenth Amendment: Neither slavery nor involuntary servitude, except as a

punishment for crime whereof the party shall have been duly convicted. Thirteenth Amendment

goes to protect against slavery and discrimination.

    The Fourteenth Amendment: No State shall make or enforce any law which shall abridge the

privileges or immunities of citizens of the United States; nor shall any State deprive any person of

life, liberty, or property, without due process of law; nor deny to any person within its jurisdiction

the equal protection of the laws. The Fourteenth Amendment is there to provide a basis for a legal

challenge.



              A Theory of Judicial Review 34–41 (1980); and C. Black, Decision According to Law (1981), critically
         reviewed in W. Van Alstyne, Slouching Toward Bethlehem with the Ninth Amendment, 91 Yale L. J. 207 (1981).
         For a collection of articles on the Ninth Amendment, see The Rights Retained by the People: The History and
         Meaning of the Ninth Amendment (Randy E. Barnett ed., 1989).
              Insurance Co. v. New Orleans, 13 F. Cas. 67 (C.C.D. La. 1870). Not being citizens of the United States,
         corporations accordingly have been declared unable to claim the protection of that clause of the Fourteenth
         Amendment that secures the privileges and immunities of citizens of the United States against abridgment by
         state legislation.
              When process is due. In its early decisions, the Supreme Court seemed to indicate that when only
         property rights were at stake (and particularly if there was some demonstrable urgency for public
         action) necessary hearings could be postponed following provisional, even irreversible, government
         action. This presumption changed in 1970 with the decision in Goldberg v. Kelly, a case arising out of a
         state-administered welfare program. The Court found that before a state terminates a welfare
         recipient's benefits, the state must provide a full hearing before a hearing officer, finding that the Due
         Process Clause required such a hearing.



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      • unfair practice • Appeal as of Right • Race and color • National origin

      • the guarantee to due process • equal protection • the right to legal counsel • the right

to confront witnesses • the right to a jury trial

      • The clause also promises that before depriving a citizen of life, liberty or property,

government must follow fair procedures.
      •Citizens may also be entitled to have the government observe or offer fair procedures,

whether or not those procedures have been provided for lawfully on the basis of which it’s acting.

       • Action denying the process that is “due” would be unconstitutional.

       • "Malice" "maliciously" shall import an evil intent, wish, or design to vex, annoy, or injure

another person.

        • "Omission" means a failure to act.



      RCW 49.60.400 Discrimination, preferential treatment prohibited.

      RCW 49.60.405 It is not an unfair practice when a distinction or differential treatment on the

basis of citizenship or immigration status is authorized by federal or state law, regulation, rule, or

government contract.




             While there is no definitive list of the "required procedures" that due process requires, Judge Henry
         Friendly generated a list that remains highly influential, as to both content and relative priority:
             An unbiased tribunal.
             Notice of the proposed action and the grounds asserted for it.
             Opportunity to present reasons why the proposed action should not be taken.
             The right to present evidence, including the right to call witnesses.
             The right to know opposing evidence.
             The right to cross-examine adverse witnesses.
             A decision based exclusively on the evidence presented.
             Opportunity to be represented by counsel.
             Requirement that the tribunal prepare a record of the evidence presented.
             Requirement that the tribunal prepare written findings of fact and reasons for its decision.
             This is not a list of procedures which are required to prove due process, but rather a list of the kinds of
         procedures that might be claimed in a "due process" argument, roughly in order of their perceived importance.
             Malice may be inferred from an act done in willful disregard of the rights of another, or an act wrongfully
         done without just cause or excuse, or an act or omission of duty. Betraying a willful disregard of social duty.




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  For the first time there was a response from city attorney was to dismiss my appeal,

facing all the unchangeable facts, they manipulated and neglected the unjust and crimes.

They never had done anything valuable to the duties. To an abuser and criminal, they hid

evidence held up away from records, covered him up, watched him abusing me. When it

comes to the abscond, they proposed a charge so that becoming a well-reasoned act. To

someone seeking for justice, abuse, abuse, abuse and still abuse.

   Judges don't know how to deserve themselves that title, when prosecutors are unlawful,

they are the strongest supports to n them. As rule makers, they didn't follow any rules but

forced me to accept their unlawful orders otherwise in jail. They don't care about justice,

who is criminal or human rights, otherwise in the opposite.

    In the name of law and rules, their threats have a nicer and powerful shall called orders

by "finding good reasons." I wonder when they will find for themselves. Language barriers

are their method to stigmatize me of incompetency. Their malicious attacks of language

level of discriminations are the strategy to delay the final decision so that there's no appeal.

    I really doubt what is so different, why so abusive. Not to mention about misconducts

unlawfulness or discriminations, they had let free a criminal. How can they act like the

reverse? How can they knowingly do? How can they sleep with that? How inhuman to

abuse the being abused?



VI. Name/Title of Person(s) Responsible:

Police Officer: Abshir Hussein, Sean Lane, Akiyama Emily J, Gorge Corey L

City Attorney: Zavidow Grace E, Jane Doe,
Seattle Municipal Court Judges: Honorable Catherine McDowall, Honorable Adam Eisenberg

Seattle Municipal Court Magistrates: Honorable Jerome Roaché

     Detail of evets:
   Police Officer Abshir Hussein: 1. False Report. 2. Collusions 3. Tort

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  On 01/26/2021, police report from officer Abshir. He falsely reported claimed that I attempted to

reach out Miguel Rivera by calling the lease office, he stated “He (Miguel Rivera) was tearing and

acting scared.” During the arrest he claimed that he had personally seen the records from the court

of me having (or had read) the Chinese language translation of the order. This wasn’t on the police

report. Officer also “stole” a part of my room key.



   Police Officer Akiyama Emily J, Gorge Corey L: 1. Not fair procedure – neglection of report

for (criminal) broke-in/trespass. 2. Unlawful service of order. 3. Officers trespassed my residence.

  On 01/23/2021 Based on police report, according to my declarations I had pointed out that the

temporary protection order was never valid. After MR broke into my room with threats, I called 911,

MR left, then I went to the bathroom crying. According to the below room structure drawing, as

the fact that it was impossible for me to open room door for officers. The order should never be

considered as valid for the fact that the two officers trespassed into my (living)room without my

permission. The serve was unlawful, they did not explain anything on the order or interpret the

order as I am from a foreign nation. I was even not told or received any warning that it was not

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allowed for me to stay in the room, or the address was protected. Mostly importantly, from the

photo of the order I received, there was no request for a protected residence/address.




     Police Officer Sean Lane, JOSHUA LOBERG #8744 (Backing Officer)
“Rivera explained to me that he required our presence to take court ordered photos of the interior

of the aforementioned address.” “The protected party in the temporary protection order, Dinghui

Dang, was not present” “Rivera was taking a video while exclaiming this, and did not wish to report
any of it to police, claiming that it would be handled in court.”

1. Officers didn’t verify the exiting of the “order”.

2. Miguel Rivera was not allowed to have a civil standby without me at present. And Officers should

not let him in my room in the first place.

3. Miguel Rivera falsely reported missing items.

4. Things I found out missing by the next day:

A. My city citizen ID card. B. My degree documents, C. 800 US dollars cash. D. Two signed

documents of declarations from Yanmei and Hongyuan Lai. And the related supportive papers.

      Supportive laws

      Fourth Amendment to the United States Constitution RCW 9A.76.175 Chapter 10.79 RCW

Chapter 9A.52 RCW, RCW 59.18.370 RCW 10.99.030, Chapter 2.42& 2.43 RCW, RCW 43.43.030



     City Attorney: Zavidow Grace E
The prosecutor dismissed one charge because my intent was verified not to reach out to Miguel
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Rivera. Though he claimed met me in person, I was trying to assault him in the apartment lobby.

Which turned out false and perjuries, where is the outcome of MR’s perjuries, false reporting

manipulation? Further, based on the Police Report 20-324971 I was kicked out into the shelter

(Exhibition Hall), though I never went to him. Is there any reason/intent for me to reach out to him

since his abuse had gone into an unbelievable level?

  As the fact that I was (in short) abused by him. All of his litigations are abusive false malicious and

unlawful. The filed documents had listed how he abused me. Additionally, I even enumerated his

historical domestic abuse to his priors, I gathered proofs of his crimes. Regarding to RCW, the first

basic of any crime is the intent. To be objective and logical, how abusive I needed to be to abuse

MR as a total foreigner? (Nothing, nobody, never studied law related…) How vulnerable he needed

to be so that he was being abused in his country, around his people, his fields for the longest…?

  Though the prosecutor did not stop her abusive/malicious charges, she charged me for

violations stated as I hacked MR’s social media accounts, then I got his friends’ address. During the

time MR went to Florida to attend a “funnel”, (I believe it’s a lie) I sent /served divorce paper to the

address. It again proofed the prosecutor never verified anything from MR as well as her malicious

abusive discretionary litigations. Because before her charges, “predictably” I filed the proofs to both

Seattle Municipal Court and King County Superior Court with the certificate/proof of service. As the

filed fact, the divorce notice was being served by email to his attorney Mr. Timothy A. Lechner. It

was the notice of appeal being sent/served to the address according to the previous declarations.

For additional, as another obvious proof of perjury, Ildiko Baldwin was not honest about her

address on her declaration. It was noticed by the FedEx operator, he found out it was not a match

to the address and postcode. Who does not remember her own address for years?

  No matter to the above facts, and everything from MR, From the beginning of the case which

were enough to dismiss the charges regarding to RCW. For every charge, I have collected sufficient

evidence for my innocent and MR’s crimes. There was not one open eye willing to see those facts,

no one was fair. I was never provided with any reply, response, notice, or anything related.

  Prosecutor, even just only in this small part, from what officer affirmed that Miguel Rivera

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complained he met me in person, claimed I was trying to assault him in the lobby of the apartment.

Even if besides the facts he detained my properties, lied to the court, even stated “this time officer

Abshir made sure it says violation on the report.” on the protection order hearing. What is the

standard and where are the so called “rules” and “laws ”? Where are the immunities from? What is

the logic or standard of your prosecutions?



    Seattle Municipal Court Magistrates: Honorable Jerome Roaché

Seattle Municipal Court Judges: Honorable Catherine McDowall, Honorable Adam Eisenberg

    On 6/30 hearing, around the same time section of the hearing on 6/28. both judges denied

my motions, claimed those as non-relevant with the same sentence. Both of them asked me the

same questions at similar time section on two different hearings:

    1. Is it necessary for me to have an interpreter?

    2. If so, how come the documents I filed were in English

It seems they were following the same agenda, otherwise too incidental. How about decisions?

     I then asked for reasons why dismissed and not relevant, emphasized pointed out crimes

verified on my brief. I also asked what their reactions to crimes are, what if the prosecutor is

abusing her power.

     The judge stated what I filed were “facts”, which should be exhibited to the jury instead of the

court, she stated that’s how much the court can answer. The judge stated the city will be in charge

of crimes, she did not response to the second situation. Then she warned me of potential penalties

to be a pro-se, stated the public defender make right decisions. Who turned me into mute, never

voiced any facts for the case.

     I asked again for their reasons to dismiss. I stated the court had gone into the opposite

direction, I never abused Miguel Rivera, but he did. I asked why the prosecutor had been holding

up my proofs away from the court. Why there is no penalty or cost for Miguel Rivera’s countless

crimes. Even the order itself was not valid because the police officers trespassed into my room to

serve me……

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      The judge focused on how to frame me of incompetence. She had a short pause with the

service but ignored. She told me only after the final decision, I have the chance to appeal, like for

hers. Later she asked for the prosecutor’s charges. While she asked me to stay quiet because my

attorney will “represent” me. It was really such a blasphemy to justice, especially the prosecutor

cracked her fingers then proposed two absolute malicious and false charges.

     The prosecutor turned out to be more abusive/malicious, she charged me for violations

stated as I hacked MR’s social media accounts, then I got his friends’ address information. When

he’s in Florida for a “funnel”, (I believe it’s a lie) I sent/served divorce paper to his friend’s address.

Ironically, I had filed proofs to both courts previously before hearing. While exposed for sure they

didn’t review my motion. Since from her statements the attorneys always make right prosecutions,

what is her function to the court? It was so obvious that they had been following a prepared

instruction, what’s the point of hearing?
      Further, Miguel Rivera’s friend Ildiko Baldwin, wasn’t even honest about her address on her

declaration. It was the FedEx operator, he found errors to match the address with the postcode.

Why did not she remember her own address? While it was the notice of appeal being sent/served

to the address, the certificate/proof of service was filed to both Seattle Municipal Court and King

County Superior Court. The divorce notice was being sent to his attorney Mr. Timothy A. Lechner

through E-mail. It was Miguel Rivera’s perjury, the best sample of him being good at making big

lies out of small non-relevant facts. It was also malicious charges that she never verified

authenticities but kept abusing. Kept abusing and abusing her discretionary power. So, I filed

motions, tried to seek just. I never thought even the judges were the same.

       Shamelessly the judges had no review on my motions, but decided to put me in custody, like

some prosecutor’s follower. It was really such a blasphemy to justice. The rest procedure was so

quick like they have “rehearsed”. It was the only moment the public defender volunteer on

something. He participated in the order for evaluation. Which I did not know about, the public

defender explained to me that the court may dismiss the case depends on the result of evaluation.

Until I got out experienced another turn of torture in custody, I got the meaning of that order.

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     On the surface the court skillfully ordered evaluation for competency. The real purpose was

to stealthily visualize me to be incompetency. As a smart strategy, the most sneaky and nasty

part is no matter what competency, the result will either be I’m “crazy” or guilty. While they

delayed the day of “final decision” into November from August. They designed such best plans
and speeches to higher courts: “He appeared to be “crazy” so that the evaluation is in pending,

meanwhile there’s no ‘final decision’.”

    Table of context of the filed motions




       Abusive litigation
     From how he used to abuse me to how he used to abuse his priors, there are copies of his DV

records, there are declarations, there are conversation histories. From the unlawful service. From

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the first day in this country to where I am, I had summarized his patterns since last year, which

predicted his continuing behaviors. From perjuries to bigamies, I provided proofs, listed every one

of his crimes. I collected the (court) records from 2002 to 2018, among many cities in states of PA,

FL, NY, CA… I exhibited how his perjuries looked like on courts………

      I don’t know how much time and how many tears constituted, how many damages there

were. What’s fair and unfair, whatever simply turned in one word “non-relevant” to Seattle

Municipal Court.




  Appeal
        After I served the city with the motion to appeal, I finally received the first but only

response for all the time and cases. Sure, the city filed motion to dismiss. Then I replied as




        I was released on 7/6/2021 around 9-9:30 am, in custody since 6/30/2021 for appearing in

person to quash warrant in Seattle Municipal Court Room 902 around 11:30 am. Which caused the

failure of appearance for the previous(dismissal) hearing on 7/6/2021. Though I tried to call and

left messages to King County Superior Court around 10 am. and 12:30 pm. I left message to the

Municipal Court and City Attorney’s office as well. There was no response from neither the Superior

Court or Municipal Court and City Attorney. I pleaded my rights to be informed but until now

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nothing in return. I filed affidavit to both courts, part as




     Later I thought it was a hope when the county attorney responded and asked for details.

Which turned out to be another hurt when she played the game of kicking balls stated they can

only take actions when receive reports from the law enforcement, which they do not have. I guess

2021-082422 and 2021-183800 were fake.

I can never figure out why, but I know how ridiculous and how desperate. Why me?

    Statements
      Pursuant to related codes, I have the right to refuse order to valuation especially when it’s

malicious in bad intents. (Section A) To reply to my requests for responses or lawful procedure to

the motions. The Judge debarbed that, did not address any reason but stated as “If you don't go to

the evaluation, then the court will more than likely to put you in custody.” I requested for three

times, replaced with three times of neglection. He forced me to accept their UNLAWFUL Orders,

kept pushing me to pick a time to the malicious order. He stated as “The court could grant

warrants if you refused.”

      I stated as “The order itself was disqualified, and I have the right to choose. The court again

didn’t proceed anything lawful; the court is not following the law but how come you are asking

(pushing) me to be a certain way?” He debarbed what I questioned again and passed on to

exert/abuse his power. “I'm going to ask this for one last time. What time? Nine o'clock or one

thirty?” His authorities evidently turned to THREATS. My response was “I don't want to have this,

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I'm not willing to let me…” The judge interrupted me, “I've heard for times that you're not going to

cooperate and chose the evaluation time. So, I'll hear from the counsel.”

    During the judge specially brought up the affidavit of disqualification of judge. I was not left

with any time or a chance in the rest part. To retrospect the previous hearings, all the hearings are

in exactly the same way. I could have been put in custody for no reason again.

    Seattle Municipal Court has been engaged in criminal enterprise, seemed like they are

fighting crimes as though out of nature that I do not deserve a right. I have really widened my

sight, firstly comprehend and been taken with these unexcepted discriminations, how outrageous

and far away from justice a court can be. Even if you accomplished yourself to turn the facts upside

down, Miguel Rivera won’t be changed. What you had done are always intolerable to the law. The

energy and time you had spent on are always by no means retrievable. One more second you stick

to you arrogancy thinking of being a wiseacre, one bigger possibility to meet another tragedy.
        "Threat" means to communicate, directly or indirectly the intent:
        (a) To cause bodily injury in the future to the person threatened or to any other person; or
        (b) To cause physical damage to the property of a person other than the actor; or
        (c) To subject the person threatened or any other person to physical confinement or restraint; or
        (d) To accuse any person of a crime or cause criminal charges to be instituted against any person; or
        (e) To expose a secret or publicize an asserted fact, whether true or false, tending to subject any person to hatred,
        contempt, or ridicule; or
        (f) To reveal any information sought to be concealed by the person threatened; or
        (g) To testify or provide information or withhold testimony or information with respect to another's legal claim or
        defense; or
        (h) To take wrongful action as an official against anyone or anything, or wrongfully withhold official action, or cause
        such action or withholding; or
        (i) To bring about or continue a strike, boycott, or other similar collective action to obtain property which is not
        demanded or received for the benefit of the group which the actor purports to represent; or
        (j) To do any other act which is intended to harm substantially the person threatened or another with respect to his or
        her health, safety, business, financial condition, or personal relationships.




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    As on my motions filed previously pursuant to CrR8.3, I asked Municipal Court again for lawful

procedures. But Pursuant to CrR 8.3 or 4.5 , Seattle Municipal Court again didn’t follow court rules.

Municipal Court hadn’t provided any lawful procedure to (dismiss) my motions, not just for once.

Therefore, I affidavit emphasized “regarding to related rules and codes”. Municipal Court has not

responded the previous mentioned. Municipal Court had never provided reasonable/lawful proof

evidence or supplement for their decisions/orders. Additional misconducts, discriminations, and

supportive rules for judicial review. I have no criminal records. I never have practiced anything

unlawful or abusive, but the court had been in the opposite direction. The criminal had damaged

many lives and mine, one more day in the wild equals to one more day in danger to his

surroundings.

    I can never understand why, what for. What does the prosecutor gain holding up my evidence,

granting malicious charges. It became so utterly preposterous that they appeared righteous about

what they don't even know. The courts have the exact same character, which is sick. I can strongly

feel their rigid solidity in the flow. The position of attorney only effected more on increasing

unfairness and unjust. In the end setting up an order prepared themselves some route, careless

about how nasty it looked like. Why didn't the court evaluate competency at the beginning but

right after I sought for just? Have the court ever been at fault? Why so much defensive as abusive?

Eventually, it turns out obviously they caused greater damages, lost more dignities, appear to be

worse. The days in custody were the worst days. I pleaded temporary release because of my

grandfather's funeral. But what was waiting was a restricted cell, for someone accused what I said

as I needed to attend my funeral. Nobody else's but mine. How vicious! After clarification, I was still

being put in there for lack of room. How generous! They did their best delaying the case, kept

torturing and abusing me.



    Additional discriminations
1. Nation/Language, both two judges proposed the same malicious questions tried to reverse
my right to interpretations.

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2. There’s no fairness humanity or justice. Dismissed motions without reviewing the context.
3. Forcibly ordered the valuation without no reason when the law requires to be voluntary.
4. Threatened otherwise warrants when the law prohibits order and litigation out of such.
5. Forced me with a muted attorney, abusive prosecutors, discriminational disable judges.
6. There’s no humanity to me, there’s no justice but imprisons, there’s no shame but sickness.

    Information regarding the Court.
   The court does not have any reason to FORCIBLY order valuation, the purpose of Municipal

Court isn’t aiming to/doesn’t match to:

   The purpose of this act is to sustainably improve the timeliness of services related to

competency to stand trial by setting performance expectations, establishing new mechanisms for

accountability, and enacting reforms to ensure that forensic resources are expended in an efficient

and clinically appropriate manner without diminishing the quality of competency services, and to

reduce the time defendants with mental illness spend in jail awaiting evaluation and restoration of

competency." [ 2012 c 256 § 1.]

   The purpose of this act is to make technical non-substantive changes to chapters 10.77 and

71.05. No provision of this act shall be construed as a substantive change in the provisions dealing

with persons charged with crimes who are subject to evaluation under chapter 10.77 or 71.05

RCW." [ 1999 c 13 § 1.]

              ARTICLE II. 4 (a) (1) (C) engaging in improper ex-parted communications with parties or counsel for one
         side in a case.
              (2) (B) treating litigants, attorneys, judicial employees, or others in a demonstrably egregious and hostile
         manner; or
              (4) Retaliation. Cognizable misconduct includes retaliating against complainants, witnesses, judicial
         employees, or others for participating in this complaint process, or for reporting or disclosing judicial
         misconduct or disability.
              (5) Interference or Failure to Comply with the Complaint Process.
              ARTICLE II. 4 (b) (1) Allegations Related to the Merits of a Decision or Procedural Ruling.
              (2) Allegations About Delay.
              Rules 4(a) (2), (3), (4) reflect the judiciary’s commitment to maintaining a work environment in which all
         judicial employees are treated with dignity, fairness, and respect, and are free from harassment, discrimination,
         and retaliation.
              Rule 4(a)(5) provides that a judge’s refusal.
              Rule 4(b)(1) tracks the Act, 28 U.S.C. § 352(b)(1)(A)(ii), in excluding from the definition of misconduct
         allegations
              With regard to Rule 4(b)(2), a complaint of delay in a single case is excluded as merits related.



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     A presumption in favor of deciding petitions on their merits furthers both public and private

interests because the mental and physical well-being of individuals as well as public safety may be

implicated by the decision to release an individual and discontinue his or her treatment.

    Unjust-the abandoned rights
    RCW 71.05.217 Findings—Intent—2018 c 201: "The legislature finds that: (1) Washington state

government must be organized to be efficient, cost effective, and responsive to its residents. Right

of action—2016 sp.s. c 29: "This act does not create any new entitlement or cause of action related

to civil commitment under this chapter and cannot form the basis for a private right of action."

[ 2016 sp.s. c 29 § 802.]

    RCW 71.05.010 Legislative intent. (1) The provisions of this chapter apply to persons who are

eighteen years of age or older and are intended by the legislature:
              (a) To protect the health and safety of persons suffering from behavioral health disorders and to protect
         public safety through use of the parents patriae and police powers of the state.
              (b) To prevent inappropriate, indefinite commitment of persons living with behavioral health disorders and
         to eliminate legal disabilities that arise from such commitment.
              (c) To provide prompt evaluation and timely and appropriate treatment of persons with serious behavioral
         health disorders.
              (d) To safeguard individual rights.
              (e) To provide continuity of care for persons with serious disorders.
              (f) To encourage the full use of all existing agencies, professional personnel, and public funds to prevent
         duplication of services and unnecessary expenditures.
              (g) To encourage, whenever appropriate, that services be provided within the community.
(2) When construing the requirements of this chapter the court must focus on the merits of the

petition, except where requirements have been totally disregarded, as provided in In re C.W., 147

Wn.2d 259, 281 (2002).

      RCW 71.05.500 Liability of applicant. Any person making or filing an application alleging that

a person should be involuntarily detained, certified, committed, treated, or evaluated pursuant to

this chapter shall not be rendered civilly or criminally liable where the making and filing of such

application was in good faith.

      RCW 18.88A.090 Competency evaluations. CrR 4.2

      RCW 10.77.010 Definitions.

      (11) "Discharge" means the termination of hospital medical authority. The commitment may

remain in place, be terminated, or be amended by court order.
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      (14) "History of one or more violent acts" means violent acts committed during: (a) The ten-

year period of time prior to the filing of criminal charges; plus (b) the amount of time equal to time

spent during the ten-year period in a mental health facility or in confinement as a result of a

criminal conviction.

      (16) "Incompetency" means a person lacks the capacity to understand the nature of the

proceedings against him or her or to assist in his or her own defense as a result of mental disease

or defect.

       (24) "Violent act" means behavior that:

        (a)(i) Resulted in; (ii) if completed as intended would have resulted in; or (iii) was threatened

to be carried out by a person who had the intent and opportunity to carry out the threat, would

have resulted in, homicide, nonfatal injuries, or substantial damage to property.

        (b) recklessly creates an immediate risk of serious physical injury to another person. As used

in this subsection, "nonfatal injuries" means physical pain or injury, illness, or an impairment of

physical condition. "Nonfatal injuries" shall be construed to be consistent with the definition of

"bodily injury," as defined in RCW 9A.04.110.

    Disobey Court Rules and the Law.
  Every procedure shall be made lawfully and subject to supervision in accordance with the law.

      RCW 10.77.068 (v) The defendant asserts legal rights that result in a delay in the

provision of competency services.
      To be eligible for an order for outpatient competency restoration, a defendant must be

clinically appropriate and be willing to.

No reason to believe that the defendant may have a developmental disability.
Information regarding why it is believed the defendant may have a developmental disability may

be added here:

1. The defendant receives Developmental Disability Administration Services.

2. The defendant received special education services specifically for a developmental disability.

      (2) The department shall:
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       (a) Develop, document, and implement procedures to monitor the clinical status of

defendants admitted to a state hospital for competency services that allow the state hospital to

accomplish early discharge for defendants for whom clinical objectives have been achieved or may

be achieved before expiration of the commitment period.

       (b) Investigate the extent to which patients admitted to a state hospital under this chapter

overstay time periods authorized by law and take reasonable steps to limit the time of commitment

to authorized periods; and

       (c) Establish written standards for the productivity of forensic evaluators and utilize these

standards to internally review the performance of forensic evaluators.

     Malicious intents
      (a) Types. A defendant may plead not guilty, not guilty by reason of insanity, or guilty.

      (c) Pleading Insanity. Written notice of an intention to rely on the insanity defense, and/or a

claim of present incompetency to stand trial, must be filed at the time of arraignment or within 10

days thereafter, or at such later time as the court may for good cause permit. All procedures

concerning the defense of insanity or the competence of the defendant to stand trial are governed

by RCW 10.77.

       (d) Voluntariness. The court shall not accept a plea of guilty, without first determining that it

is made voluntarily, competently and with an understanding of the nature of the charge and the

consequences of the plea. The court shall not enter a judgment upon a plea of guilty unless it is

satisfied that there is a factual basis for the plea.

       (g) Written Statement. A written statement of the defendant in substantially the form set

forth below shall be filed on a plea of guilty 31 U.S. Code § 3730 - Civil actions for false claims.

       (4) The report must be in a form that is accessible to the public and that breaks down

performance by county.

       RCW 10.77.230 Appellate review. Either party may seek appellate
review of the judgment of any hearing held disqualification pursuant to

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the provisions of this chapter.
        (5) This section does not create any new entitlement or cause of
action related to the timeliness of competency evaluations or admission
for inpatient restoration services related to competency to proceed or
stand trial, nor can it form the basis for contempt sanctions under
chapter 7.21 RCW or a motion to dismiss charges.
      RCW 7.21.010 Definitions.

      (2) "Punitive sanction" means a sanction imposed to punish a past contempt of court for the

purpose of upholding the authority of the court.

      (3) "Remedial sanction" means a sanction imposed for the purpose of coercing performance

when the contempt consists of the omission or refusal to perform an act that is yet in the person's

power to perform.

      RCW 49.60.250 Hearing of complaint by administrative law judge—Limitation of relief—

Penalties—Order—Arbitration.

      RCW 49.60.220 Unfair practice to aid violation.

      RCW 34.05.570 (1) (d) The court shall grant relief…has been substantially prejudiced.

      (2) (b) (ii) (C) In a proceeding involving review of a rule, the court shall declare the rule invalid

only if it finds that: The rule violates constitutional provisions; the rule exceeds the statutory

authority of the agency; the rule was adopted without compliance with statutory rule-making

procedures or the rule is arbitrary and capricious.

      (3) (a) (c) (d) (e) (f) (g) (h) (i)

    Damages
      There are sufficient paths for the court to lawfully enter the termination of the unnecessary

wasteful evaluation, as the order maker it's easy for them to create excuses to incriminate anyone

so that they kept dismissing and ordering. When they are out to condemn, it is too convenient for


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them to trump up charges. As fact, misconducts are inevitable from a probabilistic point of view

why should they desire to repeat? The more they chose to against the facts and law the more of

unlawful actions they need to practice; the further they walk on the false path, the harder to return.

As a Municipal Court, they should know better about criminal, but when it comes to themselves, it

seems like the worst model. Seattle Municipal Court has no legal authorities to dismiss motions.

The comments of “Will address on the next hearing” are Materially false statements/replies.
      I had been requesting and asking the court to see facts and to be lawful, but the court had

been avoiding those. Who/what is Municipal and who/what is criminal? Is it because my justice is a

“crap”, as long as I’m not dead I’m not damaged to crazy so that no rights, no just, nothing lawful?

There are too many times I’ve claimed otherwise shameless illegal and inhuman, as how they are,

the court always know how to be. Then why not rename as Seattle Criminal Court?

Repeat on misconducts
      As the fact that the comparison shows considerable disagreement between rules/laws and

practice, there are good reasons to consider unlawful procedures as invalid. Which doesn’t make

legal effect for the court’s orders or decisions. Illegal/unlawful procedure/order previously made is

not deemed to eligible for law enforcement but shall be considered as intentional misconducts,

mistreats, discriminations, contempt of court rules, laws, canons, roles, duties.

Laws and rules are not shields or weapons, but equal to everyone.
    Related Records
Superior Court: 20-2-18129-3, 20-2-16996-0, 21-2-00897-2.

Seattle Municipal Court: 658510, 658597, 658179.

Police Reports: 2021-082422, 2021-183800, 2020-348008, 2020-324971, 2020-323263.

                  2020-348546, 2021-023990, 2021-016844, 2021-013432.
         1. Has respondent established any basis/intent for their criminal chargers?
         2. Has respondent replied to the statement of “invalidity of order” because of trespass and unlawful service?
         3. Has respondent answered why the evidence was on hold not to the records?
         4. Has respondent answered why there is no penalty of perjuries, false reporting, and collusions to the
         dismissed charge 658510?
         5. Has respondent replied to the statement of Abusive Litigations verified with historical DV records from
         FL and PA, supportive declaration, conversations with his prior and husband, my conversations with his priors

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 and husband, history of him abusing me?
 6. Has respondent answered why there is no penalties for Miguel Rivera’s trespass, thefts, identity thefts,
 detains, bigamies, frauds, marriage fraud, DVPO violations, harassments, defamations, perjuries, forgeries,
 assaults, intent to transfer STD, domestic violence?
 7. Has the respondent answered why/who authorized Miguel Rivera with immunity?
 8. Has respondent provided lawful procedure to dismiss the motions?
 9. Has respondent responded to prosecutors’ misconducts? (Exhibited in the context part) Page 1 of 34
 10. Has respondent responded to judges’ misconducts? (Exhibited in the context)
 11. Why the brief I filed to the appeal of the trial court in person was not on the docket list? Did the appeal
 of the trial court receive and review?
 12. Why didn’t the appeal of the trial court reply to my declaration of seeking informs and instructions, but
 skipped to dismiss?
 13. Why the appeal of the trial court did not provide any responses, or anything related until the next day
 after I filed motions of prejudice, to dismiss and to seek lawful procedures the appeal of the trial court
 dismissed the appeal? Timing? Then the city replied to motion to discretionary review on the next day.



         Who subjected to the same or similar treatment: Court
                     Rules and other supports
        Rule 37. Failure to Make Disclosures or to Cooperate in Discovery, Sanctions
        At the preliminary hearing, the judge determines whether enough evidence exists for the prosecution to
  meet its burden of persuasion. The burden of persuasion refers to whether the prosecution even has enough
  evidence to make the defendant stand trial. The defense has the right to cross examine the government
  witnesses during this proceeding.
        Pre-Trial Hearing
        A pre-trial hearing is the next step in the process. The prosecution and the defense team use the pre-trial
  to file motions before a judge. These motions usually concern whether the court should suppress certain
  evidence, whether certain individuals can testify, or whether the judge should dismiss all charges for lack of
  evidence.
        "There is lacking that equality demanded by the Fourteenth Amendment where the rich man, who appeals
  as of right, enjoys the benefit of counsel's examination into the record, research of the law, and marshalling of
  arguments on his behalf, while the indigent, already burdened by a preliminary determination that his case is
  without merit, is forced to shift for himself." Id., at 357-358.
        Even the plurality in Griffin v. Illinois, 351 U.S. 12, 18 -19 (1956), simply held that the Due Process and Equal
  Protection Clauses protect indigents from "invidious discriminations" on appeal and that such persons "must be
  afforded as adequate appellate review as defendants who have money enough to buy transcripts." Moreover,
  Justice Frankfurter, whose concurrence was necessary to the decision, viewed the decision as a matter of equal
  protection. Id., at 21-22.
        In DeShaney v. Winnebago County Social Services Department that as a general matter, a State’s failure to
  protect an individual against private violence simply does not constitute a violation of the Due Process Clause.
  Before there can be state involvement creating an affirmative duty to protect an individual, the Court explained,
  the state must have taken a person into its custody and held him there against his will so as to restrict his
  freedom to act on his own behalf. Thus, although the Court had recognized due process violations for failure
  to provide adequate medical care to incarcerated prisoners, and for failure to ensure reasonable safety for
  involuntarily committed mental patients, no such affirmative duty arose from the failure of social services
  agents to protect an abused child from further abuse from his parent. Even though possible abuse had been
  reported to the agency and confirmed and monitored by the agency, and the agency had done nothing to
  protect the child, the Court emphasized that the actual injury was inflicted by the parent and did not occur
  while the child was in the State’s custody.(489 U.S. at 201) Although the state may have incurred liability in tort
  through the negligence of its social workers, [not] every tort committed by a state actor is a constitutional
  violation. (489 U.S. at 202) It is well to remember . . . that the harm was inflicted not by the State of Wisconsin,
  but by the child’s father. (489 U.S. at 201)
        Judicial inquiry into the existence of state action may lead to different results depending on what remedy is
 Sought to be enforced. While cases may be brought against a private actor to compel him to halt his discriminatory


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 action, one could just as readily bring suit against the government to compel it to cease aiding the private
 actor in his discriminatory conduct. Enforcing the latter remedy might well avoid constitutional issues that an
 order directed to the private party would raise. In either case, however, it must be determined whether the
 governmental involvement is sufficient to give rise to a constitutional remedy. In a suit against the private party,
 it must be determined whether he is so involved with the government as to be subject to constitutional
 restraints, while in a suit against the government agency it must be determined whether the government’s
 action impermissibly fostered the private conduct.
      Receivership, 208 U.S. 90 (1908), and consideration by the Court of cases in which the Solicitor General
 confesses error below. Cf. Young v. United States, 315 U.S. 257, 258–259 (1942); Casey v. United States, 343 U.S.
 808 (1952); Rosengart v. Laird, 404 U.S. 908 (1972) (Justice White dissenting). See also Sibron v. New York, 392
 U.S. 40, 58–59 (1968).
      "Material element of an offense" means an element that does not relate exclusively to the statute of
 limitations, jurisdiction or to any other matter similarly unconnected with: (a) the harm or evil, incident to
 conduct, sought to be prevented by the law defining the offense, or (b) the existence of a justification or
 excuse for such conduct.
      For a substantial portion of this nation’s history, the doctrine of sovereign immunity barred citizens injured
 by the torts of a federal officer or employee from initiating or prosecuting a lawsuit against the United States.
 Figley, Ethical Intersections, supra note 5, at 348–49 (explaining that, “for a century and a half, . . . the United
 (States’ sovereign immunity . . . protected it from suit” against “citizens injured by the torts of federal
 employees”). Until 1946, “the only practical recourse for citizens injured by the torts of federal employees was
 to ask Congress to enact private legislation affording them relief” (Id. at 348. See also Axelrad, supra note 2, at
 1332 (“Until the [FTCA] was enacted in 1946, no general remedy existed for torts committed by federal agency
 employees.”). through “private bills.”
      The FTCA authorizes plaintiffs to bring civil lawsuits
      1. against the United States.
      2. for money damages.
      3. for injury to or loss of property, or personal injury or death.
      4. caused by a federal employee’s (See infra “Employees and Independent Contractors.”) negligent or
 wrongful act or omission.
      5. while acting within the scope of his office or employment.
      6. under circumstances where the United States, if a private person, would be liable to the plaintiff in
 accordance with the law of the place where the act or omission occurred. (Meyer, 510 U.S. at 477 (quoting 28
 U.S.C. § 1346(b)).
      Thus, not only does the FTCA “free Congress from the burden of passing on petitions for private relief”
 (Pfander & Aggarwal, supra note 33, at 424. See also, e.g., Gray v. Bell, 712 F.2d 490, 506 (D.C. Cir. 1983)
 (noting that Congress enacted the FTCA “in the interest of providing a more efficient means of compensation”
 than “securing recompense by private bill”).) by “transfer[ring] responsibility for deciding disputed tort claims
 from Congress to the courts,” (49 Figley, Ethical Intersections, supra note 5, at 347. See also Hershkoff, supra
 note 40, at 196 (explaining that the FTCA “by design shifted responsibility for disputes about government
 negligence from Congress to the Article III courts”).) it also creates a mechanism to compensate victims of
 governmental wrongdoing.
      In addition to this compensatory purpose, the FTCA also aims to “deter tortious conduct by federal
 personnel” by rendering the United States liable for the torts of its agents, thereby incentivizing the
 government to carefully supervise its employees. (Loamiest v. United States, 828 F.3d 935, 941 (D.C. Cir. 2016).)




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      The FTCA does not itself create a new federal cause of action against the United States; rather, the FTCA
 waives the United States’ sovereign immunity from certain types of claims that exist under state tort law. (E.g.,
 Pornomo v. United States, 814 F.3d 681, 687 (4th Cir. 2016) (“The FTCA does not create a new cause of action;
 rather, it permits the United States to be held liable in tort by providing a limited waiver of sovereign
 immunity.”); Raplee v. United States, 842 F.3d 328, 331 (4th Cir. 2016) (explaining that “the FTCA merely waives
 sovereign immunity to make the United States amenable to a state tort suit”); Hornbeck Offshore Transp., LLC v.
 United States, 569 F.3d 506, 508 (D.C. Cir. 2009) (“This statutory text does not create a cause of action against
 the United States; it allows the United States to be liable if a private party would be liable under similar
 circumstances in the relevant jurisdiction.”).) Thus, in most respects, “the substantive law of the state where the
 tort occurred determines the liability of the United States” in an FTCA case. (53 Raplee, 842 F.3d at 331. See
 also, e.g., 28 U.S.C. § 1346(b)(1) (providing that the United States may be liable to the plaintiff in tort under the
 FTCA “if a private person[] would be liable to the claimant in accordance with the law of the place where the
 act or omission occurred”); Garling v. EPA, 849 F.3d 1289, 1294 (10th Cir. 2017) (“State substantive law applies
 to suits brought against the United States under the FTCA.” (quoting Hill v. SmithKline Beecham Corp., 393 F.3d
 1111, 1117 (10th Cir. 2004))). Because “state law operates in the FTCA not of its own force, but by
 congressional incorporation[,] Several commentators have cited the FTCA as a relatively unusual example of
 state law that operates in the federal system by congressional choice.” Rosky, supra note 44, at 957.) In this
 way, the FTCA largely “renders the Government liable in tort as a private individual would be under like
 circumstances.” (Richards v. United States, 369 U.S. 1, 6 (1962). See also, e.g., 28 U.S.C. § 2674 (“The United
 States shall be liable, respecting the provisions of this title relating to tort claims, in the same manner and to
 the same extent as a private individual under like circumstances.”).
      “[A] contractor can be said to be an employee or agent of the United States within the intendment of the
 [FTCA] only where the Government has the power under the contract to supervise a contractor’s day-to-day
 operations and to control the detailed physical performance of the contractor.”
      Section 2680 of the FTCA establishes the following exceptions preventing private litigants from pursuing
 the following categories of claims against the United States:
      “Any claim based upon an act or omission of an employee of the Government, exercising due care, in the
 execution of a statute or regulation . . . or based upon the exercise or performance or the failure to exercise or
 perform a discretionary function or duty”; See 28 U.S.C. § 2680(a). See also infra “The Discretionary Function
 Exception.”
      “Any claim arising out of the loss, miscarriage, or negligent transmission of letters or postal matter”; 28
 U.S.C. § 2680(b). See also, e.g., Dolan v. USPS, 546 U.S. 481, 483–92 (2006) (analyzing the scope of Section
 2680(b)).
      • certain claims arising from the actions of law enforcement officers administering customs and excise laws;
 See 28 U.S.C. § 2680(c) (providing that, with four specified exceptions, the FTCA does not authorize claims
 “arising in respect of the assessment or collection of any tax or customs duty, or the detention of any goods,
 merchandise, or other property by any officer of customs or excise or any other law enforcement officer”). See
 also, e.g., Ali v. Fed. Bureau of Prisons, 552 U.S. 214, 215–28 (2008) (interpreting Section 2680(c)); DaVinci
 Aircraft, Inc. v. United States, 926 F.3d 1117, 1123–26 (9th Cir.), cert. denied, 2019 WL 5301048 (Oct. 21, 2019)
 (applying Section See 28 U.S.C. § 2680(a). See also infra “The Discretionary Function Exception.” “Admiralty” is
 defined as “the rules governing contract, tort, and workers’-compensation claims arising out of commerce on
 or over navigable water.” Admiralty, BLACK’S LAW DICTIONARY (10th ed. 2014).
      • admiralty claims against the United States for which federal law provides an alternative remedy See 28
 U.S.C. § 2680(d) (providing that the FTCA does not apply to “Any claim for which a remedy is provided by
 chapter 309 or 311 of title 46 relating to claims or suits in admiralty against the United States”).
      • claims “arising out of an act or omission of any employee of the Government in administering” 28 U.S.C. §
 2680(e). Among other things, the Trading with the Enemy Act “affords the President broad powers to regulate,
 license, and prohibit trade with foreign nations.” Odebrecht Constr., Inc. v. Sec’y, Fla. Dep’t of Transp., 715 F.3d
 1268, 1275 (11th Cir. 2013). See generally 50 U.S.C. §§ 4301–41.
      • certain provisions of the Trading with the Enemy Act of 1917; 28 U.S.C. § 2680(f).
      • “Any claim for damages caused by the imposition or establishment of a quarantine by the United States”
 See id. § 2680(h). See also infra “The Intentional Tort Exception.”
      • certain claims predicated upon intentional torts committed by federal employees; 28 U.S.C. § 2680(i).
      • “Any claim for damages caused by the fiscal operations of the Treasury or by the regulation of the
 monetary system” Id. § 2680(j). See also infra “The Combatant Activities Exception.”


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       • “Any claim arising out of the combatant activities of the military or naval forces, or the Coast Guard,
 during time of war”; 28 U.S.C. § 2680(k). See also infra “The Foreign Country Exception.”
       • “Any claim arising in a foreign country”; 28 U.S.C. § 2680(l). See also Thacker v. Tenn. Valley Auth., 139 S.
 Ct. 1435, 1441 (2019) (“Congress made a considered decision not to apply the FTCA to the [Tennessee Valley
 Authority].”) (emphasis omitted).
       • “Any claim arising from the activities of the Tennessee Valley Authority”; 28 U.S.C. § 2680(m). The Panama
 Canal Treaty of 1977 replaced the Panama Canal Company with the Panama Canal Commission. E.g., Black v.
 Office of Pers. Mgmt., 641 F. App’x 1007, 1008 (Fed. Cir. 2016).
       • “Any claim arising from the activities of the Panama Canal Company”; or28 U.S.C. § 2680(n).
       • “Any claim arising from the activities of a Federal land bank, a Federal intermediate credit bank, or a bank
 for cooperatives.” 156 See, e.g., DaVinci Aircraft, Inc. v. United States, 926 F.3d 1117, 1123 (9th Cir.), cert.
 denied, 2019 WL 5301048 (Oct. 21, 2019).
       RCW 4.24.470
       Liability of officials and members of governing body of public agency—Definitions.
       (1) An appointed or elected official or member of the governing body of a public agency is immune from
 civil liability for damages for any discretionary decision or failure to make a discretionary decision within his or
 her official capacity, but liability shall remain on the public agency for the tortious conduct of its officials or
 members of the governing body.
       RCW 4.96.010
       Tortious conduct of local governmental entities—Liability for damages.
       (1) All local governmental entities, whether acting in a governmental or proprietary capacity, shall be liable
 for damages arising out of their tortious conduct, or the tortious conduct of their past or present officers,
 employees, or volunteers while performing or in good faith purporting to perform their official duties, to the
 same extent as if they were a private person or corporation. Filing a claim for damages within the time allowed
 by law shall be a condition precedent to the commencement of any action claiming damages. The laws
 specifying the content for such claims shall be liberally construed so that substantial compliance therewith will
 be deemed satisfactory.



                              Additional authorities – SMC Codes
      14.04.185 - Enforcement by private persons.
      A. Any person who claims to have been injured by an unfair employment practice may commence a civil
 action in Superior Court or any other court of competent jurisdiction, not later than three (3) years after the
 occurrence of the alleged unfair employment practice or ninety (90) days after a determination of reasonable
 cause by the Director, whichever occurs last, to obtain appropriate relief with respect to such unfair
 employment practice. In an action brought under this section, the court having jurisdiction may, upon written
 findings by the judge that the action was frivolous and advanced without reasonable cause, require the non-
 prevailing party to pay the prevailing party the reasonable expenses, including attorney’s fees, incurred in
 opposing such action pursuant to RCW 4.84.185.
       C.1.Subject to the provisions of subsection C2, upon the filing of a civil action involving the same claim or
 arising from the same facts and circumstances, whether under this subchapter or similar law, a complaint of an
 unfair employment practice may be administratively closed by the Director.
      2.In the chapter III - Administration and Enforcement 14.04.185 - Enforcement by private persons.
      Subchapter I - General Provisions
      14.04.010 - Short title modified
      This Chapter 14.04 shall constitute the "Seattle Fair Employment Practices Ordinance" and may be
      cited as such. (Ord. 109116 , § 1, 1980.)
      14.04.020 - Declaration of policy
      A. It is declared to be the policy of the City, in the exercise of its police powers for the protection of the
 public health, safety, and general welfare, and for the maintenance of peace and good government, to assure
 equal opportunity to all persons, free from restrictions because of race, color, sex, marital status, sexual
 orientation, gender identity, genetic information, political ideology, age, creed, religion, ancestry, national
 origin, honorably discharged veteran or military status or the presence of any sensory, mental or physical
 disability. The role of the Office for Civil Rights is to enforce the provisions of this chapter in furtherance of this
 policy.


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       D. Nothing in this chapter shall be deemed to deny any person the right to institute any action or to
 pursue any civil or criminal remedy for the violation of such person's civil rights.
       E. To avoid duplication of efforts or otherwise conserve agency resources, the Director may suspend or
 close a case for any reason consistent with this chapter, including the reason that the case is being actively
 pursued in another forum.
       F. Remedies under this chapter should include such relief authorized by law as may be appropriate and
 reasonable to make the aggrieved person whole and eliminate the unfair practice.
       G. Nothing contained in this chapter is intended to be nor shall be construed to create or form the basis
 for any liability on the part of the City, or its officers, employees or agents, for any injury or damage resulting
 from or by reason of any act or omission in connection with the implementation or enforcement of this chapter
 on the part of the City by its officers, employees or agents.
       14.04.030 – Definitions When used in this Chapter 14.04, unless the context otherwise requires:
       "Director" means the Director of the Office for Civil Rights.
       "Disabled" means a person who has a disability.
       "Disability" means the presence of a sensory, mental, or physical impairment that: is medically cognizable
 or diagnosable; exists as a record or history; or is perceived to exist, whether or not it exists in fact.
       A. A disability exists whether it is temporary or permanent, common or uncommon, mitigated or
 unmitigated; whether or not it limits the ability to work generally or work at a particular job; or whether or not
 it limits any other activity within the scope of this Chapter 14.04.
       B. For purposes of this definition, "impairment" includes, but is not limited to:
       1.Any physiological disorder or condition, cosmetic disfigurement, or anatomical loss affecting one or
 more of the following body systems: neurological, musculoskeletal, special sense organs, respiratory (including
 speech organs), cardiovascular, reproductive, digestive, Genito-urinary, hemic and lymphatic, skin, and
 endocrine; or
       2.Any mental, developmental, traumatic, or psychological disorder, including but not limited to cognitive
 limitation, organic brain syndrome, emotional or mental illness, and specific learning disability.
       C. Only for the purposes of qualifying for reasonable accommodation in employment and domestic service,
 an impairment must be known or shown through an interactive process to exist in fact and:1.The impairment
 must have a substantially limiting effect upon the individual's ability to perform that individual's
 job, the individual's ability to apply or be considered for a job, or the individual's access to equal benefits,
 privileges, or terms or conditions of employment; or2.The employee or domestic worker must have put the
 employer or hiring entity on notice of the existence of an impairment, and medical documentation must
 establish a reasonable likelihood that engaging in job functions without an accommodation would aggravate
 the impairment to the extent that it would create a substantially limiting effect.
       D. For purposes of subsection C, a limitation is not substantial if it has only a trivial effect.
       "Discrimination," "discriminate," and/or "discriminatory act" means any act, by itself or as part of a practice,
 which is intended to or results in different treatment or differentiates between or among individuals or groups
 of individuals by reason of race, color, age, sex, marital status, sexual orientation, gender identity, genetic
 information, political ideology, creed, religion, ancestry, national origin, honorably discharged veteran or
 military status, or the presence of any disability "Discrimination," "discriminate," and/or "discriminatory act"
 includes harassment, such as racial and sexual harassment, as well as harassment based on other protected
 classes.
       The term "reasonable accommodation" may include:
       A. Making existing facilities used by employees or domestic workers readily accessible to and usable by
 individuals with disabilities; and
       B. Job restructuring, part-time or modified work schedules, reassignment to a vacant position, acquisition
 or modification of equipment or devices, appropriate adjustment or modifications of examinations, training
 materials or policies, the provision of qualified readers or interpreters, and other similar accommodations for
 individuals with disabilities.
       "Respondent" means any person who is alleged or found to have committed an unfair employment and
 domestic service practice prohibited by this Chapter 14.04.
       "Sexual orientation" means actual or perceived male or female heterosexuality, bisexuality, or
 homosexuality and includes a person's attitudes, preferences, beliefs, and practices pertaining thereto.
       Subchapter III - Administration and Enforcement
       14.04.060 - Powers and duties of Department. Modified


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      A. The Office for Civil Rights shall receive, investigate, and pass upon charges alleging unfair practices as
 defined by this chapter, conciliate and settle the same by agreement, and monitor and enforce any agreements
 or orders resulting therefrom or from a subsequent hearing thereon under and pursuant to the terms of this
 chapter; and shall have such powers and duties in the performance of these functions as are defined in this
 chapter and otherwise necessary and proper in the performance of the same and provided for by law. The
 Department shall further assist the Commission and other City agencies and departments upon request in
 effectuating and promoting the purposes of this chapter.
      B. The Director is authorized and directed to promulgate rules consistent with this chapter and the
 Administrative Code. [2]
      14.04.070 - Powers and duties of Commission.
           The Seattle Human Rights Commission shall study, advise, and make recommendations for legislation
 on policies, procedures, and practices which would further the purposes of this chapter. The Commission shall
 hear appeals from the Director's determinations of no reasonable cause and, in cases involving respondents
 who are City departments, hear appeals from determinations of reasonable cause and the orders relating to
 the remedy therefor. It shall, where appropriate and necessary, in its judgment, hear and determine complaints
 jointly with the Hearing Examiner as provided in Sections 14.04.170 and 14.04.180. The Commission shall have
 such powers and authority in carrying out these functions as are provided for by this chapter or otherwise
 established by law.
      14.04.080 - Charge filing.
      A. A charge alleging an unfair employment practice shall be in writing on a form or in a format determined
 by the Department and signed under oath or affirmation by or on behalf of a charging party before the
 Director, one of the Department's employees, or any other person authorized to administer oaths, and shall
 describe the unfair employment practice complained of and should include a statement of the dates, places
 and circumstances and the persons responsible for such acts and practices.
      B. Whenever charges are made by or on behalf of a person claiming to be aggrieved, the person making
 the charge must provide the Director with the name, address and telephone number of the individual on
 whose behalf the charge is made. Thereafter, the Director shall verify the authorization of such charge by the
 person on whose behalf the charge is made and upon the request of such person may keep his or her identity
 confidential.
      C. A charge shall not be rejected as insufficient because of failure to include all required information so
      long as it substantially satisfies the informational requirements necessary for processing.
      D. A charge alleging an unfair employment practice or pattern of unfair practices may also be filed by the
 Director whenever the Director has reason to believe that any person has been engaged or is engaging in an
 unfair employment practice. (Ord. 118392 § 27, 1996; Ord. 109116 § 7(A), 1980.)
      14.04.100 - Charge—Amendments.
      The charging party or the Department may amend a charge to cure technical defects or omissions; or to
 clarify and amplify allegations made therein; or to add allegations related to or arising out of the subject matter
 set forth, or attempted to be set forth, in the original charge. For jurisdictional purposes, such amendments
 shall relate back to the date the original charge was first filed. The charging party may also amend a charge to
 include allegations of additional unrelated discriminatory acts and/or retaliation which arose after filing of the
 original charge. The amendment must be filed within one hundred eighty (180) days after the occurrence of
 the additional discriminatory act and/or retaliation and prior to the Department's issuance of findings of fact
 and a determination with respect to the original charge. Such amendments may be made at any time during
 the investigation of the original charge so long as the Department will have adequate time to investigate such
 additional allegations and the parties will have adequate time to present the Department with evidence
 concerning such allegations before the issuance of findings of fact and a determination.
      (Ord. 118392 § 29, 1996: Ord. 112903 § 4, 1986: Ord. 109116 § 7(C), 1980.)
      14.04.110 - Charge—Notice and investigation.
      A. The Director shall cause to be served or mailed by certified mail, return receipt requested, a copy of the
 charge on the respondent within twenty (20) days after the filing of the charge and shall promptly make an
 investigation thereof.
      B. The investigation shall be directed to ascertain the facts concerning the unfair practice alleged in the
 charge and shall be conducted in an objective and impartial manner.
      C. During the investigation the Director shall consider any statement of position or evidence with respect
 to the allegations of the charge which the charging party or the respondent wishes to submit. The Director
 shall have authority to sign and issue subpoenas requiring the attendance and testimony of witnesses, the

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 production of evidence including but not limited to books, records, correspondence or documents in the
 possession or under the control of the person subpoenaed, and access to evidence for the purpose of
 examination and copying and conduct discovery procedures which may include the taking of interrogatories
 and oral depositions.
      D. The Director may require a fact-finding conference or participation in another process with the
 respondent and any of respondent's agents and witnesses and charging party during the investigation in order
 to define the issues, determine which elements are undisputed, resolve those issues which can be resolved, and
 afford an opportunity to discuss or negotiate settlement. Parties may have their legal counsel present if desired.
      (Ord. 118392 § 30, 1996; Ord. 109116 § 8, 1980.)
      14.04.120 - Findings of fact and determination of reasonable cause or no reasonable cause.
      A. The results of the investigation shall be reduced to written findings of fact and a determination shall be
 made by the Director that there is or is not reasonable cause for believing that an unfair practice has been or is
 being committed, which determination shall also be in writing and issued with the written findings of fact.
 Where a City department is a respondent, the Director shall issue such findings and determination only after
 having submitted proposed findings and determinations to the respondent and charging party for review and
 comment. With respect to the findings and determination, "issued" shall be defined as signed and dated by the
 Director.
      B. The findings of fact and determination shall be furnished promptly to the respondent and charging
 party.
      C. Once issued to the parties, the Director's findings of fact, determination and order may not be amended
 or withdrawn except upon the agreement of the parties or in response to an order by the Human Rights
 Commission after an appeal taken pursuant to Section 14.04.130 or 14.04.160; provided, that the Director may
 correct clerical mistakes or errors arising from oversight or omission upon a motion from a party or upon the
 Director's own motion.
      (Ord. 118392 § 31, 1996; Ord. 112903 § 5, 1986; Ord. 109116 § 9, 1980.)
      14.04.130 - Determination of no reasonable cause—Appeal from and dismissal.
      If a determination is made that there is no reasonable cause for believing an unfair employment practice
 under this chapter has been committed, the charging party shall have the right to appeal such determination
 to the Commission within 30 days of the date the determination is signed by the Director by filing a written
 statement of appeal with the Commission. The Commission shall promptly deliver a copy of the statement to
 the Department and respondent and shall promptly consider and act upon such appeal by either affirming the
 Director's determination or, if the Commission believes the Director should investigate further, remanding it to
 the Director with a request for specific further investigation. In the event no appeal is taken, or such appeal
 results in affirmance or if the Commission has not decided the appeal within 90 days from the date the appeal
 statement is filed, the determination of the Director shall be final, and the charge deemed dismissed and the
 same shall be entered on the records of the Department.
      (Ord. 123864, § 1, 2012; Ord. 118392 , § 32, 1996; Ord. 109116 , § 10, 1980.)
      14.04.140 - Determination of reasonable cause—Conciliation and settlement of cases involving all
 respondents except City departments.
      A. In all cases except a case in which a City department is the respondent, if a determination is made that
 reasonable cause exists to believe that an unfair practice has occurred, the Director shall endeavor to eliminate
 the unfair practice by conference, conciliation and persuasion. Conditions of settlement may include (but are
 not limited to) the elimination of the unfair employment practice, hiring, reinstatement or upgrading with or
 without back pay, lost benefits, attorney's fees, admittance or restoration to membership in a labor
 organization, admittance to participation in a guidance, apprentice training or retraining program or such
 other action which will effectuate the purposes of this chapter, including action which could be ordered by a
 court, except that damages for humiliation and mental suffering shall not exceed Ten Thousand Dollars
 ($10,000.00). Any settlement agreement shall be reduced to writing and signed by the Director and the
 respondent. An order shall then be entered by the Director setting forth the terms of the agreement. Copies of
 such order shall be delivered to all affected parties.
      B. In case of failure to reach an agreement and of conciliation and upon a written finding to that effect
 furnished to the charging party and respondent, except a case in which a City department is a respondent, the
 Director shall promptly cause to be delivered the entire investigatory file, including the charge and any and all
 findings made, to the City Attorney for further proceedings and hearing under this chapter pursuant to Section
 14.04.170.


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      14.04.150 - Determinations of reasonable cause—Conciliation, settlement and conclusion of cases
 involving City departments as respondents.
      In all cases in which a City department is a respondent:
      A. A determination of reasonable cause by the Director shall be deemed a finding that an unfair
 employment practice has been committed by respondent and is dispositive of this issue for all future
 proceedings under this chapter, unless appealed, reversed and remanded as provided in this chapter.
      B. Within sixty (60) days of a determination of reasonable cause, the Director shall confer with the parties
 and determine an appropriate remedy, which remedy may include (but is not limited to) hiring, reinstatement
 or upgrading with or without back pay, lost benefits, attorney's fees, admittance to participation in a guidance,
 apprentice training or retraining program, or such other action as will effectuate the purposes of this chapter,
 including action which could be ordered by a court, except that damages for humiliation and mental suffering
 shall not exceed Ten Thousand Dollars ($10,000.00). Such remedy shall be reduced to writing in an order of the
 Director.
      C. The charging party must sign a release in the form and manner requested by the Department, releasing
 the City from further liability for acts giving rise to the charge in order to obtain the benefits of the remedy
 provided under this section and before payment can be made. Without such release, the Director's order with
 respect to the charging party's individual relief shall have no force and effect. In such event the Director shall
 notify the parties involved in writing.
      D. In all cases where the remedy determined by the Director before or after any appeal includes a
 monetary payment which exceeds the sum of Five Thousand Dollars ($5,000.00), the charge or claim, the
 Director's determination, order, the charging party's signed release and such further documentation as may be
 required shall be presented to the City Council for passage by separate ordinance. If the City Council fails or
 refuses to appropriate the amount ordered by the Director within ninety (90) days, the Director shall certify the
 case to the Hearing Examiner for a hearing to determine the appropriate monetary relief in the case which
 determination shall be final and binding upon the City.
      E. Where the Director's order includes a monetary payment of Five Thousand Dollars ($5,000.00) or less,
 such payment shall be made under the authority and in the form and manner otherwise provided for by law
 for payment of such claims.
      (Ord. 117615 § 2, 1995: Ord. 112903 § 7, 1986; Ord. 109116 § 12, 1980.)
      14.04.160 - Appeals to the Commission from determinations of reasonable cause and orders of excess
      involving City departments as respondents.
      In all cases in which a City department is a respondent:
      A. The charging party or respondent may appeal the Director's order and determination of reasonable
 cause to the Commission within thirty (30) days of the Director's order by filing a written statement of appeal
 with the Commission. Such statement shall state specifically the grounds on which it is based and the reasons
 the determination or order or both is in error.
      B. The Commission shall promptly mail a copy of the statement to the Department and to the other party
 and shall promptly consider and act upon such appeal by either affirming the Director's determination, order
 or remanding it to the Director with appropriate instructions.
      C. The filing of an appeal shall stay the enforcement of any remedy provided for in the Director's
 determination or order during the pendency of the appeal.
      D. In such appeal, the Commission shall consider only the record submitted to it by the Department and
 written statements of positions by the parties involved and, in its discretion, oral presentation. The Commission
 shall reverse the Director's determination or order only upon a finding that it is clearly erroneous. (Ord. 117615
 § 3, 1995: Ord. 109116 § 13, 1980.)
      14.04.190 - Construction with other laws.
      Nothing in this chapter shall be construed to invalidate or restrict or deny any right or remedy any person
 may have under state or federal law or preclude any cause of action in court otherwise provided for the
 violation of any person's civil rights; nor shall this chapter be construed to preclude any person aggrieved from
 seeking judicial review of any final administrative decision or order made under this chapter affecting such
 person.
      14.04.200 - Cooperative agreements.
      Nothing in this chapter shall be interpreted to prevent the receiving, referring, or other processing of
 complaints, in accordance with a cooperative agreement with the Washington State Human Rights Commission,
 the Equal Employment Opportunity Commission or with other agencies concerned with the enforcement of
 laws against discrimination.

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2. Abusive_power_and_control.pdf (p.4-18)
3. Abuse of Epidemiology_ - HB Litigation Conferences.pdf (p.19-30)
4. Abusive Litigation.pdf (p.34-37)
5. Emotional blackmail - Wikipedia.pdf (p.35-39)
6. Obfuscation - Wikipedia.pdf (p.40-43)
7. Victim_playing.pdf (p.43-45)
8. Victim_mentality.pdf (p.46-52)
9. The Victim Mentality – COLORFUL CHAOS THE JOURNEY.pdf (p.53)
10. Litigation Abuse _ WomensLaw.org.pdf (p.54-56)
11. Love, lies and...fraud_ Understanding civil fraud lawsuits _
Piro Zinna Cifelli Paris & Genitempo LLC.pdf (p.57-68)
12. Emotional blackmail - Wikipedia.pdf (p.69-73)
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Category:Psychological abuse
      The main article for this category is Psychological abuse.
      See also: Category:Domestic violence

Subcategories
This category has the following 5 subcategories, out of 5 total.


B
 ► Blacklisting (14 C, 32 P)
 ► Bullying (16 C, 118 P)


C
 ► Coercion (2 C, 11 P)


M
 ► Psychological manipulation (4 C, 64 P)


P
 ► Psychological torture techniques (1 C, 16 P)


Pages in category "Psychological abuse"
The following 55 pages are in this category, out of 55 total. This list may not reflect recent changes (learn more).


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          Psychological abuse                                                                  Emotional dysregulation


    A                                                                                      F
          Abusive power and control                                                            Murder of Gabriel Fernandez
          Abusive supervision
          Murder of Anthony Avalos                                                         G
                                                                                               Gaslighting
    B                                                                                          Ghosting (relationships)
          Bashing (pejorative)                                                                 Guilt trip
          Betrayal
          Brainwashing                                                                     H
          Bullying                                                                             Humiliation


    C                                                                                      I
          Character assassination                                                              Institutional betrayal
          Coercion                                                                             Intimidation
          Control by deprivation                                                               Isolation to facilitate abuse
          Control freak
          Covert incest
                                                                                           J
                                                                                               Just-world hypothesis
    D
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M                                                                                          Setting up to fail
      Madonna–whore complex                                                                Silent treatment
      Mind games                                                                           Social undermining
      Moving the goalposts                                                                 Splitting (psychology)
      Music in psychological operations                                                    Structural abuse
                                                                                           Suggestibility
O
      Obfuscation                                                                      T
                                                                                           Threat
P                                                                                          Triangulation (psychology)
      Parentification
      Passive-aggressive behavior                                                      V
      Psychological subversion                                                             Verbal abuse
      Psychological torture                                                                Victim blaming
      Psychology of torture                                                                Victim playing


R                                                                                      W
      Revenge porn                                                                         Richard Warshak


S                                                                                      Y
                                                                                           Suicide of Kelly Yeomans

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Abusive power and control
Abusive power and control (also controlling behavior and coercive control) is commonly used by an
abusive person to gain and maintain power and control over another person in order to subject that victim to
psychological, physical, sexual, or financial abuse. The motivations of the abuser are varied and can include
devaluation, envy, personal gain, personal gratification, psychological projection, or just for the sake of the
enjoyment of exercising power and control.[1]

Controlling abusers use tactics to exert power and control over their victims. The tactics themselves are
psychologically and sometimes physically abusive. Control may be exerted through economic abuse, limiting
the victim, as they may not have the means to resist or leave the abuse.[2] The goal of the abuser is to control,
intimidate, and influence the victim to feel they do not have an equal voice in the relationship.[3]

Manipulators and abusers often control their victims with a range of tactics, including, but not limited to,
positive reinforcement (such as praise, superficial charm, flattery, ingratiation, love bombing, smiling, gifts,
attention), negative reinforcement (taking away aversive tasks or items), intermittent or partial reinforcement,
psychological punishment (such as nagging, silent treatment, swearing, threats, intimidation, emotional
blackmail, guilt trips, inattention) and traumatic tactics (such as verbal abuse or explosive anger).[4]

The vulnerabilities of the victim are exploited with those who are particularly vulnerable being most often
selected as targets.[4][5][6] Traumatic bonding (also popularly known as Stockholm syndrome) can occur
between the abuser and victim as the result of ongoing cycles of abuse in which the intermittent reinforcement
of reward and punishment creates powerful emotional bonds that are resistant to change and a climate of
fear.[7] An attempt may be made to normalise, legitimise, rationalise, deny, or minimise the abusive behaviour,
or blame the victim for it.[8][9][10]

Isolation, gaslighting, mind games, lying, disinformation, propaganda, destabilisation, brainwashing, and
divide and rule are other strategies that are often used. The victim may be plied with alcohol or drugs or
deprived of sleep to help disorientate them.[11][12] Based on statistical evidence, certain personality disorders
correlate with abusive tendencies of individuals with those specific personality disorders when also compiled
with abusive childhoods themselves. [13]

The seriousness of coercive control in modern Western societies has been increasingly realised with changes to
the law in several countries so it is a definable criminal offence. In conjunction with this there have been
increased attempts by the legal establishment to understand the characteristics and effects of coercive control in
legal terminology. For example, on January 1, 2019, Ireland enacted the Domestic Violence Act 2018, which
allowed for the practice of coercive control to be identifiable based upon its effects on the victim. And on this
basis defining it as: 'any evidence of deterioration in the physical, psychological, or emotional welfare of the
applicant or a dependent person which is caused directly by fear of the behaviour of the respondent'.[14] On a
similar basis of attempting to understand and stop the widespread practice of coercive control, in 2019, the UK
government made teaching about what coercive control was a mandatory part of the education syllabus on
relationships.[15] While coercive control is often considered in the context of an existing intimate relationship,
when it is used to elicit a sexual encounter it is legally considered as being a constituent part of sexual abuse or
rape. When it is used to begin and maintain a longer term intimate relationship it is considered to be a
constituent element of sexual slavery.



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Institutional abuse
Institutional abuse which is also known as organizational abuse,[16] is the maltreatment of a person (often
children or older adults) from a system of power.[17] This can range from acts similar to home-based child
abuse, such as neglect, physical and sexual abuse, and starvation, to the effects of assistance programs working
below acceptable service standards, or relying on harsh or unfair ways to modify behavior.[17] Institutional




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abuse can take many different forms, some of them very small. An example of a small instance is insisting that
the person in their care eat their meal or have their snack at the same time everyday, even when they do not
want to.

Forms of Institutional abuse[16]

    improper use of power
    improper use of control
    improper use of restraints
    Taking away choices
    Lack of personal possessions (clothing, items, trinkets, etc.)
    No flexibility with schedules, particularly at bed time
    financial abuse
    physical abuse
    verbal abuse
    psychological abuse

Signs of Institutional abuse[16]

    an unhygienic environment
    an unsafe environment
    rigid schedule
    No privacy, respect, or dignity as a person
    isolating from family and community
    Lack of choices with food, activities, etc.
    absence of respect for religion, cultural background, or beliefs
    treating adults as children, particularly in small insignificant decisions


Law
In England and Wales, Section 76 of the Serious Crime Act 2015 created a criminal offence for controlling or
coercive behavior in an intimate or family relationship.[18][19] For the purposes of this offence, behaviour must
be engaged in "repeatedly" or "continuously". Another, separate, element of the offence is that it must have a
"serious effect" on someone and one way of proving this is that it causes someone to fear, on at least two
occasions, that violence will be used against them. There is no specific requirement in the Act that the activity
should be of the same nature. The prosecution should be able to show that there was intent to control or coerce
someone.[20] For relevant behaviour, it has been criminalised in section 77 of the Serious Crime Act 2015.[21]
In 2018, Jordan Worth became the first woman to be convicted under this new law.

In the United States, to assist in preventing and stopping domestic violence with children, there have been laws
put into place to mandate report in specific professions, such as teacher, doctor, or care provider, any suspected
abuse happening in the home. [22]

Caring professions
According to anti-bullying author and activist Tim Field, bullies are attracted to the caring professions, such as
medicine, by the opportunities to exercise power over vulnerable clients, and over vulnerable employees and
students.[23]



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Intimate partner abuse

Background

The power and control "wheel" was developed in 1982 by the Domestic Abuse Program in Minneapolis to
explain the nature of abuse, to delineate the forms of abuse used to control another person, and to educate
people with the goal of stopping violence and abuse. The model is used in many batterer intervention
programs and is known as the Duluth model.[24] Power and control is generally present with violent physical
and sexual abuse.[25]


Control development

Often the abusers are initially attentive, charming, and loving, gaining the trust of the individual that will
ultimately become the victim, also known as the survivor. When there is a connection and a degree of trust, the
abusers become unusually involved in their partner's feelings, thoughts, and actions.[7] Next, they set petty
rules and exhibit "pathological jealousy". A conditioning process begins with alternation of loving followed by
abusive behavior. According to Counselling Survivors of Domestic Abuse, "These serve to confuse the
survivor leading to potent conditioning processes that impact on the survivor's self-structure and cognitive
schemas." The abuser projects responsibility for the abuse onto the victim, or survivor, and the denigration and
negative projections become incorporated into the survivor's self-image.[7] Control is the defining aspect of an
abusive relationship. Catherine Hodes argues that while conflict is often found in these relationships, it is not
the defining factor of abuse. Instead, an emphasis of power dynamics in domestic relationships is suggested to
be the principle indicator. [26]

Traumatic bonding occurs as the result of ongoing cycles of abuse in which the intermittent reinforcement of
reward and punishment creates powerful emotional bonds that are resistant to change.[7]

                                                                        Manipulation,
                                               Petty rules and                                   Traumatic
  Gain trust         Overinvolvement                                     power, and
                                                  jealousy                                        bonding
                                                                          control
                                                Rules begin to
                                                                         The victim is
                                                 be inserted to
 The potential           The abuser                                     blamed for the            Ongoing
                                                begin control of
  abuser is           becomes overly                                       abuser's               cycles of
                                               the relationship.
   attentive,          involved in the                                  behavior and          abuse can lead
                                                  Jealousy is
    loving,          daily life and use of                                 becomes              to traumatic
                                                 considered by
  charming                    time                                       coerced and              bonding
                                               the abuser to be
                                                                         manipulated
                                                "an act of love"


Tactics

Controlling abusers use multiple tactics to exert power and control over their partners. According to Jill Cory
and Karen McAndless-Davis, authors of When Love Hurts: A Woman's Guide to Understanding Abuse in
Relationships: Each of the tactics within the power and control wheel are used to "maintain power and control
in the relationship. No matter what tactics your partner uses, the effect is to control and intimidate you or to
influence you to feel that you do not have an equal voice in the relationship."[3]


Coercion and threats



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A tool for exerting control and power is the use of
                                                             Tactics of violent and non-violent relationships[27][3]
threats and coercion. The victim may be subject to
threats that they will be left, hurt, or reported to
welfare. The abuser may threaten that they will
commit suicide. They may also coerce them to
perform illegal actions or to drop charges that they
may have against their abuser.[29] Strangulation, a
particularly pernicious abusive behavior in which the
abuser literally has the victim's life in his hands, is an
extreme form of abusive control. Sorenson and
colleagues have called strangulation the domestic
violence equivalent of waterboarding, which is widely
considered to be a form of torture.[30]

At its most effective, the abuser creates intimidation
and fear through unpredictable and inconsistent
behavior.[7] Absolute control may be sought by any of
four types of sadists: explosive, enforcing, tyrannical,       Power and control in violent relationships[28]
or spineless sadists. The victims are at risk of anxiety,
dissociation, depression, shame, low self-esteem, and
suicidal ideation.[31]


Intimidation

Abused individuals may be intimidated by the
brandishing of weapons, destruction of their property
or other things, or use of gestures or looks to create
fear.[29] For example, threatening to use a gun or
simply displaying the weapon is a form of intimidation
and coercive control.[32]


Economic abuse

An effective means of ensuring control and power over another is to control their access to money. One
method is to prevent the victim from getting or retaining a job. Controlling their access to money can also be
done by withholding information and access to family income, taking their money, requiring the person to ask
for money, giving them an allowance, or filing a power of attorney or conservatorship, particularly in the case
of economic abuse of the elderly.[29]


Emotional abuse

Emotional abuse includes name-calling, playing mind games, putting the victim down, blaming the victim,
insulting, stalking, ignoring, discounting their feelings and experiences,[33] online harassment, isolating and
controlling,[34] or humiliating the individual, private or personal. The goals are to make the person feel badly
about themselves, feel guilt, or think that they are crazy.[29] Eventually the victim loses their sense of self
worth, self confidence, the trust of their own thoughts and feelings, and who they are as a person.[33] Various
studies done by psychologists, such as Angela Kent and Glenn Waller, as well as Hart and Bassard, have
found more connections between emotional abuse in childhood being carried into adulthood in professional
and personal lives. [35]




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    Isolation

    Another element of psychological control is the isolation of the victim from the outside world.[25] Isolation
    includes controlling a person's social activity: who they see, who they talk to, where they go, and any other
    method to limit their access to others. It may also include limiting what material is read.[29] It can include
    insisting on knowing where they are and requiring permission for medical care. The abuser exhibits
    hypersensitive and reactive jealousy.[25]


    Minimizing, denying, and blaming

    The abuser may deny the abuse occurred in order to attempt to place the responsibility for their behavior on the
    victim. Minimizing concerns or the degree of the abuse is another aspect of this control.[29] They will
    sometimes tell them that they are too sensitive, it's not that big of a deal, or anything along these lines to
    minimise the feelings and experiences of the victim.The abuser also tends to blame the victim for the problems
    in the relationship.


    Using children and pets

    Children may be used to exert control by the abuser threatening to take the children or making them feel guilty
    about the children. It could include harassing them during visitation or using the children to relay messages.
    Another controlling tactic is abusing pets.[29]


    Using privilege

    Using "privilege" means that the abuser defines the roles in the relationship, makes the important decisions,
    treats the individual like a servant, and acts like the "master of the castle".[29]

    Psychological warfare

    Zersetzung

    The practice of repression in Zersetzung comprised extensive and secret methods of control and psychological
    manipulation, including personal relationships of the target, for which the Stasi relied upon its network of
    informal collaborators,[36] (in German inoffizielle Mitarbeiter or IM), the state's power over institutions, and on
    operational psychology. Using targeted psychological attacks the Stasi tried to deprive a dissident of any
    chance of a "hostile action".


    Serial killers
    The main objective for one type of serial killer is to gain and exert power over their victim. Such killers are
    sometimes abused as children, leaving them with feelings of powerlessness and inadequacy as adults.[37]
    Many power or control-motivated killers sexually abuse their victims, but they differ from hedonistic killers in
    that rape is not motivated by lust (as it would be with a lust murder), but as simply another form of dominating
    the victim.[38] (See article causes of sexual violence for the differences regarding anger rape, power rape, and
    sadistic rape.) Ted Bundy is an example of a power/control-oriented serial killer.


    In the workplace

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A power and control model has been developed for the workplace, divided into the following categories:[39]

    overt actions
    covert actions
    emotional control
    isolation
    economic control
    tactics
    restriction
    management privilege


Workplace psychopaths

The authors of the book Snakes in Suits: When Psychopaths Go to Work describe a five-phase model of how a
typical workplace psychopath climbs to and maintains power:[40]

 1. Entry – psychopath will use highly developed social skills and charm to obtain employment
    into an organisation. At this stage it will be difficult to spot anything that is indicative of
    psychopathic behaviour, and as a new employee one might perceive the psychopath to be
    helpful and even benevolent.
 2. Assessment – psychopath will weigh one up according to one's usefulness, and one could be
    recognised as either a pawn (who has some informal influence and will be easily manipulated)
    or a patron (who has formal power and will be used by the psychopath for protection against
    attacks)
 3. Manipulation – psychopath will create a scenario of "psychopathic fiction" where positive
    information about themselves and negative disinformation about others will be created, where
    one's role as a part of a network of pawns or patrons will be used and one will be groomed into
    accepting the psychopath's agenda.
 4. Confrontation – the psychopath will use techniques of character assassination to maintain an
    agenda, and one will be either discarded as a pawn or used as a patron
 5. Ascension – one's role as a patron in the psychopath's quest for power will be discarded, and
    the psychopath will usurp a position of power and prestige from anyone who once supported
    them.


Personality psychology
In the study of personality psychology, certain personality disorders display characteristics involving the need
to gain compliance or control over others:[41]

    Those with antisocial personality disorder tend to display a superficial charm that helps to
    disarm others, giving a good likable first impression. If someone likes another person, they're
    much more apt to comply with them. Because they lack empathy, they see other people as
    instruments and pawns. The effects of this lack of empathy essentially gives them a grandiose
    sense of self-worth. Due to their callous and unemotional traits, they are well suited to con
    and/or manipulate others into complying with their wishes.
    Those with borderline personality disorder tend to display black-and-white thinking and are
    sensitive to others attitudes toward them. Being so averse to rejection may give them
    motivation to gain compliance in order to control perceptions of others.
    Those with histrionic personality disorder need to be the center of attention; and in turn, draw
    people in so they may use (and eventually dispose of) their relationship.


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    Those with narcissistic personality disorder have an inflated self-importance, hypersensitivity to
    criticism and a sense of entitlement that compels them to persuade others to comply with their
    requests. To maintain their self-esteem, and protect their vulnerable true selves, narcissists
    need to control the behavior of others – particularly that of their children seen as extensions of
    themselves.[42]
    Those with sadistic personality disorder derive pleasure from the distress caused by their
    aggressive, demeaning, and cruel behavior toward others. They have poor ability to control
    their reactions and become enraged by minor disturbances, with some sadists being more
    severely abusive. They use a wide range of behaviors to inappropriately control others, ranging
    from hostile glances, threats, humiliation, coercion, and restricting the autonomy of others.
    Often the purpose of their behavior is to control and intimidate others.[43] The sadistic
    individuals are likely rigid in their beliefs, intolerant of other races or other "out-groups",
    authoritarian, and malevolent. They may seek positions in which they are able to exert power
    over others, such as a judge, army sergeant, or psychiatrist who misuse their positions of power
    to control or brutalize others. For instance, a psychiatrist may institutionalize a patient by
    misusing mental health legislation.[43]


Psychological manipulation
Braiker identified the following ways that manipulators control their victims:[4]

    Positive reinforcement: includes praise, superficial charm, superficial sympathy (crocodile
    tears), excessive apologizing, money, approval, gifts, attention, facial expressions such as a
    forced laugh or smile, and public recognition.
    Negative reinforcement: involves removing one from a negative situation as a reward, e.g. "You
    won't have to do your homework if you allow me to do this to you."
    Intermittent or partial reinforcement: Partial or intermittent negative reinforcement can create an
    effective climate of fear and doubt. Partial or intermittent positive reinforcement can encourage
    the victim to persist.
    Punishment: includes nagging, yelling, the silent treatment, intimidation, threats, swearing,
    emotional blackmail, the guilt trip, sulking, crying, and playing the victim.
    Traumatic one-trial learning: using verbal abuse, explosive anger, or other intimidating
    behavior to establish dominance or superiority; even one incident of such behavior can
    condition or train victims to avoid upsetting, confronting, or contradicting the manipulator.

Since the Technological Revolution, online communities have expanded, along with it, online psychological
manipulation. Algorithms are being made to detect key phrases, words, images, or "gifs" that contribute to
psychological manipulation happening in social media and within online communities.[44]

Manipulators may have:[4]

    a strong need to attain feelings of power and superiority in relationships with others
    a want and need to feel in control
    a desire to gain a feeling of power over others in order to raise their perception of self-esteem.


Emotional blackmail

Emotional blackmail is a term coined by psychotherapist Susan Forward, about controlling people in
relationships and the theory that fear, obligation, and guilt (FOG) are the transactional dynamics at play
between the controller and the person being controlled. Understanding these dynamics is useful to anyone



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trying to extricate themselves from the controlling behavior of another person, and deal with their own
compulsions to do things that are uncomfortable, undesirable, burdensome, or self-sacrificing for others.[45]

Forward and Frazier identify four blackmail types each with their own mental manipulation style:[46]

          Type                                                     Examples
 Punisher's threat        Eat the food I cooked for you or I'll hurt you.
 Self-punisher's threat   Eat the food I cooked for you or I'll hurt myself.
 Sufferer's threat        Eat the food I cooked for you. I was saving it for myself. I wonder what will happen now?
 Tantalizer's threat      Eat the food I cooked for you and you just may get a really yummy dessert.


There are different levels of demands – demands that are of little consequence, demands that involve important
issues or personal integrity, demands that affect major life decisions, and/or demands that are dangerous or
illegal.[45]


Silent treatment

The silent treatment is sometimes used as a control mechanism. When so used, it constitutes a passive-
aggressive action characterized by the coupling of nonverbal, but nonetheless unambiguous indications of the
presence of negative emotion, with the refusal to discuss the scenario triggering those emotions and, when the
source of those emotions is unclear to the other party, occasionally the refusal to clarify it or even to identify
that source at all. As a result, the perpetrator of the silent treatment denies the victim both the opportunity to
negotiate an after-the-fact settlement of the grievance in question and the ability to modify one's future
behavior to avoid giving further offense. In especially severe cases, even if the victim gives in and accedes to
the perpetrator's initial demands, the perpetrator may continue the silent treatment so as to deny the victim
feedback indicating that those demands have been satisfied. The silent treatment thereby enables its perpetrator
to cause hurt, obtain ongoing attention in the form of repeated attempts by the victim to restore dialogue,
maintain a position of power through creating uncertainty over how long the verbal silence and associated
impossibility of resolution will last, and derive the satisfaction that the perpetrator associates with each of these
consequences.[47]


Love bombing

The expression has been used to describe the tactics used by pimps and gang members to control their
victims,[48] as well as to describe the behavior of an abusive narcissist who tries to win the confidence of a
victim.[49][50] In 2016, Claire Strutzenberg performed a study researching "love bombing" within the young
adult age group 18 to 30 at college. She found in this study that this age group tended to communicate
regularly at the start of the relationship, but as the relationship went on, one of the partners tended to passively
push more toward being more dominant over the other partner gradually working toward "love bombing."[51]


Mind games

One sense of mind games is a largely conscious struggle for psychological one-upmanship, often employing
passive–aggressive behavior to specifically demoralize or dis-empower the thinking subject, making the
aggressor look superior; also referred to as "power games".[52]




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In intimate relationships, mind games can be used to undermine one partner's belief in the validity of their own
perceptions,[53] often referred to as 'gaslighting'. Personal experience may be denied and driven from
memory;[54] and such abusive mind games may extend to denial of the victim's reality, social undermining,
and the trivializing of what is felt to be important.[55] Both sexes have equal opportunities for such verbal
coercion,[56] which may be carried out unconsciously as a result of the need to maintain one's own self-
deception.[57]


Divide and conquer

A primary strategy the narcissist uses to assert control, particularly within their family, is to create divisions
among individuals. This weakens and isolates each of them, making it easier for the narcissist to manipulate
and dominate. Some are favoured, others are scapegoated. Such dynamics can play out in a workplace
setting.[58]


Human trafficking
The use of coercion by perpetrators and traffickers involves the use of extreme control. Perpetrators expose the
victim to high amounts of psychological stress induced by threats, fear, and physical and emotional violence.
Tactics of coercion are reportedly used in three phases of trafficking: recruitment, initiation, and
indoctrination.[59] During the initiation phase, traffickers use foot-in-the-door techniques of persuasion to lead
their victims into various trafficking industries. This manipulation creates an environment where the victim
becomes completely dependent upon the authority of the trafficker.[59] Traffickers take advantage of family
dysfunction, homelessness, and history of childhood abuse to psychologically manipulate women and children
into the trafficking industry.[60]

The goal of a trafficker is to turn a human being into a slave. To do this, perpetrators employ tactics that can
lead to the psychological consequence of learned helplessness for the victims, where they sense that they no
longer have any autonomy or control over their lives.[60] Traffickers may hold their victims captive, expose
them to large amounts of alcohol or use drugs, keep them in isolation, or withhold food or sleep.[60] During
this time the victim often begins to feel the onset of depression, guilt and self-blame, anger and rage, and sleep
disturbances, PTSD, numbing, and extreme stress. Under these pressures, the victim can fall into the hopeless
mental state of learned helplessness.[59][61][62]

Children are especially vulnerable to these developmental and psychological consequences of trafficking
because they are so young. In order to gain complete control of the child, traffickers often destroy physical and
mental health of the children through persistent physical and emotional abuse.[63] Stockholm syndrome is also
a common problem for girls while they are trafficked, which can hinder them from both trying to escape, and
moving forward in psychological recovery programs.[64]

Oppression
Oppression is the exercise of authority or power in a burdensome, cruel, or unjust manner.[65]


Bullying
An essential prerequisite of bullying is the perception, by the bully or by others, of an imbalance of social or
physical power.[66][67]




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Controlling and coercive behavior
Controlling individuals can be described as perfectionists[68] defending themselves against their own inner
vulnerabilities in the belief that if they are not in total control they risk exposing themselves once more to
childhood angst.[69] Such persons manipulate and pressure others to change so as to avoid having to change
themselves,[70] and use power over others to escape an inner emptiness.[71] When a coercive individual's
pattern is broken, the controller is left with a terrible feeling of powerlessness, but feeling their pain and fear
brings them back to themselves.[72]

In terms of personality-type theory, controlling persons are very much the Type A personality, driven by the
need to dominate and control.[73] An obsessive need to control others is also associated with antisocial
personality disorder.[74]


See also
    Adult-to-adult narcissistic abuse                          Fit in or fuck off
    Abuse of power                                             Mind control
    Blackmail                                                  My way or the highway
    Child grooming                                             Personal boundaries
    Control of time in power relationships                     Power and Control: Domestic Violence in
    Cycle of violence                                          America
    Elder abuse                                                Protection racket
    Enabling                                                   Sharp power
    Expressions of dominance                                   Struggle session
    Extortion                                                  Victim playing


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Abuse of Epidemiology:
Automobile Manufacturers Manufacture a Defense
to Asbestos Liability

DAVID S. EGILMAN, MD, MPH, MARION A. BILLINGS, MSC


Much of the “debate” about the relationship between                        to reanalyze previously published hygiene and epi-
asbestos exposure from automobile brake work and                           demiologic studies.4–7
asbestos-induced cancer has been fueled by studies                             Some manufacturers of asbestos-lined brakes—
that have been funded by corporations with billions at                     including GM, Ford, Daimler–Chrysler, and Bendix—
stake in tort litigation. The authors explore how                          have sponsored four notable examples of such
asbestos-lined brake manufacturers have corrupted                          research since the late 1990s. In 2001, Otto Wong, an
medical literature to escape liability, analyzing studies
                                                                           epidemiologist working for a California-based health
funded by these companies to enable them to claim
that work with asbestos brake linings never causes                         sciences company, fired the first salvo of their
mesothelioma. They reveal how the companies have                           defense.6 Although Wong’s paper is couched as a cri-
redefined scientific criteria for the determination of                     tique of regulation of exposures to asbestos-lined
cause–effect relationships and manipulated scientific                      brakes and EPA risk assessments, Bendix (an automo-
data to give the impression of an absence of effect.                       bile brake manufacturer) first presented it as an
But the absence of evidence is not evidence of the                         expert report to defend against a lawsuit by a worker
absence of an effect. Key words: mesothelioma;                             who had been exposed to asbestos brake linings and
asbestos; corruption; occupational health; brake                           had contracted mesothelioma.8 Three years later other
mechanics.                                                                 manufacturers of asbestos-lined brakes (GM, Ford,
                                                                           and Chrysler) sponsored Goodman et al. to write a
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                                                                           second brake-related lung cancer meta-analysis com-
                                                                           bined with a duplication of Wong’s mesothelioma
                                                                           analysis.5 The automobile companies then sponsored


I
    n recent years, thousands of automobile and                            Hessel et al. to write a third paper which was an exten-
    “shade-tree” (amateur) mechanics have sought                           sion of a paper by Spirtas of the NIH that had already
    compensation for asbestos-related disease from                         been included in Goodman et al. and Wong’s meta-
manufacturers of asbestos-lined brakes. Despite the fact                   analysis.4 Finally, the industry subsidized an incom-
that these brakes are 40–70% asbestos, the brake man-                      plete analysis of historical exposures to asbestos in
ufacturers have vigorously denied that they contributed                    brake work.3
in any way to a single case of asbestos-caused disease.1                       These companies have spent millions of dollars to
The brake manufacturers have dismissed the fact that                       generate these epidemiologic studies in order to
there is no known threshold of exposure associated                         refute claims of causation and thereby avoid com-
with mesothelioma (a rare cancer of the pleura or peri-                    pensation payments to victims and their families.
toneum), and that in some cases the only documented                        Accordingly, all four papers demonstrate the use of
worker exposures are those that have occurred as a                         two practices associated with the industry’s involve-
result of exposures to asbestos from brakes.2 Rather                       ment in scientific research: the redefinition of scien-
than accept the well-established scientific facts, the                     tific criteria for the determination of cause–effect
industry has funded scientists and lawyers to develop                      relationships and the manipulation of scientific data.
arguments and methods for defending against lawsuits                       In this paper we critique these methods, drawing
brought by workers and their household members who                         examples from the first three of the four papers cited
have developed mesothelioma as a result of exposure                        above. The first section delineates the process of
to asbestos in brakes.1,3–6 To support their arguments,                    redefinition of scientific criteria for determination of
the automobile manufacturers have hired consultants                        causation, followed by a more in-depth discussion of
                                                                           specific methods of scientific manipulation utilized
                                                                           in the studies by Goodman et al., Wong, and Hessel.
    Received from the Department of Community Health, Brown                As a whole, we analyze the value of this type of
University, Providence, Rhode Island.
    Address correspondence and reprint requests to David Egilman,
                                                                           research in regard to its claims about the relationship
MD, 8 North Main Street, Suite 404, Attleboro, MA 02703, U.S.A.;           between exposures to asbestos during brake work and
telephone: (508) 226-5091; e-mail: <degilman@egilman.com>.                 induction of mesothelioma.



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REDEFINITION OF SCIENTIFIC CRITERIA                           invalid as evidence of causation.9 Since cancer effects
FOR DETERMINATION OF CAUSE–EFFECT                             have long latent periods and workers are generally sub-
RELATIONSHIPS                                                 ject to potential confounding exposures, these studies
                                                              are rare and easily criticized.9 When clear epidemio-
This method, first developed by the tobacco industry,         logic evidence of causation exists, as is the case of the
involves two parts.9 First, industry lawyers and scientists   relationship between asbestos and mesothelioma, com-
redefine the type and amount of “proof” required to           panies and their experts have argued that before an
legally establish causation.9 This is done by derogating      injured worker can even file a claim for compensation
unfavorable classes of evidence that are unfavorable to       two epidemiologic studies in similarly exposed individ-
industries’ litigation and regulatory positions and insist-   uals that find a statistically significant doubling of the
ing that evidence that does not exist or is favorable to      risk must be published in peer-reviewed journals.13
industry is most important or essential to establish a        Some Texas courts have accepted this argument and
cause–effect relationship in court. For example, when a       even appear to require the publication of human epi-
suspect carcinogen is found to cause cancer in human          demiologic studies for subgroups of particular indus-
epidemiologic studies but not in animals, companies           tries with statistically significant rate ratios above two
argue that animal studies are required to prove causa-        before a worker can even file a lawsuit.14 Greenland
tion.9 On the other hand when animal studies are posi-        calls the use of this criteria a “methodologic error that
tive and human epidemiology is incomplete or nega-            has become a social problem.”15
tive, companies argue that human evidence is required            These stringent legal requirements can be con-
before the government can regulate the substance and          trasted with the normal physician practice of assigning
before workers and others can be compensated.9                causation based on an analysis of all available evidence
   For example, tobacco companies argue that human            with no specific rate ratio or statistical requirements.16
epidemiologic studies cannot establish causation but          In general, practicing physicians attribute lung cancer
instead only establish some “non-definitive” association      causation to tobacco smoking if there is evidence of a
between exposure to tobacco smoke and cancer.10 They          history of smoking any cigarettes, regardless of brand,
have argued that epidemiologic studies cannot distin-         for often unspecified time frames prior to disease diag-
guish a genetic link between the propensity to smoke          nosis.9 Practicing physicians would not check to see
and the propensity to contract cancer.10 This critique of     whether a published, peer-reviewed paper showed that
human epidemiologic studies is true, but irrelevant           smoking ten cigarettes per day caused a statistically sig-
since there is no biologic basis for such speculation. On     nificant doubling of the risk of contracting lung cancer
the other hand, when early researchers failed to induce       prior to making the determination that a patient’s
cancer in animals that were exposed to tobacco smoke,         smoking had caused or contributed to his or her
tobacco companies insisted that only animal inhalation        cancer. Physicians also take for granted that all brands
studies could “prove” causation.10 After the now-famous       smoked contributed to disease causation even in the
beagle studies, these companies emphasized the impor-         absence of studies evaluating individual brands.
tance of mechanistic understanding as a causal require-          The asbestos-product manufacturers and their
ment.10 They then argued that unless one could explain        experts have constructed an epistemological straw man,
exactly how tobacco smoke caused cancer they had no           asserting that epidemiologic evidence of causation is
“scientific proof” of causation.10 Some chemical manu-        required in each and every worker cohort that has a
facturers have made comparable epistemological argu-          documented excess exposure to a harmful substance
ments when studies of their products have followed a          before evidence of causation can be presented in court.
similar fact pattern. In the early 1970s, for example,        Companies argue that, to prove causation, both the type
when researchers failed to induce cancer in animals fol-      of asbestos and the nature of exposure (same job, not
lowing benzene exposure, industry expert witnesses            just comparable exposure) must be clearly documented
stated that these missing animal data were required to        in an epidemiologic study as having a causal effect on
establish that a substance was a human carcinogen.11,12       the development of cancer.13 Even the tobacco compa-
   The second element of this method is industry’s            nies have not gone so far as to argue that an expert
insistence on direct causal evidence related to specific      cannot assert that Virginia Slims cause a specific lung
forms of exposure in individual cohorts of workers.           cancer subtype (e.g., bronchogenic cancer) in women
Human epidemiology is often lacking for most chemi-           absent an epidemiologic study of smokers of that par-
cal-exposure cancer effects. Most chemical companies,         ticular cigarette showing a statistically significant
therefore, argue that these missing “animal or other          twofold increased risk in that particular cohort of
studies,” or human studies in which the exposed work-         female smokers for that particular subtype of lung
ers are exposed to the substance in question only (a vir-     cancer. Yet the asbestos companies and their experts
tual impossibility), are required to establish proof of a     argue that separate cohort studies are needed to estab-
cause–effect relationship. In the latter case, industry       lish causation for the same disease for each fiber type
argues that animal and in vitro studies are rendered          and each product composed of that fiber despite the



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fact that almost all workers are exposed to more than         exposure levels hundreds of times higher than current
one fiber type from more that one product.13                  permissible limits.25 Wong cites some “data” from a 1987
    As a result, companies and their experts attempt to       Finnish study by Kauppinen and Korhonen by listing
show that exposures to asbestos from their product are        average fiber concentrations as <0.05 fibers/cc.26 This
somehow “different” or even irrelevant. Manufacturers         study also found, however, that the grinding of brake
argue that exposures to asbestos from their products are      linings produced asbestos concentrations as high as 125
quantitatively or qualitatively unlike other asbestos expo-   fibers/cm3. Kauppinen and Korhonen reported expo-
sures.13 For example, asbestos in their products is           sures up to 8.2 f/cm3 during the cleaning of passenger-
“bound” or “degraded” or “decomposed” or “results in          car drum brakes using a compressed air jet to remove
too low an exposure” to cause mesothelioma.13 Unfortu-        brake dust.26 (Unfortunately this is still a common prac-
nately, some courts have adopted aspects of this reason-      tice in many nations, including the United States.) Aver-
ing.17 In the case of chrysotile asbestos—the only fiber      age concentrations were between 0.1 and 0.2 f/cm3 for
type that industry still claims does not cause mesothe-       truck and bus repair. The only data point Wong chose
lioma—the argument that the particular type of asbestos       to report from this study represented average exposures
in a company’s product is different from other types is       during passenger-car repair. Contrary to Wong’s mis-
now generally recognized as the “amphibole hypothe-           leading data selection and analysis, this study demon-
sis.”18–23 It is important to note that product manufac-      strated that average asbestos concentrations in Finland
turers who used amosite fiber made similar arguments          may comply with TWA limits, but also showed that peak
by claiming that there was insufficient epidemiologic evi-    exposures often exceeded the OSHA excursion limit.26
dence to establish that amosite caused mesothelioma.24            Wong also selectively excerpts information from a
                                                              paper by Agudo et al., whom he quotes stating, “Over-
MANIPULATION OF SCIENTIFIC DATA—                              all, 37% of cases of mesothelioma in our population
META-ANALYSIS AND EXPOSURE DATA                               are attributed to a sure (or almost sure) occupational
MISREPRESENTATION                                             exposure to asbestos and this proportion comes up to
                                                              62% when occupations with any probability of expo-
   Manipulation of scientific data and misuse or re-          sure are included.” In turn, Wong concludes that “this
interpretation of standard scientific reasoning is ubiq-      observation underscores the high proportion of malig-
uitous in the automobile industry–sponsored asbestos          nant mesothelioma cases not related to occupational
studies. The most common are: selection of inappro-           exposure.”6 Wong makes this assertion but omits
priate studies for re-analysis, selective presentation of     Agudo et al.’s subsequent qualifying sentence, which
study data, non-differential exposure-determination           states, “Around 40% of cases of mesothelioma in our
bias, inadequate sample size, comparison of an                population could be due to causes other than occupa-
exposed cohort with an inappropriate control group,           tional exposure to asbestos, although possibility of
and misuse of confidence intervals. Here we present           other occupational exposures in non-traditionally haz-
these strategies, illustrated with specific examples from     ardous scenarios cannot be ruled out.”
the Bendix, Ford, General Motors, and Daimler–
Chrysler studies.                                             Manipulation of Meta-analysis: Inappropriate Study
                                                              Selection and Selective Presentation of Data
Selective Presentation of Exposure Data
                                                              Industry researchers can often influence results by
In his article, Wong outlines the “lack of exposure”          careful selection of the epidemiologic studies they
argument as described in the previous section.6 In            decide to evaluate. Studies favored by the industry per-
doing so, however, he fails to report studies indicating      spective (those with negative results in regard to the
that work with asbestos brake linings leads to exposures      relationship between exposure and cancers) are
that have resulted in asbestos cancers in other occupa-       included, and others are ignored or derogated and
tional and non-occupational settings.25 Wong not only         then excluded. Goodman et al. and Wong reanalyzed a
ignores exposure studies whose results contradict his         series of epidemiologic studies, claiming that they
industry position; he also misrepresents the results of       failed to find an association between brake work and an
the studies he does report. He states that “studies have      increased incidence of mesothelioma.5,6 Both, however,
shown that brake lining dust contains little recognizable     disregard numerous methodologic problems in the
chrysotile fibers” and extrapolates from a few studies to     individual studies they chose to incorporate in their
claim that current exposures are “extremely low.”6 It is      analyses and ignore study limitations noted by the orig-
true that only some studies have examined decomposed          inal authors. Furthermore, these authors selectively
(used) brakes; the heaviest exposure to asbestos occurs       omit key information that undermines their conclu-
during the sanding and grinding of new brakes.25 Of           sions and evidence.
course, current exposures do not reflect past exposures          Goodman et al. first attempt to evaluate the quality
or risk. Studies of workers’ previous job activities reveal   of 11 studies with potentially relevant information



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about the relationship between brake work and                    The automobile manufacturers have spent millions
mesothelioma. The authors use a self-created 11-point         of dollars to reanalyze studies that were never designed
scale to evaluate the studies (the rating system allowed      to determine mesothelioma risk in brake mechanics.
for negative scores). The highest ranked study—one of         On the other hand, they have access to a cohort of their
two purported “studies” based on “personal communi-           own and their dealers’ workers, whose work involves
cations” by Goodman and Hessel themselves—garners             the installation and repair of brakes. They are perfectly
a 5, out of 9. The scores for the rest of the studies         situated to use other demographically similar employ-
included in the meta-analysis are unimpressive: 3, 4, 1,      ees who work at these same facilities as a control popu-
4, 1, and 2, out of 9. Goodman et al. excluded studies        lation. In many cases they have access to medical and
that scored minus 1 (the rating system allowed for neg-       workers’ compensation records that would allow them
ative scores) but none of the included studies achieved       to efficiently conduct such a study. Why haven’t they
a passing grade of 60% based on normal academic stan-         done so?*
dards. Goodman et al. seem to believe that evaluating            Wong and Goodman et al. both exclude evidence
the studies in such a way somehow mitigates their             from other epidemiologic studies that contradict their
underlying methodologic errors and inadequacies.              conclusions. Hansen, for example, examined the mor-
Unfortunately, revealing errors is not the same as fixing     tality of automobile mechanics and found an excess
them, and these studies, which were never designed to         mortality from mesothelioma.32 The study reported a
assess mesothelioma risk to brake-exposed workers, are        single case of mesothelioma over a ten-year period
beyond repair.                                                among approximately 20,000 automobile mechanics,
   After this elaborate quality evaluation, Goodman et        yet, because of the rarity of the disease, the authors
al. performed a meta-analysis using the same studies          concluded that, “asbestos exposure is known to occur
that Wong had reviewed three years before. They               during the replacement of brake linings, and the single
excluded two cohorts. The first of these was a study of       case of pleural mesothelioma is an indication that this
685 automobile mechanics that reported two mesothe-           exposure has not been negligible.”
liomas.27 The second found a statistically significant
excess of mesothelioma in mechanics with a reported           Differential Exposure-determination Bias
rate ratio.28
   Furthermore, Goodman and his colleagues present               In his meta-analysis Wong relied primarily on case–
the data entirely out of context. The original authors of     control studies that were fraught with problems of dif-
the underlying studies did not design them to examine         ferential exposure-determination bias. Asbestos expo-
the specific issue of exposure to asbestos during brake       sure is difficult to determine since many individuals are
work and subsequent incidence of mesothelioma. The            unaware of their exposures, especially in secondary
extraction, therefore, of occasional study participants       cases in which an individual might inhale asbestos
who happen to be automobile mechanics not only lacks          fibers from the clothing of a spouse or parent return-
statistical power but cannot be independently used as         ing home from asbestos-related work. In the case of
concrete evidence proving the absence of a relation-          brake work, many individuals engage in part-time or
ship between a complicated exposure and a potential           amateur mechanic work, yet otherwise engage in other
outcome. Due to the inherent difficulty in determining        careers and may therefore be classified as unexposed if
asbestos exposure (especially in the case of brake work       determination is based on a classical epidemiologic
due to the large number of amateur brake jobs and             determination of “regular occupation.” Of course the
part-time brake work that can easily go unnoticed when        direction of any potential or actual bias is a key issue in
determining exposure) cohort studies must be specifi-         analyzing its potential effect on the results of a study.
cally designed to address the issue of mesothelioma           Random exposure misclassification biases results
among those exposed to brake dust. Until such studies         towards the null. However, as we discuss below, in this
are conducted, it is wrong to conclude that epidemio-         case, because exposure is more often missed in the
logic studies fail to establish a relationship between        exposed cohort, the misclassification is likely to lead to
brake work and asbestos-induced cancer. The converse,         an inverse relationship between exposure and disease.
however, is not true. To paraphrase Karl Popper, find-           In the case of mesothelioma, in which the time
ing a thousand white swans does not prove that all            between diagnosis and death is usually a matter of
swans are white; the discovery of a single black swan dis-    months, retrospective study designs such as case–con-
proves that hypothesis.29 This is particularly true when
a researcher is relying on studies of all bird species (all
SIC codes) to determine the color of swans (risk in               *Or perhaps their lawyers have already conducted such a study
brake workers). As Lemen has shown, there are plenty          and kept it secret. As has been noted, in tobacco litigation, company
                                                              lawyers often contract with experts to conduct studies. If the studies
of black swans in the context of asbestos-induced             are unfavorable the company does not have to produce these in liti-
cancer; he has documented more than 220 published             gation. The brake manufacturers’ lawyers have funded and actually
cases of mesothelioma in users of friction products.25        helped conduct some studies related to brake exposures.30,31




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    trol studies often require the interviewing of surrogates          Forty-four percent of cases were deceased at the time of
    (spouse, children, etc) to determine exposure. Direct              the study, and thus researchers determined their expo-
    interviews of cases or controls are far more likely to             sures through family-member interviews. Among the
    uncover prior brake exposure than are interviews with              control group, however, the researchers directly inter-
    surrogates. Individuals who did not work primarily as              viewed all but one participant. Cases, therefore, may
    automobile mechanics are likely to be misclassified as             have been less likely to be classified as exposed, which
    unexposed if surrogate interviewees are unaware of any             would bias the resulting risk ratios to be less than one.
    part-time or amateur brake work done earlier in life.              In addition, the researchers considered only occupa-
    Since mesothelioma cases are more likely to be                     tions that had been held for at least six consecutive
    deceased at the time of interview than controls, a dif-            months, meaning that workers with exposures from
    ferential exposure-determination bias may show that                part-time or amateur brake jobs were omitted. This
    the “exposed” have less risk than the unexposed. Next-             random misclassification biased the results of the study
    of-kin interviews are particularly subject to this result,         towards the null. The authors also assumed without ques-
    since brake exposures often occur among “shade tree,”              tion that brake work puts an individual at risk for
    occasional, or even high school mechanics in automo-               asbestos exposure, by placing brake mechanics in the
    bile repair courses. These exposures are more likely to            “risk of exposure” category in their analysis. The rate
    be reported by patients themselves than by relatives,              ratio for this entire category of asbestos-exposed work-
    particularly children of patients. In many of the studies          ers was elevated, at 2.59, but the analysis of a small
    the researchers determined exposure from direct inter-             number of individuals within the category of at-risk
    view of controls, in comparison with greater reliance on           occupations (i.e., the brake mechanics) cannot lead to
    interviews with survivors of mesothelioma patients.                any sound conclusions.
    Next-of-kin interviews were therefore used more often                 The study published in 1994 by Spirtas and others
    to estimate exposure in mesothelioma patients than in              provides additional evidence that exposure-determina-
    controls. Since direct interviews are more likely to elicit        tion bias is a real threat to study validity.34 In the study,
    a history of exposure to brakes than next-of-kin inter-            younger cases had a higher attributable risk for
    views, brake exposures are systematically more likely to           mesothelioma from asbestos exposure than did older
    be recorded for controls than cases. Goodman et al.                cases. This is likely to have resulted from more accurate
    acknowledge the problem of next-of-kin interview bias              exposure assessment among younger individuals, who
    but omit any discussion of the fact that the consequence           were better able to remember more recent exposure
    of this bias is a result showing that brake work protects          events. Spirtas et al. did not include independent analy-
    against mesothelioma. This phenomenon is demon-                    ses of the members of the cohort who reported “brake
    strated by the fact that most of the studies Wong and              lining work or repair” (105 of 741) because of the high
    Goodman et al. selected had rate ratios of less than one.          rate of multiple asbestos exposures in this group.34
    Wong’s overall point estimate was 0.90 (95% confidence             Unlike the authors of the original study, Wong fails to
    interval 0.66–1.23), while Goodman et al. determined               note these non-brake exposures or the original
    that exposure to brake dust produced a statistically sig-          authors’ exclusion of these workers, and relies on these
    nificant and important reduction in the rate of                    rejected data in his meta-analysis.6
    mesothelioma of 0.67 (95% confidence interval                         The automobile manufacturers paid Hessel et al. to
    0.53–0.84) in all studies combined.† The finding that              “update” the Spirtas cohort and reanalyze its brake-
    brake work reduces the risk of mesothelioma is a sign of           worker data in 2004.4 The results of the analysis pre-
    systematic error in this meta-analysis, because exposure           sented by Hessel and colleagues reveal the method-
    to asbestos brakes cannot reduce the risk of developing            ologic problems with the use of the NIH data set. First,
    mesothelioma by 33%. That is, however, what these                  the analysis of Hessel et al. indicated that non-occupa-
    selected meta-analyzed data showed.                                tional brake work prevented workers from developing
                                                                       mesothelioma (regression beta was –0.184). In addi-
    Other Bias Issues                                                  tion, their analysis found that higher levels of exposure
                                                                       to asbestos among workers performing occupational
    The study conducted by Agudo and others, published                 brake work were more protective (regression beta was
    in 2000, demonstrates how differential exposure deter-             –0.307). In other words, these authors found a dose–
    mination can bias results when exposure histories of               response relationship between exposure to asbestos-
    cases (who are dead or too sick to be interviewed                  lined brakes and reduced risk of mesothelioma. Of
    directly) are more likely to be determined by surrogate            course, brake work cannot reduce workers’ risk for con-
    interviews than are exposure histories for controls.33             tracting mesothelioma, and it certainly can’t do this in
                                                                       a “dose”-dependent manner. The unbelievable dose–
                                                                       response relationship is further evidence that the study
       †They found combined RRs of 0.92 (95% CI 0.55–1.56) in Tier I   suffered from systematic error. Hessel and his col-
    studies and 0.81 (95% CI 0.52–1.28) Tier II studies.               leagues also examined six other job categories of



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asbestos-exposed workers, all of whom have been found          that for population controls, 1.32. Rather than report
to have developed asbestos-induced mesothelioma or             both results, Wong presented an average OR of 0.87.
other asbestos-related disease in other studies, includ-       Goodman et al. published both ORs but included only
ing workers exposed to asbestos insulation in furnace          the lower average in their meta-analysis.5,6
or boiler installation or repair,35,36 building demoli-            McDonald and McDonald conducted a case–control
tion,37,38 plumbing or heating repair,39,40 elevator instal-   study, published in 1980, examining mesothelioma
lation or repair,41 production of asbestos textiles, and       cases from Canada and the United States.49 Like the
production of paper products.42–45 In contrast to previ-       Woitowitz and Rodelsperger study, this study relied on
ous cohort studies, Hessel et al. found no increased risk      an inappropriate control group; control subjects were
of mesothelioma in workers performing these jobs.              patients in cases diagnosed by pathologists in which
They found elevated odds ratios for shipbuilding and           “pulmonary metastases were present from a non-pul-
repair work (OR 6.04, CI 3.74–9.75) and insulation             monary malignant tumor.”48,49 For example, the con-
work (OR 3.38, CI 2.20–5.17). While elevated, these            trol group may have included patients who had died
odds ratios are orders of magnitude lower than those           from mesothelioma or other asbestos-induced malig-
found in cohort studies of these same two groups. For          nancies such as laryngeal or colon cancer.50,51 The
example, Selikoff found that about 10% of insulators           choice of such controls biased results towards the null.
died from mesothelioma, giving an approximate rate             In addition, the study reviewed occupational status only
ratio of 1,000.46 Thus, unless one is willing to believe       ten years prior to death. Since mesothelioma has a min-
that brake work protects against mesothelioma and              imum latency period of about ten years, this study did
that previous cohort studies of other job categories are       not necessarily address any subject’s most relevant
wrong, Hessel et al. have provided results indicating          exposures. McDonald et al. subsequently compared
that their method biases results to the null and/or            lung-fiber burdens between control and mesothelioma
reverses actual effects of exposure, turning harmful           patients and found no statistically significant difference
exposures into beneficial ones.                                between the amounts of chrysotile, amosite or crocido-
    Teschke et al. used an occupation-classification           lite.52 This is further evidence that controls were not
scheme that may also have biased results towards the           adequately chosen, since they were clearly exposed to
null.47 The authors stated, “In addition, grouping of          as much asbestos as the 99 mesothelioma patients. This
occupations was likely to result in non-differential mis-      misclassification biases the results to the null.
classification, usually biasing risk estimates to the null         Both Wong and Goodman et al. ignore other studies
value.” Wong omitted this critical fact. The study is also     that reveal mesothelioma risk to brake-manufacturing
another example of differential exposure-determina-            workers. Since these authors base their argument for
tion bias—the authors determined exposure histories            lack of risk on fiber length and the general issue of
for 13.6% of controls’ histories of exposure were              whether or not chrysotile can ever cause mesothe-
obtained through next-of-kin interviews, compared              lioma, they are clearly relevant. And while they are also
with 33% of cases. The study also had a higher non-par-        compromised by numerous methodologic and other
ticipation rate among controls, which could lead to            problems, they do show increased rates of mesothe-
selection bias, and interviewers were not blinded to the       lioma in brake manufacturing workers.53,54 Dodson has
case–control status of the interviewee, possibly leading       critiqued the “short fiber” argument elsewhere.55 The
to interviewer bias.                                           risk to brake-manufacturing workers is relevant to the
    The Woitowitz and Rodelsperger study focused               question of risk to brake-repair workers, since the fiber
solely on the issue of a relationship between automo-          used in the manufacture of brakes is the same length as
bile mechanic work and mesothelioma.48 Part of this            that in new brakes. If there is relevance to the short-
study is of no value in determining the relationship           fiber argument at all, it relates to exposures from used
between any asbestos exposure and mesothelioma                 brakes. Brake-repair workers are exposed to fibers from
because the authors used lung cancer patients as con-          both new and used brakes from tooling parts as well as
trols. Exposure status is likely to be similar among the       blow-out of brake-wear dust.
control group and the cases, which would lead to little            In 1982, McDonald and Fry published results of a
discernable difference in risk between the two groups,         study of a Connecticut chrysotile asbestos brake-manu-
despite any real association that may exist between            facturing factory and concluded that, “The failure to
brake work and mesothelioma. Since asbestos exposure           find a single mesothelioma among 1469 deaths in 4738
is a well-known risk factor for lung cancer, any mesothe-      employees of the largest and oldest asbestos factory in
lioma case–control study with lung cancer patients as          the state suggests that chrysotile in the manufacture of
the control group will almost certainly produce results        friction products was not responsible for the prob-
at or below the null. This study demonstrates this effect      lem.”54 In a study of three plants including the Con-
well, since the researchers used “population controls”         necticut plant, McDonald et al. reported “only” 0.4
as well as lung cancer patients as controls. The odds          cases of mesothelioma per 1,000 individuals in
ratio (OR) for “hospital controls” was 0.75, almost half       chrysotile asbestos factories over the course of approx-



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imately 40 years [1/100,000 or 10 per million per year].     had commented on these discrepancies, at least two
They then asserted that, “This finding supports much         other cases of mesothelioma in the plant had been
other evidence that amphibole are mainly responsible         reported on death certificates (see Table 1, cases 1 and
for mesothelioma whereas chrysotile has little or no         2). Both fit the initial cohort definition and the first left
mesothelioma-producing potential.”54 The authors             employment before there was any alleged amphibole
present this evidence, however, without discussing the       use. These cases occurred after the termination date of
expected population rate for comparison. Teta et al.         the McDonald study. We are now aware of at least six
report an expected rate of 2.2 cases per million each        additional mesothelioma cases in workers from the
year for the total population and 4 per million for Con-     plant, four of whom had no other possible exposures to
necticut.56 Comparisons with expected population             asbestos (Table 1). At least four of these cases are
rates are also problematic, since at least half of all       known to the main sponsors of the McDonalds’
mesothelioma cases are caused by occupational expo-          research, since members of the Quebec Asbestos
sures to asbestos. The unexposed expected rate is no         Mining Association (QAMA) were sued by three of
higher than 1 per million.57 For a true comparison to        them. Therefore, there were a total of at least nine
be drawn, it would have to be with only those cases that     mesotheliomas in this factory, which used chrysotile
were not occupational, since the risk of mesothelioma        until 1957 only.‡ Perhaps by unfortunate coincidence,
among automobile mechanics should not be compared            all of these cases occurred before or after the begin-
with the risk of workers in other occupations known to       ning and ending dates of the McDonalds’ studies or the
cause the disease, but with those who were not occupa-       diagnoses were not reported on the death certificates.
tionally exposed. The rate reported by McDonald et al.          Death certificates, in general, are often inadequate
is therefore at least more than double the expected          means of determining a mesothelioma diagnosis, due to
rate. McDonald’s data thus support the claim that            the strong possibility of other related conditions’
chrysotile asbestos causes mesothelioma.                     becoming the primary causes of death (e.g., cardiac
    The McDonalds’ research suffered from other, more        arrest) and because mesothelioma is frequently misdi-
serious problems. In 1983, Teta et al. described find-       agnosed. Mesothelioma was not added as a specific ICD
ings from the state of Connecticut cancer registry and       code until 1968.61 The study was conducted in the
reported three mesothelioma deaths in the same Con-          1970s, mostly examining data from prior decades, in
necticut factory and during the same time frame used         which mesothelioma was a lesser-known disease that was
in the McDonald study.56 One year after the publica-         frequently not accurately diagnosed. In addition, the
tion of Teta’s paper, in 1984, McDonald et al. published     Connecticut registry was an excellent source of data for
their “final” report on the plant. This “final” report,      a comparison of expected and plant rates. To make the
however, did not report the full data from the original      data compatible, the registry should have been used to
cohort, which included both men and women, but               determine the mesothelioma rates for the plant work-
reported data from the male portion of the cohort            ers. Had they done so, McDonald et al. would not have
only.58 Two “missed cases” occurred in women who             missed the two mesothelioma cases that occurred
were members of McDonald’s cohort.59 McDonald et             during their selected observation period. Of course, the
al. reported that they had found not a single case of        most important result of the exposure to chrysotile at
mesothelioma in this plant and failed to mention the         this plant is the death of nine workers from mesothe-
cases Teta cited from the state of Connecticut registry.53   lioma in a population of about 4,500 workers. Although
In their 1982 paper, McDonald and Fry claimed their          the McDonalds et al. stressed the importance of this
data were reliable, in large part due to the existence of    cohort in asserting that chrysotile did not cause
the very same registry. They stated, “The opportunity        mesothelioma, these nine cases provide additional evi-
for recognition of mesotheliomas was also very good at       dence that chrysotile causes mesothelioma.
the chrysotile friction materials plant, as the state of        Despite the fact that Teta is a co-author of one of the
Connecticut has maintained a renowned cancer regis-          brake-manufacturer–funded papers and works for the
ter.”54 Clearly this would hold true only if the authors     company that generated three of these papers, the
had checked the registry prior to the publication of         brake-manufacturer–funded researchers failed to use
their paper; unfortunately, it appears that they had not     any of these studies or data to assess the hazard of expo-
done so.59,60 Teta et al. claim they informed them of the    sure to chrysotile-lined brakes.5,6 Other industry-funded
discrepancy and in 1986 McDonald tried to explain the        researchers have also failed to use this information in
omission away.59 McDonald stated that she and her col-       assessing chrysotile risks. Recently, Crump and Berman
leagues omitted the cases because mesothelioma had           completed a risk assessment for asbestos for the EPA.63
not been indicated on two of the deceaseds’ death cer-       To some extent this was an update of a previous assess-
tificates, the primary measure of outcome in their
study, and that they excluded the third case because he         ‡Some anthophyllite was used beginning in 1957, and about 400
had terminated work prior to the beginning date of           pound of crocidolite were used experimentally in the laboratory
their study.59 However, in 1986, by the time McDonald        from 1964 to 1972.53




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TABLE 1—Mesothelioma Case in a Chrysotile Brake Manufacturing Plant
          Date of       Date of       Raymark    Job                                                        Death Certificate/
          Birth         Diagnosis     Work Dates Description            Other Exposures                     Autopsy
Case 1    5/20/1908     5/21/1980     1926–1937      Office worker      None: no known home                 Left lobar
                                                     Shipping clerk     repair, friction, or additional     pneumonia,
                                                                        occupational exposures.             mesothelioma

Case 2    7/7/1914      9/3/1985      1940–1985      Unknown            Unknown                             Malignant
                                                                                                            mesothelioma

Case 3    4/21/1930     3/24/1994     1983–1984      Unknown            Was also exposed to asbestos        Respiratory
                                                                        in the Navy, and had other          failure,
                                                                        occupational exposures              mesothelioma
                                                                        including EB, American Linen
                                                                        Supply, Upjohn and U.S.
                                                                        Rubber

Case 4    9/15/1918     9/16/1996     1937–1962      Plant worker       None: worked in security and        Respiratory
                                      1970–1968                         sales for other occupations;        failure,
                                                                        no known home repair or             mesothelioma
                                                                        friction exposure

Case 5    10/12/1991 5/24/1999        1940–1941      Carding/           None: truck driver and              Mesothelioma
                                                     spinning           woodworker for other
                                                     room laborer       occupations

Case 6    9/23/1930     3/14/2000     1965–1985      Machine            None: no known home                 Lung cancer
                                                     operator           repair, friction or additional      Autopsy report:
                                                                        occupational exposures              mesothelioma
Based on Lewinsohn’s62 Connecticut expected rate of 4 mesothelioma cases per million, the expected number of cases is 1.4,
observed number is 9; therefore, the RR is 6.4 and p < 0.05.



ment they had done for the Asbestos Information Asso-               exposure in the QAMA studies] to a fibre equivalent can
ciation, an asbestos industry lobby and public relations            have much epidemiological validity.”66
front, in 1984.64 Berman and Crump ignored the pub-
lished mesothelioma cases from the friction plant that              Inadequate Sample Size
McDonald had acknowledged in 1986, and based their
dose–response analysis on the assumption that there                 Because of the broad nature of most of the studies,
were no cases in that plant,                                        examining mesothelioma risks among many different
                                                                    occupational groups, the numbers used by Wong from
  Perhaps the most interesting of the changes                       each study (i.e., the number of garage mechanics in
  between the 1986 KL value estimates and the cur-                  each study) is usually less than 25. Hessel et al. (the high-
  rent KL value estimates involves the friction prod-
                                                                    est-rated study in Goodman et al.’s re-analysis) reports
  ucts plant in Connecticut (McDonald et al. 1984).
                                                                    an OR for brake workers based on only two cases after
  Although a relatively small, positive exposure-
  response was estimated from this study in the 1986                “controlling” for insulation and shipbuilding exposure
  Health Effects Update, the best current estimate is               and on a single case after controlling for all other poten-
  that this is essentially a negative study (no excess risk         tial asbestos exposures. Any conclusions relative to safety
  attributable to asbestos).63                                      based on these tiny sample sizes are reckless.

Teta served as an official reviewer of Berman and                   Use of Inappropriate Control Group
Crump’s paper, and although the omitted cases were
noted in 1983, along with the need for further follow-up            It is extremely difficult to find a comparable control
on this cohort, Teta recommended that the EPA adopt                 group for hospitalized mesothelioma cases. Due to the
the Berman–Crump model before the cohort follow-up                  rarity of the condition, mesothelioma cases are often
was performed.65 The Berman–Crump model did not                     referred to large medical centers. Some hospital con-
incorporate these 1983 data, and we have reported our               trols who do not have “rare” diseases will not reflect the
partial follow-up of this population in this paper.                 true demographics of the desired denominator popu-
Berman and Crump also relied on dose estimates from                 lation. Patients with mesothelioma are often referred
QAMA studies about which the authors themselves                     from rural or suburban to urban hospitals for diagno-
stated, “It remains doubtful, however, whether conver-              sis or treatment. Patients from these urban environ-
sion [of particle dose estimates, the only measure of               ments are likely to be overrepresented in the control



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group and are more likely to have been exposed to             individuals pulled from larger studies, from which
brakes than the rural or suburban neighbors of the            Wong reports risk ratios to support his argument, lack
cases (controls that more accurately reflect the demo-        statistical power as well as epidemiologic meaning due
graphics of the cases). This effect helps explain how all     to the large amount of potential bias. The meta-analyses
but one of the studies Wong and Goodman et al. ana-           begin to the address the problem of a lack of statistical
lyzed found that brake work reduced the risk of the           power. However, since the data used for the analysis are
development of mesothelioma.                                  handpicked from the literature to the exclusion of con-
                                                              trary evidence, and those that are included are likely to
Misuse of Confidence Intervals                                suffer from various types of bias, the results reported are
                                                              not reliable. Until prospective cohort studies specifically
Almost all of the studies reviewed report confidence          designed to determine asbestos exposure from brake-
intervals that include a rate ratio greater than one.5,6      lining installation and repair are conducted, definite
When risk ratios are being calculated on small samples,       conclusions about the magnitude of this risk cannot be
point estimates cannot be considered particularly accu-       made. It is clear that a risk exists.25
rate, and examination of confidence intervals is more            Moreover, the entire argument addressed by these
important in determining risk. Wong and Goodman et            analyses, regarding the risks of chrysotile, is specious in
al., however, mention these confidence intervals only in      light of the following undisputed facts:
passing and base their entire analysis on point estimates.
                                                              1. Chrysotile causes lung cancer.72
DISCUSSION                                                    2. Chrysotile causes asbestosis.72–74
                                                              3. Chrysotile used in the United States is contami-
Despite the clear methodologic problems with the above-          nated with tremolite—an amphibole.75
mentioned studies used in their meta-analyses, Goodman        4. Products made from chrysotile contain tremolite.76
et al. and Wong present them as unquestionable evi-           5. Chrysotile is concentrated in the pleura.77
dence of the absence of an association between brake          6. Populations with mixed exposures to amphiboles
work and mesothelioma.5,6 None of the studies used was           and chrysotile have double the rate of mesothe-
designed specifically to examine this association, bring-        lioma of those exposed to amphibole alone.78–80
ing in the possibility that unknown confounders could be      7. Brake-repair workers get substantial airborne
at play. Despite this, Wong presents the studies under the       asbestos exposures from grinding brake and clutch
heading of “Epidemiologic Studies of Mesothelioma                parts and blowing out dust from brake assemblies.25
among Auto Mechanics” and Goodman et al. title their
paper, “Mesothelioma and Lung Cancer among Motor              Almost all brake workers have had some exposure to
Vehicle Mechanics: A Meta-analysis.” As we have shown, a      amphibole with, or as well as, chrysotile. Thus, even if
study that is not designed specifically to determine brake-   chrysotile alone is not a cause of mesothelioma it acts
work exposure is likely to be fraught with bias due to the    synergistically with amphiboles to increase the inci-
complexity of exposure determination.                         dence of this cancer.
   The World Trade Organization issued a ruling on
the matter in September 2000, after extensive expert          CONCLUSION
testimony led to a conclusion that chrysotile asbestos
does produce a real risk of mesothelioma to mechan-           The methods utilized by the asbestos and related indus-
ics.67 The ruling allowed European countries to ban the       tries—the redefinition of scientific criteria for deter-
use of asbestos-containing brakes. Both papers omit           mining cause–effect relationships and the manipula-
this information as well.                                     tion of scientific data and scientific inferences—have
   After publication of Wong’s paper but before the pub-      obscured the true picture regarding asbestos exposure
lication of that of Goodman et al., considerable evidence     and mesothelioma. In contrast to their experts’ opin-
emerged from studies conducted in Australia by Leigh et       ions, the relationship between exposure to asbestos
al. supporting an association between automobile              and mesothelioma has long since been recognized by
mechanic work and mesothelioma. Of the approximately          the brake-industry executives who retained Goodman
6,000 individuals in Australia’s extensive mesothelioma       et al. and Wong.5,6 In his 1973 private presidential
death registry, 1.2% were automobile mechanics.68–70 For      address to brake manufacturers, Ike Weaver, the Chair-
many, the only source of asbestos exposure was brake-         man of the Asbestos Study Committee of the Friction
lining repair.68,69 In a number of individuals examined,      Materials Standards Institute, an industry trade organi-
only chrysotile asbestos fibers were found, indicating that   zation, noted the importance of this phenomenon:
chrysotile exposure alone can cause malignancy.69
   On the whole, Wong and Goodman et al. fail to ade-           I know of no way any of us can be absolutely sure
quately address the issue of the relationship between           that his friction products, regardless of whether they
brake work and mesothelioma. The small numbers of               are sold as original equipment or on the replace-



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   if operations are performed without controls.81                          cial District, in re: asbestos litigation brake hearing. January 20,
                                                                            2004.
                                                                        14. For Appellees: Lynne Liberto, Houston, TX, Hector H. Carde-
Despite the secret industry acknowledgement of risk                         nas, Austin, TX, R. O. Faulk, Houston, TX, and For Appellants:
and high exposures, Goodman et al. and Wong manip-                          Richard H. Cardenas, Austin TX. Virginia Hernandez Frias,
ulate epidemiologic science to conclude that exposure                       Individually, and as next friend of Nicholas Brian Frias and
                                                                            Thomas Isaac Frias, George Anthony Frias, Jesse Valentin Frias,
to asbestos from brakes does not induce asbestos-                           Steven Simon Frias, Carlos Jesus Frias, Christina Mejia, and Jose
related malignancies. As we and others have noted,                          Manuel Galvan, as representative of the estate of Jesus Valentin
absence of evidence is not evidence of absence; in                          Frias, Appellants v. Atlantic Richfield Company, Lyondell Petrochemi-
                                                                            cal Company, and Lyondell-Citgo Refining Company Ltd., Appellees.
other words, failing to find an association does not pro-                   2005. 104 S.W.3d 925; 2003 Tex. App. LEXIS 4115, Court of
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        ABUSIVE LITIGATION: WHEN YOUR ABUSER EXPLOITS THE LEGAL SYSTEM

        Updated January 2021
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        What Is “Abusive Litigation”?

        Abusive litigation is when someone uses the legal system to take power and control over you. It is common in domestic violence cases.

        Even if you have left your abuser, he or she can cause psychological, emotional, and financial harm by taking you—and even your friends and relatives
        —to court again and again.



        What Counts as Abusive Litigation?

        Abusive litigation can come up in several types of cases, including family law, protection orders, and unnecessary ("frivolous") lawsuits.

        Common forms of abusive litigation are:
           Filing for protection orders against you and/or your friends or family.
           Starting custody battles.
           Filing contempt motions against you for no reason.
           Describing you as an unfit parent and/or requesting mental health evaluations.
           Filing unnecessary ("frivolous") motions, appeals, motions for revision, or motions for reconsideration, forcing you back into court.
           Trying to bring closed cases back into court (“relitigate”).
           Trying to relitigate in different courts (switching jurisdictions).
           Using the court's discovery requests and/or using the discovery process to bring up embarrassing or irrelevant information about you, and/or taking
           up a lot of your time and money with large discovery requests.
           Dragging out court hearings, harming you financially and/or emotionally.
           Refusing to obey court orders, forcing you to spend time and money to enforce the orders.

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             Threatening to report you to immigration authorities.
             Making false reports to Child Protective Services (CPS).
             Falsely claiming you abuse drugs or alcohol.
             Suing you for reporting abuse.
             Suing or threatening to sue anyone who helps you, including family, friends, advocates, attorneys, and law enforcement officers.
             Filing complaints against the judge or your lawyer.



        Can Abusive Litigation Be Stopped?

        Judges can help stop abusive litigation with a specific court order: Order Restricting Abusive Litigation.

        The Order Restricting Abusive Litigation can:
           Prohibit abusive litigants from filing new lawsuits without the court's authorization.
           Limit the number of allowable court filings.
           Limit the scope of discovery.
           Require abusive litigants to post a bond for lawyers’ fees.
           Impose sanctions.
           Impose conditions on—or prohibit—appeals.



        What Can I Do to Make It Stop?

        If you are experiencing abusive litigation, notify the court and ask the court to take action. You or your lawyer can file a Motion to Restrict Abusive
        Litigation along with a proposed Order on Motion to Restrict Abusive Litigation. See Resources below for links to these forms.

        If the judge is not familiar with abusive litigation, you may want to refer him or her to “Abusive Litigation and Domestic Violence Survivors,” Appendix H
        in the Domestic Violence Manual for Judges. It has extensive information about this topic. Family Law judges should have this manual. See Resources
        below.



        Resources
             "Abusive Litigation and Domestic Violence Survivors,” by Legal Voice (Appendix H of the Domestic Violence Manual for Judges)

             Court forms
                Motion to Restrict Abusive Litigation
                Order on Motion to Restrict Abusive Litigation

             Related Publications from Legal Voice
                How to Find a Lawyer and Other Legal Resources in Washington State
                How to Protect Your Privacy in Court Files


             Washington State law: RCW 26.51, Abusive Litigation – Domestic Violence




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Emotional blackmail
Emotional blackmail and FOG are terms, popularized by psychotherapist Susan Forward, about controlling people in relationships and
the theory that fear, obligation and guilt (FOG) are the transactional dynamics at play between the controller and the person being
controlled. Understanding these dynamics is useful to anyone trying to extricate oneself from the controlling behavior of another person
and deal with their own compulsions to do things that are uncomfortable, undesirable, burdensome, or self-sacrificing for others.[1]



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General


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The first documented use of "emotional blackmail" appeared in 1947 in the Journal of the National Association of Deans of Women in the
article "Emotional Blackmail Climate". The term was used to describe one type of problematic classroom control model often used by
teachers.[2] Esther Vilar, an Argentine physician, also used the term "emotional blackmail" in the early 1970s to describe a parenting
strategy observed among some mothers with multiple children.[3]

Emotional blackmail typically involves two people who have established a close personal or intimate relationship (parent and child,
spouses, siblings, or two close friends).[4] Children, too, will employ special pleading and emotional blackmail to promote their own
interests, and self-development, within the family system.[5]

Emotional blackmailers use fear, obligation and guilt in their relationships, ensuring that others feel afraid to cross them, obligated to give
them their way and swamped by guilt if they resist. Knowing that someone close to them wants love, approval or confirmation of identity
and self-esteem, blackmailers may threaten to withhold them (e.g., withhold love) or take them away altogether, making the second person
feel they must earn them by agreement.[6] Fear, obligation or guilt is commonly referred to as "FOG". FOG is a contrived acronym—a play
on the word "fog" which describes something that obscures and confuses a situation or someone's thought processes.

The person who is acting in a controlling way often wants something from the other person that is legitimate to want. They may want to
feel loved, safe, valuable, appreciated, supported, needed, etc. This is not the problem. The problem is often more a matter of how they are
going about getting what they want, or that they are insensitive to others' needs in doing so that is troubling—and how others react to all of
this.[1]

Under pressure, one may become a sort of hostage, forced to act under pressure of the threat of responsibility for the other's breakdown.[7]
One could fall into a pattern of letting the blackmailer control his/her decisions and behavior, lost in what Doris Lessing described as "a
sort of psychological fog".[8]

Types
Forward and Frazier identify four blackmail types each with their own mental manipulation style:[9]

            Type                                                    Example

  Punisher's threat        Eat the food I cooked for you or I'll hurt you.

  Self-punisher's threat   Eat the food I cooked for you or I'll hurt myself.

  Sufferer's threat        Eat the food I cooked for you. I was saving it for myself. I wonder what will happen now.

  Tantalizer's threat      Eat the food I cooked for you and you just may get a really yummy dessert.


 There are different levels of demands—demands that are of little consequence, demands that involve important issues or personal
 integrity, demands that affect major life decisions, and/or demands that are dangerous or illegal.[1]
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Patterns and characteristics

Addictions
Addicts often believe that being in control is how to achieve success and happiness in life. People who follow this rule use it as a survival
skill, having usually learned it in childhood. As long as they make the rules, no one can back them into a corner with their feelings.[10]


Mental illness

People with certain mental conditions are predisposed to controlling behavior including those with paranoid personality disorder,[11]
borderline personality disorder,[12] and narcissistic personality disorder.[13]

People with borderline personality disorder are particularly likely to use emotional blackmail[12] (as too are destructive narcissists).[13]
However, their actions may be impulsive and driven by fear and a desperate sense of hopelessness, rather than being the product of any
conscious plan.[14]


Codependency
Codependency often involves placing a lower priority on one's own needs, while being excessively preoccupied with the needs of others.
Codependency can occur in any type of relationship, including family, work, friendship, and also romantic, peer or community
relationships.[15]


Affluenza and children
Affluenza—the status insecurity derived from obsessively keeping up with the Joneses—has been linked by Oliver James to a pattern of
childhood training whereby sufferers were "subjected to a form of emotional blackmail as toddlers. Their mothers' love becomes
conditional on exhibiting behaviour that achieved parental goals."[16]


Assertiveness training
Assertiveness training encourages people to not engage in fruitless back-and-forths or power struggles with the emotional blackmailer but
instead to repeat a neutral statement, such as "I can see how you feel that way," or, if pressured to eat, say "No thank you, I'm not hungry."
They are taught to keep their statements within certain boundaries in order not to capitulate to coercive nagging, emotional blackmail, or

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    bullying.[17]

    Recovery
    抵制情感敲诈的技巧包括加强人际界限，抵制需求，制定权力声明（决心承受压力）以及花时间打破旧模式。重新连接勒索者已否决的自我
    自治部分不一定很容易。[9]即使您承认内as是诱发性和非理性的，也可能基于情感敲诈而感到内；[18]但仍然能够抵制过度补偿，并忽略勒
    索者发脾气而引起注意的企图。[19]

    但是，以友好的方式始终不理会这种操纵可能会导致操纵的加剧和分离的威胁，[20]或被指控为“疯狂”或“家庭破坏者”。[9]

    文化实例
          安吉拉·卡特（Angela Carter）将《美女与野兽》描述为美化了野兽方面的情感敲诈，以此来控制自己的目标美女。[21]
          小说家多丽丝·莱辛（Doris Lessing）声称：“到五岁时，我就成为了勒索的专家。” [22]


    批评
    丹尼尔·米勒（Daniel Miller）反对，在通俗心理学中，情感勒索的想法已被滥用为抵制任何形式的同情或对他人的考虑的辩护。[23]

    用诸如“勒索”和“操纵”之类的煽动性术语来标记这种动态可能没有什么用处，因为它既是两极分化的，又意味着预谋和恶意，通常不是这种
    情况。控制行为和被控制是两个人之间的交易，两者都在起作用。[1]

    另请参阅
          滥用权力与控制权                                                                           家庭关系
          诉诸情感                                                                               内trip之旅
          相互依存                                                                               智力游戏
          强制说服                                                                               劝说
          双重约束                                                                               惩罚（心理学）


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Obfuscation
Obfuscation is the obscuring of the intended meaning of communication by making the message difficult to understand, usually with
confusing and ambiguous language. The obfuscation might be either unintentional or intentional (although intent usually is connoted),
and is accomplished with circumlocution (talking around the subject), the use of jargon (technical language of a profession), and the use of
an argot (ingroup language) of limited communicative value to outsiders.[1]

In expository writing, unintentional obfuscation usually occurs in draft documents, at the beginning of composition; such obfuscation is
illuminated with critical thinking and editorial revision, either by the writer or by an editor. Etymologically, the word obfuscation derives
from the Latin obfuscatio, from obfuscāre (to darken); synonyms include the words beclouding and abstrusity.



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Background
 Doctors are faulted for using jargon to conceal unpleasant facts from a patient; the American author and physician Michael Crichton said
 that medical writing is a "highly skilled, calculated attempt to confuse the reader". The psychologist B. F. Skinner said that medical
 notation is a form of multiple audience control, which allows the doctor to communicate to the pharmacist things which the patient might
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oppose if they could understand medical jargon.[2]

Eschew
"Eschew obfuscation", also stated as "eschew obfuscation, espouse elucidation", is a humorous fumblerule used by English teachers and
professors when lecturing about proper writing techniques. Literally, the phrase means "avoid being unclear" or "avoid being unclear,
support being clear", but the use of relatively uncommon words causes confusion in much of the audience (those lacking the vocabulary),
making the statement an example of irony, and more precisely a heterological phrase. The phrase has appeared in print at least as early as
1959, when it was used as a section heading in a NASA document.[3]

An earlier similar phrase appears in Mark Twain's Fenimore Cooper's Literary Offenses, where he lists rule fourteen of good writing as
"eschew surplusage".


Secure communication
Obfuscation of oral or written communication achieves a degree of secure communication without a need to rely upon technology. This
technique is sometimes referred to as "talking around" and is a form of security through obscurity.

A notable example of obfuscation of written communication is a message sent by September 11 attacks ringleader Mohamed Atta to other
conspirators prior to the attacks occurring:[4]


        The semester begins in three more weeks. We've obtained 19 confirmations for studies in the faculty of law, the faculty of urban
        planning, the faculty of fine arts and the faculty of engineering.

            — Mohamed Atta

In this obfuscated message, the following code words are believed to exist:[5]

     "semester" refers to planned September 11 attacks
     "three more weeks" refers to the date when the attacks are scheduled
     "19 confirmations" refers to the Hijackers in the September 11 attacks
     "faculty of law" refers to a target, the United States Capitol
     "faculty of urban planning" refers to a target, the World Trade Center
     "faculty of fine arts" refers to a target, the White House
       "faculty of engineering" refers to a target, The Pentagon
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Within the illegal drug trade, obfuscation is commonly used in communication to hide the occurrence of drug trafficking. A notable
example is the use of "420" as a code word to refer to cannabis consumption, an activity which despite legalisation changes, was once
illegal in most jurisdictions. The Drug Enforcement Administration reported in July 2018 a total of 353 different code words used for
cannabis.[6]

White box cryptography
In white-box cryptography, obfuscation refers to the protection of cryptographic keys from extraction when they are under the control of
the adversary, e.g., as part of a DRM scheme.[7]

Network security
In network security, obfuscation refers to methods used to obscure an attack payload from inspection by network protection systems.

In popular culture
      In Animal Farm, the pigs such as Squealer and Snowball use obfuscation to confuse the other animals with doublespeak in
      order to prevent any uprisings.


See also
      Black box                                                          Obfuscated code
      Cant (language)                                                    Plain English
      Code word (figure of speech)                                       Politics and the English Language
      Doublespeak                                                        Propaganda
      Fallacy of quoting out of context                                  Steganography
      Fuzzy concept                                                      Verbosity
      Mind games


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Victim playing
Victim playing (also known as playing the victim, victim card, or self-victimization) is the fabrication or
exaggeration of victimhood for a variety of reasons such as to justify abuse of others, to manipulate others, a
coping strategy, attention seeking or diffusion of responsibility. A person who repeatedly does this is known as
a 'professional victim'.



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For abuse
Victim playing by abusers is either:[1][2]

    Dehumanization, diverting attention away from acts of abuse by claiming that the abuse was
    justified based on another person's bad behavior (typically the victim).
    Grooming for abusive power and control by soliciting sympathy from others in order to gain their
    assistance in supporting or enabling the abuse of a victim (known as proxy abuse).

It is common for abusers to engage in victim playing. This serves two purposes:

    Justification, to themselves, in transactional analysis known as existential validation, as a way
    of dealing with the cognitive dissonance that results from inconsistencies between the way they
    treat others and what they believe about themselves.
    Justification to others as a strategy of evading or deflecting harsh judgment or condemnation
    they may fear from others.


For manipulation
Manipulators often play the victim role ("woe is me") by portraying themselves as victims of circumstances or
someone else's behavior in order to gain pity or sympathy or to evoke compassion and thereby get something
from someone. Caring and conscientious people cannot stand to see anyone suffering, and the manipulator
often finds it easy and rewarding to play on sympathy to get cooperation.[3]




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    While portraying oneself as a victim can be highly successful in obtaining goals over the short-term, this
    method tends to be less successful over time:

          Victims’ talent for high drama draws people to them like moths to a flame. Their permanent
          dire state brings out the altruistic motives in others. It is difficult to ignore constant cries for
          help. In most instances, however, the help given is of short duration. And like moths in a
          flame, helpers quickly get burned; nothing seems to work to alleviate the victims’ miserable
          situation; there is no movement for the better. Any efforts rescuers make are ignored, belittled,
          or met with hostility. No wonder that the rescuers become increasingly frustrated — and walk
          away.[4]


    Other goals
    Victim playing is also:

        An attention seeking technique (see for example Münchausen syndrome).


    In corporate life
    The language of "victim playing" has entered modern corporate life, as a potential weapon of all
    professionals.[5] To define victim-players as dishonest may be an empowering response;[6] as too may be
    awareness of how childhood boundary issues can underlie the tactic.[7]

    In the hustle of office politics, the term may however be abused so as to penalize the legitimate victim of
    injustice, as well as the role-player.

    Underlying psychology
    Transactional analysis distinguishes real victims from those who adopt the role in bad faith, ignoring their own
    capacities to improve their situation.[8] Among the predictable interpersonal "games" psychiatrist Eric Berne
    identified as common among by victim-players are "Look How Hard I've Tried" and "Wooden Leg".[9]

    R. D. Laing considered that "it will be difficult in practice to determine whether or to what extent a
    relationship is collusive" – when "the one person is predominantly the passive 'victim'",[10] and when they are
    merely playing the victim. The problem is intensified once a pattern of victimization has been internalised,
    perhaps in the form of a double bind.[11]

    Object relations theory has explored the way possession by a false self can create a permanent sense of
    victimisation[12] – a sense of always being in the hands of an external fate.[13]

    To break the hold of the negative complex, and to escape the passivity of victimhood, requires taking
    responsibility for one's own desires and long-term actions.[14]


    See also
        Abusive power and control                                Causation (law)
        Abuse defense                                            Cognitive distortion
        Blame                                                    Contributory negligence
        Buck passing                                             Determinism
        Causality                                                Emotional blackmail


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    Exaggeration                                                 Rachel Dolezal § Police reports about
    Gaslighting                                                  alleged hate crimes
    Guilt trip                                                   Self blame
    Identified patient                                           Sob story
    Karpman drama triangle                                       Spoilt Rotten
    Learned helplessness                                         Victim blaming
    Let the Wookiee win                                          Victim feminism
    Mind games                                                   Victim mentality
    Necessity defense (New York)                                 Victimisation
    Persecutory delusion                                         Victimology


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Victim mentality
Victim mentality is an acquired personality trait in which a person tends to recognize or consider themselves
as a victim of the negative actions of others, and to behave as if this were the case in the face of contrary
evidence of such circumstances. Victim mentality depends on clear thought processes and attribution. In some
cases, those with a victim mentality have in fact been the victim of wrongdoing by others or have otherwise
suffered misfortune through no fault of their own. However, such misfortune does not necessarily imply that
one will respond by developing a pervasive and universal victim mentality where one frequently or constantly
perceives oneself to be a victim.[1]

The term is also used in reference to the tendency for blaming one's misfortunes on somebody else's misdeeds,
which is also referred to as victimism.[2][3]

Victim mentality is primarily developed, for example, from family members and situations during childhood.
Similarly, criminals often engage in victim thinking, believing themselves to be moral and engaging in crime
only as a reaction to an immoral world and furthermore feeling that authorities are unfairly singling them out
for persecution.[4]



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Foundations
In the most general sense, a victim is anyone who experiences injury, loss, or misfortune as a result of some
event or series of events.[5] This negative experience, however, is insufficient for the emergence of a sense of
victimhood. Individuals may identify as a victim[1] if they believe that:

    they were harmed;
    they were not the cause of the occurrence of the harmful act;
    they were under no obligation to prevent the harm;
    the harm constituted an injustice in that it violated their rights (if inflicted by a person), or they
    possessed qualities (e.g., strength or goodness of character) making them persons whom that
    harm did not befit;
    they deserve sympathy.[6]


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The desire for empathy is crucial in that the mere experience of a harmful event is not enough for the
emergence of the sense of being a victim. In order to have this sense, there is the need to perceive the harm as
undeserved, unjust and immoral, an act that could not be prevented by the victim. The need to obtain empathy
and understanding can then emerge.[7]

Individuals harbouring a victim mentality would believe that:[1]

    their lives are a series of challenges directly aimed at them;
    most aspects of life are negative and beyond their control;
    because of the challenges in their lives, they deserve sympathy;
    as they have little power to change things, little action should be taken to improve their
    problems.

Victim mentality is often the product of violence. Those who have it usually had an experiences of crisis or
trauma at its roots.[8] In essence, it is a method of avoiding responsibility and criticism, receiving attention and
compassion, and evading feelings of genuine anger.


Features
A victim mentality may manifest itself in a range of different behaviours or ways of thinking and talking:

    Identifying others as the cause for an undesired situation and denying a personal responsibility
    for one's own life or circumstances.[9]
    Exhibiting heightened attention levels (hypervigilance) when in the presence of others.
    Awareness of negative intentions of other people.
    Believing that other people are generally more fortunate.
    Gaining relief from feeling pity for oneself or receiving sympathy from others.

It has been typically characterized by attitudes of pessimism, self-pity, and repressed anger.[10] People with
victim mentality may develop convincing and sophisticated explanations in support of such ideas, which they
then use to explain to themselves and others of their situation.

People with victim mentality may also be generally:

    exhibiting a general tendency to realistically perceive a situation; yet may lack an awareness or
    curiosity about the root of actual powerlessness in a situation[11]
    introspective
    likely to display entitlement and selfishness.[12]
    defensive: In conversation, reading a negative intention into a neutral question and reacting
    with a corresponding accusation, hindering the collective solution of problems by recognizing
    the inherent conflict.
    categorizing: tending to divide people into "good" and "bad" with no gray zone between
    them.[9]
    unadventurous: generally unwilling to take even small and calculated risks; exaggerating the
    importance or likelihood of possible negative outcomes.
    exhibiting learned helplessness: underestimating one's ability or influence in a given situation;
    feeling powerless.
    self-abasing: Putting oneself down even further than others are doing.

A victim mentality may be reflected by linguistic markers or habits, such as pretending


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    not to be able to do something ("I can't..."),
    not to have choices ("I must...", "I have no choice..."), or
    epistemological humility ("I don't know").

Other features of a victim mentality include:[13]

    Need for recognition – the desire for individuals to have their victimhood recognized and
    affirmed by others. This recognition helps reaffirm positive basic assumptions held by the
    individual about themselves, others and the world in general. This also implies that offenders
    recognize their wrongdoing. At a collective level this can encourage people to have a positive
    well-being with regards to traumatic events and to encourage conciliatory attitudes in group
    conflicts.
    Moral elitism – the perception of the moral superiority of the self and the immorality of the other
    side, at both individual and group levels. At an individual level this tends to involve a "black
    and white" view of morality and the actions of individuals. The individual denies their own
    aggressiveness and sees the self as weak and persecuted by the morally impure, while the
    other person is seen as threatening, persecuting and immoral, preserving the image of a
    morally pure self. At a collective level, moral elitism means that groups emphasize the harm
    inflicted on them, while also seeing themselves as morally superior. This also means that
    individuals see their own violence as justified and moral, while the outgroup's violence is
    unjustified and morally wrong.
    Lack of empathy – because individuals are concerned with their own suffering, they tend to be
    unwilling to divert interest to the suffering of others. They will either ignore the suffering others
    or act more selfishly. At the collective level, groups preoccupied with their own victimhood are
    unwilling to see the outgroup's perspective and show less empathy to their adversaries, while
    being less likely to accept responsibility for harms they commit. This results in the group being
    collectively egoistic.
    Rumination – victims tend to focus attention on their distress and its causes and consequences
    rather than solutions. This causes aggression in response to insults or threats and decreases a
    desire for forgiveness by including a desire for revenge against the perpetrator. Similar
    dynamics play out at the collective level.


Victims of abuse and manipulation
Victims of abuse and manipulation often get trapped into a self-image of victimisation. The psychological
profile of victimisation includes a pervasive sense of helplessness, passivity, loss of control, pessimism,
negative thinking, strong feelings of guilt, shame, self-blame and depression. This way of thinking can lead to
hopelessness and despair.[14] It may take a long period of time for therapists to build a trusting relationship
with a victim. There frequently exists a distrust of authority figures, and the expectation of being hurt or
exploited.[15]

Breaking out
In 2005, a study led by psychologist Charles R. Snyder indicated that if a victim mentality sufferer forgives
themself or the situation leading to that mental state, symptoms of PTSD or hostility can be mediated.[16]

For adolescent victims, group support and psychodrama techniques can help people gain a realistic view of
past traumas. These techniques emphasis the victims' feelings and expressing those feelings. Support groups
are useful in allowing others to practice assertiveness techniques, and warmly supporting others in the
process.[17]




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Successful identified techniques have included therapeutic teaching methods regarding concepts of normative
decision theory, emotional intelligence, cognitive therapy, and psychological locus of control. These methods
have proven helpful in allowing individuals with a victim mentality mindset to both recognize and release the
mindset.[18]

Trauma and victimhood
Trauma can undermine individual's assumptions about the world as a just and reasonable place and scientific
studies have found that validation of trauma is important for therapeutic recovery. It is normal for victims to
want perpetrators to take responsibility for their wrongdoing and studies conducted on patients and therapists
indicate that they consider the validation of trauma and victimization as important for therapeutic recovery.[19]
De Lint and Marmo identify an 'antivictimism' mentality existing within society as a whole, and those who
choose to use the label victim mentality. Expecting individuals to only be "true victims" by showing fortitude
and refusing to show pain, with displays of pain being seen as a sign of weakness. This will create an
environment where a victim in expected to share their emotions, only to be judged or displaying them.[20]:55

Victimology has studied the perceptions of victims from sociological and psychological perspective. People
who are victims of crime have a complicated relationship with the label of victim, they may feel that they are
required to accept it to receive aid or for legal processes; they may feel accepting the label is necessary to avoid
blame; they may want to reject it to avoid stigmatization, or give themselves a sense of agency; they may
accept the label due to a desire for justice rather than sympathy. There can be a false dichotomy between the
roles victim and survivor which either does not acknowledge the agency that victims exerted (for example
leaving abusers) or the fact that others behaviour caused them harm.[21]

Politics
One may consider collective victimhood in political settings. If the leaders of a country, and the citizens who
support them, collectively feel like victims, those leaders may be more likely to advocate violent conflict
resolution or suppression of freedom of speech.

Political psychologists Bar-Tal and Chernyak-Hai write that collective victim mentality develops from a
progression of self-realization, social recognition, and eventual attempts to maintain victimhood status.[22]

See also
    Blame
    DARVO
    Learned helplessness
    Mindset
    Moral agency
    Persecutory delusion
    Social justice warrior
    Victim blaming
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    label → result of Social Recognition of an act as illegitimate harm (3) Individuals Perceive
    Themselves as Victims → often attempt to maintain this status


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About Abuse

Litigation Abuse




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Updated: September 4, 2019

Once someone separates from an abusive spouse/partner, the abuser may try to keep power and control over the victim by misusing the
court system against the victim. For example, filing repeated petitions or motions, requesting many adjournments, appealing the judge’s
orders without a legal basis to do so, or taking other actions that make the victim repeatedly come to court. Sometimes this type of behavior
is called “litigation abuse.”

Unfortunately, litigation abuse is challenging to deal with because it is hard to limit someone’s right to file in court. If you are facing litigation
abuse, you may want to try proving to the judge that the cases the abuser keeps bringing are not based on a good reason (without merit)
and are filed instead to harass you. Sometimes, a judge may issue an order that will help to limit the litigation abuse or its effects by:

        ordering the party bringing the excessive motions to pay your court costs and attorney’s fees;
        ordering the party who files meaningless motions to reimburse your lost wages and other expenses caused by having to repeatedly
        come to court;
        excusing you from appearing at court hearings or letting you appear by telephone;
        ordering that no motions or petitions can be filed, or that no court appearances may be scheduled, without the judge’s prior approval;
        or
        denying adjournment requests for excessive or unnecessary delay.

Litigation abuse often takes place in divorces or other complex court cases that allow discovery, which is the exchange of documents and
information between the parties before trial. To read more about litigation abuse during the discovery process, go to What if the abuser is
using discovery as an abuse tactic? in our Preparing for Court - By Yourself section.

Another possible way that you may prevent an abuser from continuing to take you to court is by filing a motion asking that the abuser be
ordered to pay your attorney’s fees each and every time the abuser loses the motion, petition, or other case brought against you.
Sometimes, this sort of financial penalty can be enough of an incentive to discourage multiple lawsuits. Hopefully a lawyer can walk you
through the process of filing such a motion to the judge to make these sort of requests, if this is something you want to do.

We link to free and paid lawyers on our Finding a Lawyer page if you want to get specific advice about your situation.

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                    Love, lies and…fraud? Understanding civil fraud
                    lawsuits
                    Fraud can be either a criminal or civil matter — or even both — depending on the circumstances and parties
                    involved. However, just because someone feels deceived, that doesn’t necessarily rise to the level of legal
                    fraud.

                    Take, for example, the recent lawsuit led by a jilted lover after his girlfriend eventually rejected him and
                    moved on to another. In response, the man led a civil lawsuit, alleging a type of fraud known as “false
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                representation.”

                Essentially, his complaint alleged that he’d spent a considerable amount of money on her over their year-long
                romance with the expectation that they would eventually be a permanent couple — despite the fact that they
                were both married to other people (a fact the woman was open about but he somehow neglected to mention).

                Legal fraud by false representation is essentially a lie designed to get something out of someone else. A
                person who relies on that false representation to his or her detriment may have a valid personal injury claim
                if:

                      The lie was either intentional or the result of willful ignorance
                      The person telling the lie fully intended it to be taken seriously and wanted the listener to believe it was the
                      truth
                      The lie caused true physical or nancial harm.

                While emotional losses may eventually gure into any compensation, emotional losses alone aren’t usually
                enough for a successful civil lawsuit.

                In the case mentioned above, it seems clear that the woman was honest about her interest in the man at the
                time. Although he did spend a lot of money on gifts and trips for her, she was hesitant to accept and he
                frequently insisted that the money wasn’t much to him because of his level of wealth. He referred to the
                thousands of dollars he’d spent as “pennies” in his mind.

                When their relationship soured, the woman didn’t continue to tell him she was still in love — she quickly broke
                it off. Additionally, she ultimately did end her marriage and move on — just with someone else.




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                Rather predictably, the court rejected the jilted lover’s lawsuit and his appeal. However, there’s as much to be
                learned from failed lawsuits as there are from those that are successful. Understanding why a personal injury
                lawsuit doesn’t succeed can help you avoid the same errors.

                A personal injury attorney can help you if you’ve been the victim of fraud.

                Source: CityPages, “Jilted Minnesota man sues ex-girlfriend for ‘fraud’ after paying for trips to Vegas,
                Cancun,” Susan Du, Aug. 23, 2017
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Emotional blackmail
Emotional blackmail and FOG are terms, popularized by psychotherapist Susan Forward, about controlling people in relationships and
the theory that fear, obligation and guilt (FOG) are the transactional dynamics at play between the controller and the person being
controlled. Understanding these dynamics is useful to anyone trying to extricate oneself from the controlling behavior of another person
and deal with their own compulsions to do things that are uncomfortable, undesirable, burdensome, or self-sacrificing for others.[1]



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The first documented use of "emotional blackmail" appeared in 1947 in the Journal of the National Association of Deans of Women in the
article "Emotional Blackmail Climate". The term was used to describe one type of problematic classroom control model often used by
teachers.[2] Esther Vilar, an Argentine physician, also used the term "emotional blackmail" in the early 1970s to describe a parenting
strategy observed among some mothers with multiple children.[3]

Emotional blackmail typically involves two people who have established a close personal or intimate relationship (parent and child,
spouses, siblings, or two close friends).[4] Children, too, will employ special pleading and emotional blackmail to promote their own
interests, and self-development, within the family system.[5]

Emotional blackmailers use fear, obligation and guilt in their relationships, ensuring that others feel afraid to cross them, obligated to give
them their way and swamped by guilt if they resist. Knowing that someone close to them wants love, approval or confirmation of identity
and self-esteem, blackmailers may threaten to withhold them (e.g., withhold love) or take them away altogether, making the second person
feel they must earn them by agreement.[6] Fear, obligation or guilt is commonly referred to as "FOG". FOG is a contrived acronym—a play
on the word "fog" which describes something that obscures and confuses a situation or someone's thought processes.

The person who is acting in a controlling way often wants something from the other person that is legitimate to want. They may want to
feel loved, safe, valuable, appreciated, supported, needed, etc. This is not the problem. The problem is often more a matter of how they are
going about getting what they want, or that they are insensitive to others' needs in doing so that is troubling—and how others react to all of
this.[1]

Under pressure, one may become a sort of hostage, forced to act under pressure of the threat of responsibility for the other's breakdown.[7]
One could fall into a pattern of letting the blackmailer control his/her decisions and behavior, lost in what Doris Lessing described as "a
sort of psychological fog".[8]

Types
Forward and Frazier identify four blackmail types each with their own mental manipulation style:[9]

            Type                                                    Example

  Punisher's threat        Eat the food I cooked for you or I'll hurt you.

  Self-punisher's threat   Eat the food I cooked for you or I'll hurt myself.

  Sufferer's threat        Eat the food I cooked for you. I was saving it for myself. I wonder what will happen now.

  Tantalizer's threat      Eat the food I cooked for you and you just may get a really yummy dessert.


 There are different levels of demands—demands that are of little consequence, demands that involve important issues or personal
 integrity, demands that affect major life decisions, and/or demands that are dangerous or illegal.[1]
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Patterns and characteristics

Addictions
Addicts often believe that being in control is how to achieve success and happiness in life. People who follow this rule use it as a survival
skill, having usually learned it in childhood. As long as they make the rules, no one can back them into a corner with their feelings.[10]


Mental illness

People with certain mental conditions are predisposed to controlling behavior including those with paranoid personality disorder,[11]
borderline personality disorder,[12] and narcissistic personality disorder.[13]

People with borderline personality disorder are particularly likely to use emotional blackmail[12] (as too are destructive narcissists).[13]
However, their actions may be impulsive and driven by fear and a desperate sense of hopelessness, rather than being the product of any
conscious plan.[14]


Codependency
Codependency often involves placing a lower priority on one's own needs, while being excessively preoccupied with the needs of others.
Codependency can occur in any type of relationship, including family, work, friendship, and also romantic, peer or community
relationships.[15]


Affluenza and children
Affluenza—the status insecurity derived from obsessively keeping up with the Joneses—has been linked by Oliver James to a pattern of
childhood training whereby sufferers were "subjected to a form of emotional blackmail as toddlers. Their mothers' love becomes
conditional on exhibiting behaviour that achieved parental goals."[16]


Assertiveness training
Assertiveness training encourages people to not engage in fruitless back-and-forths or power struggles with the emotional blackmailer but
instead to repeat a neutral statement, such as "I can see how you feel that way," or, if pressured to eat, say "No thank you, I'm not hungry."
They are taught to keep their statements within certain boundaries in order not to capitulate to coercive nagging, emotional blackmail, or

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    bullying.[17]

    Recovery
    抵制情感敲诈的技巧包括加强人际界限，抵制需求，制定权力声明（决心承受压力）以及花时间打破旧模式。重新连接勒索者已否决的自我
    自治部分不一定很容易。[9]即使您承认内as是诱发性和非理性的，也可能基于情感敲诈而感到内；[18]但仍然能够抵制过度补偿，并忽略勒
    索者发脾气而引起注意的企图。[19]

    但是，以友好的方式始终不理会这种操纵可能会导致操纵的加剧和分离的威胁，[20]或被指控为“疯狂”或“家庭破坏者”。[9]

    文化实例
          安吉拉·卡特（Angela Carter）将《美女与野兽》描述为美化了野兽方面的情感敲诈，以此来控制自己的目标美女。[21]
          小说家多丽丝·莱辛（Doris Lessing）声称：“到五岁时，我就成为了勒索的专家。” [22]


    批评
    丹尼尔·米勒（Daniel Miller）反对，在通俗心理学中，情感勒索的想法已被滥用为抵制任何形式的同情或对他人的考虑的辩护。[23]

    用诸如“勒索”和“操纵”之类的煽动性术语来标记这种动态可能没有什么用处，因为它既是两极分化的，又意味着预谋和恶意，通常不是这种
    情况。控制行为和被控制是两个人之间的交易，两者都在起作用。[1]

    另请参阅
          滥用权力与控制权                                                                         家庭关系
          诉诸情感                                                                             内trip之旅
          相互依存                                                                             智力游戏
          强制说服                                                                             劝说
          双重约束                                                                             惩罚（心理学）


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                                                                      DOVRVHWXSWUDSVDQGSHUMXULHVWRSXW
                                                                      WKHRWKHUEURWKHULQWRMDLO$IWHUZDUGV
                                                                      DVWKHLUNLGV JXDUGLDQLWWRRNWKHLU
                                                                      EHQHILWVVPRRWKO\
                                                                      7RIDPLOLHVLWZDVDEOHWRSXWLWVHYLO
                                                                      KDQGVZKLFKGLUHFWHGLWVSDUHQWVWR
                                                                      JLYHXSRQLW:KDWZKRHOVHPDWWHUV"
               Case 2:21-cv-01316-MJP Document 4-1 Filed 09/30/21 Page 138 of 149



                                                                 6RWKLVZDV
                                                                 FRQVLGHUHGOHJDO

                                                                'RHVWKHPHDQLQJRI
                                                                IUHHGRPLQFOXGHIUHHWR
                                                                FULPHVDVZHOO"

                                                                $FFRUGLQJWR6HDWWOH
                                                                &ULPLQDO&RXUW,EHOLHYHLW
                                                                PXVWEHP\LQFRPSHWHQF\
                                                                WRXQGHUVWDQGWKHKLGGHQ
)XOOYHUVLRQDQGUHVSRQVLYHGHFODUDWLRQDUHLQDWWDFKPHQW   ODZUXOHRIWKHLUV
                                                                ,WPXVWEHP\LQFRPSHWHQF\
                                                                WKDW,GLGQ WGRZKDWWKH\
                                                                DOOHJHG,IRXJKWIRUKXPDQ
                                                                ULJKWVWKDW,ILOHGWRRPDQ\
                                                                SURRIVDQGGRFXPHQWVIRU
                                                                WKHPWRNHHSGLVPLVVLQJEXW
                                                                WKH\FRXOGQ WSURYLGHD
                                6KHWRRNOHVVWKDQ
                                PLQXWHVRQUHYLHZLQJD          VLQJOHODZIXORUORJLFDO
                                OHJDOGHFODUDWLRQZKLFK
                                ZDVRYHUZRUGV
                                                                UHDVRQWKDW,VKRXOGKDYH
                                                                NHSWEHLQJDEXVHG7KDW,
                                                                ZLVKHGWKHUH VQRMXVWLFHRU
                                                                HTXDOEXWFULPHV
            $OZD\VWRPRUURZQHYHUWRGD\,W    7KLVZDVDSDUWRIZKDW,VHQWDOORIWKHP7KRXJKWKHLU
                  Case 2:21-cv-01316-MJP DocumentSHUMXULHVDQGHYLOFROOXVLRQVKDVEHDWWKHIDFWVEHFDXVH
            NQRZVWRRZHOOKRZWRDFWOLNHZHDN   4-1 Filed 09/30/21 Page 139 of 149
            EXWDEXVHPRUHWKDQYLROHQFH        QRERG\FDUHGWKHIDFWVQRWKLQJZDVEDVHGRQWKHIDFWV



                   6XFKREYLRXV
                   FROOXVLRQVKDGEHHQ
                   SURRIHGIRUWRRPDQ\
                   WLPHDQGZLWKDOORI
                   WKHP1RQRSHQDOW\
                   DWDOO:KDW VIRUWR
                   VZHDUOLNHLWPDWWHUV"




                                                                   ,WNQRZVWKHEHVWKRZWRGHVWUR\
                2IFRXUVHOLHV,VDZLW VEHHQXVLQJWKH0DF   $OOLWVSULRUVKDGH[SHULHQFHGKLVDEXVH
                0\DFFRXQWDFWLYLWLHVVKRZHGUHFRUGVDVZHOO      ,W VEHHQDVKDPHDQGLW VDVKDPHIRUDOO
                                                                   WKHEOLQGFRXUWV,WSURYLGHGFRXUWVWKHULJKW
                                                                   SDVVDQGWRJHWKHUWKH\FUHDWHGWKHEHDVW




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                     5HJDUGLQJWRKRZLWUHVSRQGHG
                     LWVKXVEDQGWKHUH VQRWKLQJFDQ
                     PDNHLWVHOIIHHOJXLOW\DERXWDQG
                     RI,W VLQKXPDQGHPRQDFWV
Case 2:21-cv-01316-MJP Document 4-1 Filed 09/30/21 Page 140 of 149




                                              6R,OGLNR%DOGZLQEURNHWKH
                                              DJUHHPHQWWRVKDUH
                                              FRQYHUVDWLRQV6KHDOVR
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                                              DQGPRGLI\7KH\ILW




        -XVWOLNHZLWK
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        SDLGUHVSHFW
        DQGKRQHVW
        EXWOLHVDQG
        EDG
        SXUSRVHVLQ
        UHWXUQ

        7KH\GLGQ WHYHQIHHOVKDPH
        IRUWKHLUSHUMXULHV5LJKWLW V
        LWVSHRSOH
,W VWKHVDPH                                        ,WPDGHXSDQRWKHUVXUJHU\WKHQSXOOHG
Case   2:21-cv-01316-MJP Document 4-1 Filed 09/30/21 Page 141 of 149
UHDVRQDVLW                                         PHGRZQZLWKLW,WVXQVSRNHQZRUGV
FKHDWHGLW       +HUH VORWVRISURRIVRIELJDP\
                                                      ZHUH+H VFUD]\ E\KLVGHIDXOW EXW
GLGQ WQHHGWKH FRQWUROLVVXHVDQGSHUMXULHV1R    , PDOVRFUD]\OLNHKLPVRGRQ WEODPH
WUXWKLWQHHGHG ZRQGHULWKDGEHHQHQMR\LQJLWV    KLP7KRXJKWKHUHDOPHVVDJHLWWULHG
DQH[FXVHDV      FULPLQDOFDUHHUWKHSDVVFRGHLV
                                                      WRGHOLYHUZDVE\FUHDWLQJDQRWKHUIDNH
ZHDSRQ            HDV\DQGQRULVNQRSHQDOW\
                                                      VXUJHU\LW VWRRLOOWREHEODPHGVRWKDW
                                                      WKHEODPHWUDQVIHUHG
                                                      ,WKDGEHHQGRLQJWKLVZLWKFHUWDLQ
                                                      SDWWHUQVDOOWKHWLPHWRRORQJIRUPHQRW
                                                      WRQRWLFHDQGUHDOL]H:KLOHLW VDOVR
                                                      VXPPDUL]HGDQGILOHGWRWKHFRXUWVRYHU
                                                      PRQWKVDJR,QWKHFRQWLQXLQJWLPH,
                                                      KDGPDQ\WLPHVVXFFHVVIXOO\SUHGLFWHG
                                                      LWVGRLQJ,WVWLOOIROORZVWKHSDWWHUQV




                                                                  :KHWKHURXW
                                                                  RIDQJHURU
                                                                  QRWWKLVLVLWV
                                                                  RZQZRUGV
                                                                  WKDWWKH\OLHG
                                          /LHVDUHPDUNHG
                     Case 2:21-cv-01316-MJP
                                                                            ,W VLWLWVHOIZKRKDGEHHQOLEHOLQJIUDPLQJPHDQGFROOXGLQJ
                                                      Document 4-1 Filed 09/30/21          Page
                                                                            WKHP,WGRHVQ        142 of 149
                                                                                                WKDYHDKHDUW,GLGQRWGRDQ\WKLQJWRSXVK
           2QO\LIPHGLFDOUHFRUGVOLHG
                                                                                          EXWRQO\NHSWEHLQJDEXVHG,WDGPLWWHGWRFRQWUROPH OXJJDJH
                                                                                          DQGSDVVSRUW EXWLWODWHUVDLGLWVWD\HGQLFHDQGTXLHW




                ,W VEHHQDEXVLQJPH,QHYHUPDQLSXODWHGLW
                ,W VEHHQKDFNLQJ,W VVLFNIRUV\SKLOLVDQGJHWWLQJ
                PRUH7DGDODILO &LDOLV ,WGRHVQ WKDYHDIDPLO\IRU
                LWWRFKRVHRYHU,W VQRWLQVXLFLGDOZDWFK

                                             ,W VEHHQHDWLQJZHOOWUDYHOLQJDQG
                                             KDYLQJVH[DURXQG,WDGPLWHGLW
                                             NLFNHGPHRXWEXWQLFHDQGTXLHW
                                             ,WGRHVQ WNQRZORYHEXWGHVWUR\
                                             DEXVHDQGFULPHV




                      ,WGLGQRWORYHPH,GLGQRWGR
                      DQ\WKLQJUHTXLUHGDQDSRORJ\RUKHOS
                      RUZKDWHYHU,QHYHUEURXJKW
                                                                                                   $JUHHGIURPFRQWUROOLQJWRKHDUWOHVV,QHHGWKH
                                                                                                   KHOSWROHWIUHHRIDOONLQGVRIFULPHV7KHUH V
                                                                                                   QRWKLQJFDQKHOSLWDVDHYLOGHPRQ


                                                                                                  :K\,OGLNR%DOGZLQMXVWDVNHGKLP
                                                                                                  QR$VLDQEXWWKHUHVKH
                                                   ,WNQRZWKHGD\EHIRUH                       YLRODWHGKHURZQUHTXHVW"
                                                   'HFLWKDGEHHQ
         ,DPQRWKDUGWRORYH
                                                   FROOXGLQJZLWKWKHP
         EXWRQO\WRSURWHFW                                                                  :K\VKHVXJJHVWHGDOORIWKHP
         P\VHOIIURPFULPLQDO                                                                 QHHGHGWRWHOOPH":KDWHYHQPDGH
                                                                                               KHUWKLQN,ZRXOGXQEORFNWKHP"
                                                         ,WNQHZ,EORFNHG
            ,WNQHZLWGLG                            KHURQUGQRZD\
            LQWHQWLRQDOO\                               WRVHQGRUFDOO




5HDGLQJLWDSSHDUHGWREHVRPHHPRWLRQDODQGWUXWKIXOEXWLQIDFW
IXOORIOLHVDQGERWKRIWKHPKDGWKHLURZQWKRXJKWVDQGSXUSRVHV
+RZ,OGLNR%DOGZLQLVZDVH[DFWO\KRZ,VHQWKHUZKLFKVKHKHOGXSKLGGLGQ WOHWLWVHH
,DSSUHFLDWH\RXDQGRXUIULHQGVKLS%XW,UHDOO\IHHOYHU\XQFRPIRUWDEOHDQGKXUWHYHU\WLPH\RXWROGPHWKLQJVDERXWKLP
$QGWUXVWPH,QHYHUZDQWWRVHHKLPDJDLQHYHQ,VWLOOORYHKLP$QGWKHGHHSHUP\ORYHLVWKHVWURQJHUP\KDWHLV6R
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ZD\\RXWROGPHWKLQJVDERXWLI,GR\RXZLOOEHDZD\DQGLI,GRQ¶W\RXZLOOEHDQRWKHUZD\7KDW¶VQRWQLFHWRVD\,
DSSUHFLDWH\RXEHFDXVHHYHQ\RXMXVWWDONHGWRPHEHFDXVH,UHDOO\QHHGHGWKRVH$QG,KRSH\RXFDQWUHDWPHOLNHDIULHQG
VRWKDWZHFDQKDYHDIULHQGVKLS,I\RXIHHOOLNH\RXFDQFRPPDQGPHRURUGHUPHWRGRWKLQJV,WKLQNWKDW¶VRYHUVWHSDQG
LQVKRUW$IWHU,RUGHUDSURWHFWLRQ:HDFWXDOO\VKRXOGQ¶WWDONRUFRPPXQLFDWH,DPVRUU\DERXWWKDW
,KRSHWKLVZRQ¶WXSVHW\RX%HFDXVH,DPUHDOO\WU\LQJWRUHVSHFW\RXDQGQRRIIHQVH
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               1RPDQDJHPHQWGLGEXWLWVHOI:HZRQ WJHWHYROYHGLQWROHJDORUGRPHVWLF
               LVVXHV,WVRUGHUVZHUHRQO\DEXVLYHDQGLOOHJDO3OHDVHLQYLWHPHZKR
                        Case 2:21-cv-01316-MJP Document 4-1 Filed 09/30/21 Page 143 of 149
               LVVXHGD'932IRUVWD\LQJDWRZQDSDUWPHQW%XV\FKDQJLQJWKHORFNLW
               VHQW&KDUOLH-RH:LQJVXFK,GLGQ WWDONWRDQ\RIWKHP
                                                                                                 0LJXHO5LYHUDLWVHOIVWLOOIROORZHGWKHSDWWHUQDOVRMXVW
                                                                                                 OLNHZKDW,VHQW,OGLNR%DOGZLQ

                                                                                                          ,DPOLWWOHELWFRQIXVHG6LQFHKHWROG\RXZHDUH
                                                                                                          GLYRUFHGZK\ZDVKHVWLOODVNLQJ\RXWRWHOOPHKH
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                                                                                                          \RXQRWUHDFKRXWWRPH,KRSH\RXFDQXQGHUVWDQG
                                                                                                          EHFDXVH,KDYHWRGRWKDW2QO\WKDWZD\,FDQJHWULG
                                                                                                          RIKLPDQGPRYHIRUZDUG$QG,DPDOVRFRQIXVHG
                                                                                                          DERXWKHWHOOLQJ\RXZHDUHGLYRUFHG,KDYHQ¶WHYHQ
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                                                                                                          FDVKWRVXSSRUWP\VHOIEXWKHWROG\RXKHFDQJLYHLW
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          ,WOLHGVD\LQJLW VKLUHGE\SROLFHGHSDUWPHQW,ZDVQRWHYHQRQEOXHG                      ZK\,DPLQWKLVNLQGRIVLWXDWLRQDJDLQDQGDJDLQ
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                                                                                                          NLQGQHVVHVIURPKLP:KDWKHKDVGRQHDQGKDG
                                                                                                          GRQHWRPHDUHQRWRQO\LOOHJDOEXWDOVRQRWXQHWKLFDO
                                                                                                          +HWUHDWHGPHDVKLVKXVEDQGOLNHDWR\RUVRPH
                                                                                                          WUDVK:KHQKHQHHGVPHKHJLYHVPHSUHWW\ZRUGV
                                                                                                          %XWZKHQKHGRHVQ¶W+HWKURZVPHRIIOLNHQRWKLQJ,
                                                                                                          JXHVV\RXFRXOGQ¶WXQGHUVWDQGKRZPXFKGDPDJH
:K\,OGLNR%DOGZLQMXVWDVNHGKLPQR$VLDQEXWWKHUHVKH                                           KHGLG,ZDVYRPLWLQJZLWKEORRGRQWKWRQLJKWWKH
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%HFDXVHWKDW VZKDWLWZDQWHGKHUWRGRZKLOHDVVKH VDWRWDOUDFLVW OLNHKHOO7KDW¶VZK\,FDOOHG\RXWKHQH[WGD\HYHQ,
:RXOGVKHUHDOO\GR"1RVKHGLGQ WWH[WPHEXWVKHVHQWLWDV                                           FDQDOZD\VKROGP\VHOIXSIURPSDLQVRUDQ\NLQGVRI
                                                                                                          HPRWLRQV
                                                                                               :K\VKHVXJJHVWHGDOORIWKHPQHHGHGWRWHOOPH"
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                                                                                               %HIRUHVKHWKRXJKWH[FHSWIRROLQJPHDVLWVVS\
                                                                                               WKHUH VQRQHHGIRUKHUWREHGHFHQW7KHUHVKHIHOW
                                                                                               XQIDLUDQGQRWHTXDORQO\KHUVHOIWRDGPLWOLHGWRPH
                                                                                               6RVKHQHHGHGDOORIWKHPWKHQWKHQH[WGD\VKH
                                                                                               WROGLWQRDQGDVNHGLWVHOIWRGRLILWZDQWHG7RKHU
                                                                                               RZQPLVFRQGXFWVVKH VYHU\LUUHVSRQVLEOHLWDOVR
                                                                                               DSSHDUHGDWKHUSURPLVHWRPH6KH VYHU\GRXEOH
                                                                                               VWDQGDUGDQGFRQWUROOLQJVKHGRHVQ WDFFHSWFULWLFL]H
                                                                                               HVSHFLDOO\IURPZKRVKHWKLQNVOHVVTXDOLILHG
                                                                                               7KLVOHDGVWRWKHQH[WDQVZHULVEHFDXVHVKHQHYHU
                                                                                               UHVSHFWHGPHVKHQHYHUFDUHGDERXWFRQVHTXHQFHV
                                                                                               RIZKDWVKHVDLGRUGLG,QKHUPLQG,KDGQRULJKWWR
                                                                                               FKRVHRUGHFLGHXQEORFNRUQRW,WH[SODLQVZK\VKH
                                                                                               VHQWPH,I\RXGRZKDW\RXVDLG,ZLOOUHPDLQ\RXU
                                                                                               IULHQGDVORQJDV\RXZDQWEXWLI\RXGRQ WGRZKDW\RX
                                                                                               VDLG,ZLOOQHYHUWDONWR\RXVRGRQ WOHWPHGRZQGR
                                                                                               WKHULJKWWKLQJRN",WDOVRDSSHDUHGDWKHUUHODWLRQVKLS
                                                                                               ZLWKKHUVRQWKDWVKHGRHVQ WOLNHKHUGDXJKWHULQODZ
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                                                                                               WKDWRQFHQRERG\VKHKDGLQYLWHGFDPHWRKHUELUWKGD\
                                                                                              7KLVZDVKRZLWSODQHGVHFRQGDU\GDPDJHV
                                                                                              $OVRE\KLVSDWWHUQLWQHYHUWRRNUHVSRQVLELOLW\EXW
                                                                                              RQO\WRPDNHLWVHOIEHVRXQGHGVRLQJRRGIDLWK
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                                 ,WLVIRUVXUHHYLGHQFHRI
                                 SHUMXULHVDQGFROOXVLRQV,KDG
                                 SURRIHGVRPDQ\WLPHVZLWKVR
                                 PDQ\SURRIVWKRXJKWKHUHDUH
                                 QRUHVSRQVHQRSHQDOW\FLW\
                                 DWWRUQH\VHYHQLQWHQWLRQDOO\NHSW
                                 HYLGHQFHDZD\IURPUHFRUGV
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7KLVLVWKHUHFRUGRIWKHLUPHHWLQJRIGHFODUDWLRQDUUDQJHV




                          7KLVLV5HPLQJWRQ$<KDSVHQWWRLW




                                                   7KHUHDUHPRUH
                                                   IURPZKDW,KDG
                                                   ILOHGWRWKH
                                                   FRXUWVDQG
                                                   DWWDFKHG
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                                      ,Q9LHWQDP,JRWEHDWHQXSE\LWLWEURNH
                                      P\SKRQHDQGWDEOHW,ZDVNLFNHGRXW,
                                      ZHQWWRWKHSROLFHVWDWLRQZLWKWKHKHOS
                                      IURPD\RXQJPDQQH[WWRWKHFHQWHU+H
                                      WRRNSLFWXUHVRIPHRIKRZEDGO\,JRW
                                      EHDWHQKHVHQWWKHSLFWXUHVWRP\(PDLO
                                                %XWLWKDFNHGP\(PDLO
                                                DQGGHOHWHGWKHSLFWXUHV
 2IFRXUVHLW VDQRWKHUHYLGHQFHZLWK&KDUOLH-RH:LQJ




                                                           7KHUH VQRSROLFHUHSRUWEXW
                                                           LWNHSWFODLPLQJWKHUHLV




                  7KLVLVRQHRILWVEULEHULHVIRUVXUH
                  7KLVLVKRZUHDOLWVGHFODUDWLRQVDUH,FDQ
                  W\SHLWXSMXVWZRXOGQHHG\RXUVLJQDWXUH
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7RP\PRPLQWKHKRVSLWDO




                                                                      7KHUHDUHWRR
                                                                      PDQ\OLHVIRUPHWR
                                                                      FRXQWDQGH[KLELW
                                                                      ,W VIXOORIOLHVIXOO
                                                                      RIGDPDJHVDQG
                                                                      SDLQV%XWMXVWD
                                                                      FDVHREYLRXVOLNH
                                                                      WKLVWKRVHFRXUWV
                                                                      FKRVHWRDEXVHPH
                                                                      DQGSURWHFWWKRVH
                                                                      FULPLQDOVKRZ
                                                                      VKDPHOHVVIDNH
                                                                      SURIDQH
                   5LYHUVLVP\IULHQGLWGHIDPHGPHLVRODWHGPH




                                             $///,(6




           ,WVILUVWSHWLWLRQZDVGLVPLVVHGWKHQLWVWDUWHG
           WKHLUFROOXVLRQV,WSHWLWLRQHGGLVPLVVHGWLPHV
           )LQDOO\WKH\VXFFHVVIXOO\VHWXSWUDSV
Case 2:21-cv-01316-MJP Document 4-1 Filed,IHGP\KRQHVWDQGUHVSHFWWRDLU
                                          09/30/21 Page 148 of 149

                                         7RRPXFKSDLQWRRKXUWIXO,ZRQ W
                                         EHDEOHWRSRVWRUSRLQWDOOWKHOLHV
                                         , YHEHHQWUDSSHGLQWKLVKHOOWRR
                                         ORQJIRUWRRPDQ\WLPHV

                                         (YHU\WLPH,FORVHP\H\HV
                                         HYHU\WKLQJLVLQP\VLJKWWRRFOHDU
                                         WRRWRUWXURXVWRRPXFK
                                        <RXFDQQHYHUNQRZKRZSDLQIXOQRULW
                                        ,FRXOGQ WNQRZPRUHWKDQLWDERXWKRZ
                                        PDQ\WKH\KDGFRXQWHUIHLWHGDQGKRZ
                                        PDQ\FULPHVWKH\KDGEURXJKWWRPH
                                         7KRVHFRXUWVKDYHEHHQRSHQLQJWKHLU
                                         PRXWKVDQGH\HVDOOHJLQJDQGUROOLQJ
                                         DFWLQJOLNHWKH\ZHUHWKLQNLQJ,QIDFW
                                         WKH\ZHUHSODQQLQJIRUPHWKRGVRI
                                         WRUWXUHSUHMXGLFHGLVFULPLQDWLRQ
                                         WKUHDWH[FUXFLDWLRQDQGNLOOLQJOHJDO

                                         7KRVHVHWVRIH\HVDUHDOORQWKH
                                         VDPHSDJHEXWWKH\ORRNDWSHRSOH
                                         ZLWKELDV7KRVHVHWVRIHDUVDOOFRYHU
                                         ERWKVLGHVEXWWKH\RQO\KHDUGIURP
                                         RQHVLGH(DFKRIWKRVHIDFHV
                                         PDWFKHVRQHPRXWKEXWWKH\GRQ W
                                         VSHDNIRURQH
                                   7KRVHFRXUWVDUHHTXDOVKRXOGEHWKHEHVWVWDWHMRNH
                                   )UHHDQGGHPRFUDWLFDUHDVWKHVDPHIDUDZD\DVLW
                                   WRKXPDQ
                                   ,W VZRUWKOHVVRIUXOHVDQGODZVPDGHLQLGOHSDSHUV
                                   E\DUPFKDLUVWUDWHJLVWVIRUFHQRDIIHFWWRWKHKDQGVRI
                                   HQIRUFHPHQW,WORVHVWKHSRLQWIRUDPHQGPHQWVWREH
                                   GHFRUDWLRQV
                                   7KHPRVWGHYHORSHGFRXQWU\GHYHORSHGWKHZRUVW
                                   GLVFULPLQDWLRQV1RPDWWHUKRZPDQ\DQGKRZORXG
                                   VORJDQVQRPDWWHUKRZIULHQGO\WKHGDLO\LV7KH
                                   JUDVSDRIWKHUHVW
                                                 (YHU\YLRODWLRQRUIDLOXUHRIODZFRPSOLDQFH
                                                 DQGHQIRUFHPHQWKDYHH[SDQGHGPRUH
                                                 LQIOXHQFHRQMXVWLFHDQGFULPLQDWLRQ

     ,WUHDWHGHYHU\RQHRIWKHPOLNHDIULHQGEXWDOORIWKHP
     GLGQRWHYHQUHVSHFWPHWKHLUKHOORVKDGDLPVWKHLU
     DJUHHPHQWVDUHOLJKWHUWKDQIDUWVWKHLUKRQHVWDUH
     UDUHUWKDQFULPHV
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